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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS

                                             HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    GWG Holdings, Inc., et al.,1                                     ) Case No. 22-90032 (MI)
                                                                     )
                                       Debtors.                      ) (Jointly Administered)
                                                                     )

                        GLOBAL NOTES AND STATEMENT OF
                  LIMITATIONS, METHODOLOGY AND DISCLAIMERS
                  REGARDING THE DEBTORS’ SCHEDULES OF ASSETS
              AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        GWG Holdings, Inc., GWG Life, LLC, and GWG Life USA, LLC (the “Initial Debtors”)
with GWG DLP Funding IV, LLC, GWG DLP Funding VI, LLC, and GWG DLP Funding
Holdings VI, LLC (the “DLP Debtors”, collectively with the Initial Debtors referred to as the
“Debtors” or the “Company”) have filed their respective Schedules of Assets and Liabilities (the
“Schedules”) and Statements of Financial Affairs (the “Statements”) in the United States
Bankruptcy Court for the Southern District of Texas, Houston Division (the “Court”). The
Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
Statements in accordance with section 521 of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure, and Rule 1007–
1 of the Bankruptcy Local Rules for the Southern District of Texas.

       While the Debtors’ management has made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances, based on
information available at the time of preparation, subsequent information or discovery may result
in material changes to these Schedules and Statements, and inadvertent errors, inaccuracies, or
omissions may have occurred. Because the Schedules and Statements contain unaudited
information, which is subject to further review, verification, and potential adjustment, there can be
no assurance that these Schedules and Statements are complete. The Debtors reserve all rights to
amend or supplement the Schedules and Statements from time to time, in all respects, as may be
necessary or appropriate, including, without limitation, the right to amend the Schedules and
Statements with respect to claim (as defined in section 101(5) of the Bankruptcy Code, “Claim”)
description, designation, or Debtor against which the Claim is asserted; dispute or otherwise assert

1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538); GWG DLP
     Funding IV, LLC (2589); GWG DLP Funding VI, LLC (6955); and GWG DLP Funding Holdings VI, LLC (6955).
     The location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325
     N. St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
     cases is available at the website of the Debtors’ proposed claims and noticing agent: https://donlinrecano.com/gwg.




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offsets or defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
priority, status, or classification; subsequently designate any Claim as “disputed,” “contingent,” or
“unliquidated;” or object to the extent, validity, enforceability, priority, or avoidability of any
Claim. Any failure to designate a Claim in the Schedules and Statements as “disputed,”
“contingent,” or “unliquidated” does not constitute an admission by the Debtors that such Claim
or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute
an admission of liability by the Debtor against which the Claim is listed or against any of the
Debtors. Nothing contained in the Schedules and Statements shall constitute a waiver of any right
of the Debtors or an admission with respect to their chapter 11 cases (including, but not limited to,
issues involving claims, substantive consolidation, defenses, equitable subordination, and/or
causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any other
relevant non- bankruptcy laws to recover assets or avoid transfers).

        In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made commercially reasonable efforts to ensure the accuracy and completeness of
the Schedules and Statements, subsequent information or discovery may result in material changes
to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the Schedules
and Statements as may be necessary or appropriate.

        The Debtors and their agents, attorneys and financial advisors do not guarantee or warrant
the accuracy or completeness of the data that is provided herein, and will not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained herein. While commercially reasonable
efforts have been made to provide accurate and complete information herein, inadvertent errors or
omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly do
not undertake any obligation to update, modify, revise, or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised, or
re-categorized, except as required by applicable law. In no event will the Debtors or their agents,
attorneys and/or financial advisors be liable to any third party for any direct, indirect, incidental,
consequential, or special damages (including, but not limited to, damages arising from the
disallowance of a potential claim against the Debtors or damages to business reputation, lost
business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
their agents, attorneys, and financial advisors are advised of the possibility of such damages.

       Mr. Timothy Evans, former Chief Financial Officer of GWG Holdings, Inc., had signed
each set of the Initial Debtors Schedules and Statements. Mr. Evans was an authorized signatory
for each of the Initial Debtors. In reviewing and signing the Initial Debtor’s Schedules and
Statements, Mr. Evans had necessarily relied upon the efforts, statements, advice, and
representations of personnel of the Initial Debtors and the Initial Debtors’ legal and financial
advisors. Mr. Evans has not (and could not have) personally verified the accuracy of each such
statement and representation contained in the Schedules and Statements, including statements and
representations concerning amounts owed to creditors.




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        Mr. Michael Tucker, Chief Financial Officer of GWG Holdings, Inc., has signed each set
of the DLP Debtors Schedules and Statements. Mr. Tucker is an authorized signatory for each of
the DLP Debtors. In reviewing and signing the DLP Debtors’ Schedules and Statements, Mr.
Tucker has necessarily relied upon the efforts, statements, advice, and representations of personnel
of the Debtors and the Debtors’ legal and financial advisors. Mr. Tucker has not (and could not
have) personally verified the accuracy of each such statement and representation contained in the
Schedules and Statements, including statements and representations concerning amounts owed to
creditors.

      Disclosure of information in one or more Schedules, one or more Statements, or one or
more exhibits or attachments to the Schedules or Statements, even if incorrectly placed, shall be
deemed to be disclosed in the correct Schedules, Statements, exhibits, or attachments.

        These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs
(the “Global Notes”) pertain to, are incorporated by reference in, and comprise an integral part of,
all of the Schedules and Statements. The Global Notes should be referred to and considered in
connection with any review of the Schedules and Statements.2 In the event that the Schedules
and/or Statements differ from these Global Notes, the Global Notes control.

                               Global Notes and Overview of Methodology

1.        Description of Cases. On April 20, 2022 (the “Initial Petition Date”), the Initial Debtors
          filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code and on October
          31, 2022 (the “DLP Petition Date”), the DLP Debtors filed voluntary petitions for relief
          under chapter 11 of the Bankruptcy Code (collectively the Initial Petition Date and DLP
          Petition date are referred to as the “Petition Dates”). The Debtors are operating their
          business and managing their property as debtors in possession pursuant to sections 1107(a)
          and 1108 of the Bankruptcy Code. On April 20, 2022, an order was entered directing
          procedural consolidation and joint administration of the Initial Debtors’ chapter 11 cases
          [Docket No. 18]. On October 31, 2022, an order was entered directing procedural
          consolidation and joint administration of the DLP Debtors’ chapter 11 cases with the Initial
          Debtors [Docket No. 970]. Notwithstanding the joint administration of the Debtors’ cases
          for procedural purposes, each Debtor has filed its own Schedules and Statements. The
          information provided herein, except as otherwise noted, is reported as of the close of
          business the day before the Initial Petition Date for the Initial Debtors and as of the close
          of business the day before the DLP Petition Date for the DLP Debtors. References herein
          to the Petition Dates refers to the Initial Petition Date for the Initial Debtors and the DLP
          Petition Date for the DLP Debtors.



2    These Global Notes supplement and are in addition to any specific notes contained in each Debtor’s Schedules or
     Statements. The fact that the Debtors have prepared a Global Note with respect to any of individual Debtor’s
     Schedules and Statements and not to those of another should not be interpreted as a decision by the Debtors to
     exclude the applicability of such Global Note to any of the Debtors’ other Schedules and Statements, as
     appropriate.



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2.    Basis of Presentation. For financial reporting purposes, prior to the Petition Dates, the
      Debtors prepared financial statements that were consolidated by the Debtors’ ultimate
      parent, GWG Holdings, Inc. (“GWGH”). Combining the assets and liabilities set forth in
      the Schedules and Statements would result in amounts that may be different from financial
      information that would be prepared on a consolidated basis under Generally Accepted
      Accounting Principles (“GAAP”). Therefore, these Schedules and Statements do not
      purport to represent financial statements prepared in accordance with GAAP nor are they
      intended to fully reconcile to the financial statements prepared by the Debtors. Unlike the
      consolidated financial statements, these Schedules and Statements reflect the assets and
      liabilities of each separate Debtor, except where otherwise indicated. Information
      contained in the Schedules and Statements has been derived from the Debtors’ books and
      records and historical financial statements.

      Moreover, given, among other things, the uncertainty surrounding the collection and
      ownership of certain assets and the valuation and nature of certain liabilities, to the extent
      that a Debtor shows more assets than liabilities, this is not an admission that the Debtor
      was solvent as of the Petition Dates or at any time prior to the Petition Dates. Likewise, to
      the extent a Debtor shows more liabilities than assets, this is not an admission that the
      Debtor was insolvent at the Petition Dates or any time prior to the Petition Dates.

3.    Reservations and Limitations. While reasonable efforts have been made to prepare and
      file complete and accurate Schedules and Statements, inadvertent errors or omissions may
      exist. The Debtors reserve all rights to amend and/or supplement the Schedules and
      Statements from time to time as is necessary or appropriate. Nothing contained in the
      Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission
      of any kind with respect to these chapter 11 cases, including, but not limited to, any rights
      or claims of the Debtors against any third party or issues involving substantive
      consolidation, equitable subordination, or defenses or causes of action arising under the
      provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
      or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
      rights contained elsewhere in the Global Notes does not limit in any respect the general
      reservation of rights contained in this paragraph.

4.    No Admission. Nothing contained in the Schedules and Statements is intended as, or
      should be construed as, an admission or stipulation of the validity of any claim against the
      Debtors, any assertion made therein or herein, or a waiver of the Debtors’ rights to dispute
      any claim or assert any cause of action or defense against any party.

               General Disclosures Applicable to Schedules and Statements

1.    Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
      may not have listed all of their causes of action or potential causes of action against third
      parties as assets in their Schedules and Statements, including, without limitation, avoidance
      actions arising under chapter 5 of the Bankruptcy Code and actions under other relevant
      bankruptcy and non-bankruptcy laws to recover assets. The Debtors reserve all of their
      rights with respect to any cause of action (including avoidance actions), controversy, right
      of setoff, cross claim, counterclaim, or recoupment and any claim on contracts or for


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      breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
      guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
      license, and franchise of any kind or character whatsoever, known, unknown, fixed or
      contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
      disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
      arising before, on, or after the Petition Dates, in contract or in tort, in law or in equity, or
      pursuant to any other theory of law (collectively, “Causes of Action”) they may have, and
      neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of
      any claims or Causes of Action or in any way prejudice or impair the assertion of such
      claims or Causes of Action.

2.    Recharacterization. The Debtors have made reasonable efforts to correctly characterize,
      classify, categorize, and designate the claims, assets, executory contracts, unexpired leases,
      and other items reported in the Schedules and Statements. However, the Debtors may have
      improperly characterized, classified, categorized, designated, or omitted certain items due
      to the complexity and size of the Debtors’ business. Accordingly, the Debtors reserve all
      of their rights to recharacterize, reclassify, recategorize, or redesignate items reported in
      the Schedules and Statements at a later time as necessary or appropriate, including, without
      limitation, whether contracts or leases listed herein were deemed executory or unexpired
      as of the Petition Dates and remain executory and unexpired postpetition.

3.    Claim Designations. Any failure to designate a claim in the Schedules and Statements as
      “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
      Debtors that such claim or amount is not “contingent,” “unliquidated,” or “disputed.” The
      Debtors reserve all of their rights to dispute, or to assert offsets or defenses to, any claim
      reflected on their Schedules or Statements on any grounds, including, but not limited to,
      amount, liability, priority, status, or classification, or to otherwise subsequently designate
      any claim as “contingent,” “unliquidated,” or “disputed.” Moreover, the Debtors reserve
      all of their rights to amend their Schedules and Statements as necessary and appropriate.
      Listing a claim does not constitute an admission of liability by the Debtors.

4.    Unliquidated Claim Amounts. Claim amounts that could not be readily quantified by the
      Debtors are scheduled as “unliquidated.”

5.    Undetermined Amounts. The description of an amount as “undetermined” is not intended
      to reflect upon the materiality of such amount.

6.    Court Orders. Pursuant to certain orders of the Bankruptcy Court entered in the Debtors’
      chapter 11 cases entered on or about the Petition Dates (collectively, the “First Day
      Orders”), the Debtors were authorized (but not directed) to pay, among other things, certain
      prepetition claims of insurance providers, and taxing authorities, among others.
      Accordingly, these liabilities may have been or may be satisfied in accordance with such
      orders and therefore generally are not listed in the Schedules and Statements. Regardless
      of whether such claims are listed in the Schedules and Statements, to the extent such claims
      are paid pursuant to an order of the Bankruptcy Court (including the First Day Orders), the
      Debtors reserve all rights to amend or supplement their Schedules and Statements.




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7.     Other Paid Claims. To the extent the Debtors have reached any postpetition settlement
       with a vendor or other creditor, the terms of such settlement will prevail, supersede
       amounts listed in the Schedules and Statements, and shall be enforceable by all parties,
       subject to any necessary Bankruptcy Court approval. To the extent the Debtors pay any of
       the claims listed in the Schedules and Statements pursuant to any orders entered by the
       Bankruptcy Court, the Debtors reserve all rights to amend and supplement the Schedules
       and Statements and take other action, such as filing claims objections, as is necessary and
       appropriate to avoid overpayment or duplicate payment for such liabilities.

8.     Valuation. It would be prohibitively expensive, unduly burdensome, and an inefficient use
       of estate assets for the Debtors at this juncture to obtain current market valuations of all of
       their assets and obtaining a current market valuation at this time would be either
       unnecessary because an actual indicative market value for the assets is likely to be obtained
       in the near term or counterproductive, given such actual market interaction. For these
       reasons, the Debtors have indicated in the Schedules and Statements that the values of
       certain assets and liabilities are undetermined or unknown. Accordingly, unless otherwise
       indicated, net book values as of the Petition Dates are reflected on the Schedules and
       Statements. Exceptions to this include operating cash and certain other assets where current
       values are provided. Amounts ultimately realized may vary from net book value (or
       whatever value was ascribed) and such variance may be material. Accordingly, the Debtors
       reserve all of their rights to amend or adjust the value of each asset set forth herein. In
       addition, the amounts shown for total liabilities exclude items identified as “unknown” or
       “undetermined,” and, thus, ultimate liabilities may differ materially from those stated in
       the Schedules and Statements. Also, assets that have been fully depreciated or that were
       expensed for accounting purposes either do not appear in these Schedules and Statements
       or are listed with a zero-dollar value, as such assets have no net book value. The omission
       of an asset from the Schedules and Statements does not constitute a representation
       regarding the ownership of such asset, and any such omission does not constitute a waiver
       of any rights of the Debtors with respect to such asset. Given, among other things, the
       current market valuation of certain assets and the valuation and nature of certain liabilities,
       nothing in the Schedules and Statements shall be, or shall be deemed to be, an admission
       that any Debtor was solvent or insolvent as of the Petition Dates.

9.     Liabilities. The Debtors have sought to allocate liabilities between the prepetition and
       postpetition periods based on the information and research that was conducted in
       connection with the preparation of the Schedules and Statements. As additional
       information becomes available and further research is conducted, the allocation of
       liabilities between prepetition and postpetition periods may change. The Debtors reserve
       the right to amend the Schedules and Statements as they deem appropriate in this regard.

10.    Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets,
       tax accruals, and liabilities from the Schedules and Statements, including without
       limitation, accrued salaries, employee benefit accruals and accrued accounts payable. In
       addition and as set forth above, the Debtors may have excluded amounts for which the
       Debtors have paid or have been granted authority to pay pursuant to a First Day Order or
       other order that may be entered by the Bankruptcy Court. The Debtors also have excluded
       rejection damage claims of counterparties to executory contracts and unexpired leases that


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       may be rejected (if any), to the extent such damage claims exist. In addition, certain
       immaterial assets and liabilities may have been excluded.

11.    Confidential or Sensitive Information. There may be instances in which certain
       information in the Schedules and Statements intentionally has been redacted due to the
       nature of an agreement between a Debtor and a third party, local restrictions on disclosure,
       concerns about the confidential or commercially sensitive nature of certain information, or
       concerns for the privacy of an individual. The alterations will be limited to only what is
       necessary to protect the Debtor or third party.

12.    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments may
       properly be disclosed in response to multiple parts of the Statements and Schedules. To
       the extent these disclosures would be duplicative, the Debtors have determined to only list
       such assets, liabilities, and prepetition payments once.

13.    Leases. The Debtors have not included in the Schedules and Statements the future
       obligations of any capital or operating leases. To the extent that there was an amount
       outstanding as of the Petition Dates, the creditor has been included on Schedule F of the
       Schedules.

14.    Contingent Assets. The Debtors believe that they may possess certain claims and causes
       of action against various parties. Additionally, the Debtors may possess contingent claims
       in the form of various avoidance actions they could commence under the provisions of
       chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy laws. The Debtors,
       despite reasonable efforts, may not have identified and/or set forth all of their causes of
       action against third parties as assets in their Schedules and Statements, including, without
       limitation, avoidance actions arising under chapter 5 of the Bankruptcy Code and actions
       under other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
       reserve all of their rights with respect to any claims, causes of action, or avoidance actions
       they may have and nothing contained in these Global Notes or the Schedules and
       Statements shall be deemed a waiver of any such claims, avoidance actions, or causes of
       action or in any way prejudice or impair the assertion of such claims. Additionally, prior
       to the Petition Dates, each Debtor, as plaintiff, may have commenced various lawsuits in
       the ordinary course of its business against third parties seeking monetary damages.

15.    Intercompany Accounts. The Debtors have historically kept separate books and records
       by entity. The Debtors regularly engage in business relationships and transactions with
       each other, including the payment or funding of certain operating expenses. These
       relationships, payments, and/or funding of expenses are usually, but not always, reflected
       as equity contributions to or distributions from parent/subsidiary. See Initial Debtors’
       Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
       (A) Continue to Operate Their Cash Management System and Maintain Existing Bank
       Accounts, (B) Maintain Existing Business Forms and Books and Records, and (C) Continue
       to Perform Intercompany Transactions and (II) Granting Related Relief [Docket No. 8]
       (the “Initial Cash Management Motion”).




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16.    Guarantees and Other Secondary Liability Claims. The Debtors have used reasonable
       efforts to locate and identify guarantees and other secondary liability claims (collectively,
       “Guarantees”) in each of their executory contracts, unexpired leases, secured financings,
       debt instruments, and other such agreements. Where such Guarantees have been identified,
       they have been included in the relevant Schedule H for the Debtor or Debtors affected by
       such Guarantees. However, certain Guarantees embedded in the Debtors’ executory
       contracts, unexpired leases, secured financings, debt instruments, and other such
       agreements may have been inadvertently omitted. Thus, the Debtors reserve all of their
       rights to amend the Schedules to the extent that additional Guarantees are identified.

17.    Intellectual Property Rights. Exclusion of certain intellectual property shall not be
       construed to be an admission that such intellectual property rights have been abandoned,
       have been terminated, or otherwise have expired by their terms, or have been assigned or
       otherwise transferred pursuant to a sale, acquisition, or other transaction. Conversely,
       inclusion of certain intellectual property shall not be construed to be an admission that such
       intellectual property rights have not been abandoned, have not been terminated, or
       otherwise have not expired by their terms, or have not been assigned or otherwise
       transferred pursuant to a sale, acquisition, or other transaction. The Debtors have made
       every effort to attribute intellectual property to the rightful Debtor owner, however, in some
       instances, intellectual property owned by one Debtor may, in fact, be owned by another.
       Accordingly, the Debtors reserve all of their rights with respect to the legal status of any
       and all intellectual property rights.

18.    Executory Contracts. Although the Debtors made diligent efforts to attribute an executory
       contract to its rightful Debtor, in certain instances, the Debtors may have inadvertently
       failed to do so. Accordingly, the Debtors reserve all of their rights with respect to the named
       parties of any and all executory contracts, including the right to amend Schedule G.

19.    Liens. The inventories, property, and equipment listed in the Statements and Schedules are
       presented without consideration of any asserted mechanics’, materialmen, or similar liens
       that may attach (or have attached) to such property, and equipment.

20.    Estimates. To prepare and file the Schedules as close to the Petition Dates as possible,
       management was required to make certain estimates and assumptions that affected the
       reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
       reported amounts of assets and liabilities to reflect changes in those estimates or
       assumptions.

21.    Fiscal Year. Each Debtor’s fiscal year ends on December 31st.

22.    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

23.    Property and Equipment. Unless otherwise indicated, owned property and equipment are
       stated at net book value. The Debtors may lease furniture, fixtures, and equipment from
       certain third-party lessors. Any such leases are set forth in the Schedules and Statements
       on Schedule G. Nothing in the Schedules and Statements is or shall be construed as an
       admission as to the determination as to the legal status of any lease (including whether any



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       lease is a true lease or a financing arrangement), and the Debtors reserve all of their rights
       with respect to same.

24.    Claims of Third-Party Related Entities. While the Debtors have made every effort to
       properly classify each claim listed in the Schedules as being either disputed or undisputed,
       liquidated or unliquidated, and contingent or noncontingent, the Debtors have not been able
       to fully reconcile all payments made to certain third parties and their related entities on
       account of the Debtors’ obligations to same. Therefore, to the extent that the Debtors have
       classified their estimate of claims of a creditor as disputed, all claims of such creditor’s
       affiliates listed in the Schedules and Statements shall similarly be considered as disputed,
       whether or not they are designated as such.

25.    Umbrella or Master Agreements. Contracts listed in the Schedules and Statements may
       be umbrella or master agreements that cover relationships with some or all of the Debtors.
       Where relevant, such agreements have been listed in the Schedules and Statements only of
       the Debtor that signed the original umbrella or master agreement.

26.    Credits and Adjustments. The claims of individual creditors for, among other things,
       goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
       and records and may not reflect credits, allowances, or other adjustments due from such
       creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
       allowances, and other adjustments, including the right to assert claims objections and/or
       setoffs with respect to the same.

27.    Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary
       course of business. Setoffs in the ordinary course can result from various items, including,
       without limitation, intercompany transactions, pricing discrepancies, returns, warranties,
       and other disputes between the Debtors and their vendors. These setoffs and other similar
       rights are consistent with the ordinary course of business in the Debtors’ industry and are
       not tracked separately. Therefore, although such setoffs and other similar rights may have
       been accounted for when certain amounts were included in the Schedules, setoffs are not
       independently accounted for, and as such, are excluded from the Schedules.

28.    Insiders. In the circumstance where the Schedules and Statements require information
       regarding “insiders,” the Debtors have included information with respect to the individuals
       who the Debtors believe may be included in the definition of “insider” set forth in section
       101(31) of the Bankruptcy Code during the relevant time periods.

       The listing of a party as an insider for purposes of the Schedules and Statements is not
       intended to be, nor should it be, construed an admission of any fact, right, claim, or defense
       and all such rights, claims, and defenses are hereby expressly reserved. Information
       regarding the individuals listed as insiders in the Schedules and Statements has been
       included for informational purposes only and such information may not be used for: (1) the
       purposes of determining (a) control of the Debtors; (b) the extent to which any individual
       exercised management responsibilities or functions; (c) corporate decision-making
       authority over the Debtors; or (d) whether such individual could successfully argue that he




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       or she is not an insider under applicable law, including the Bankruptcy Code and federal
       securities laws, or with respect to any theories of liability; or (2) any other purpose.

29.    Payments. The financial affairs and business of the Debtors are complex. Prior to the
       Petition Dates, the Debtors maintained a cash management and disbursement system in the
       ordinary course of their businesses (the “Cash Management System”), as described in the
       Initial Cash Management Motion and further described in the Debtors’ Emergency
       Motion for Entry of Interim and Final Orders (I) Authorizing the DLP Debtors to (A)
       Continue to Operate their Cash Management System and Maintain Existing Bank
       Accounts, and (B) Maintain Existing Business Forms and Books and Records and (II)
       Granting Related Relief [Docket No. 973] (the “DLP Cash Management Motion”).
       Although efforts have been made to attribute open payable amounts to the correct legal
       entity, the Debtors reserve the right to modify or amend their Schedules and Statements to
       attribute such payment to a different legal entity, if appropriate.

30.    Totals. All totals that are included in the Schedules and Statements represent totals of all
       the known amounts included in the Schedules and Statements. To the extent there are
       unknown or undetermined amounts, the actual total may be different than the listed total.
       The description of an amount as “unknown” or “undetermined” is not intended to reflect
       upon the materiality of such amount. To the extent a Debtor is a guarantor of debt held by
       another Debtor, the amounts reflected in these Schedules are inclusive of each Debtor’s
       guarantor obligations.

                                Specific Schedules Disclosures.

1.     Specific Notes Regarding Schedule A/B.

       (a)    Schedule A/B, Parts 1 – Cash and Cash Equivalents. Details with respect to the
              Debtors’ cash management system and bank accounts are provided in the Initial
              Cash Management Motion, the DLP Cash Management Motion, and any orders of
              the Bankruptcy Court granting the motions [Docket Nos. 8, 102, 596, 973, 1009].

       (b)    Schedule A/B, Part 1 Question 3 – Checking, savings, or other financial
              accounts, CDs, etc. Includes details with respect to the Debtor’s actual cash
              balances as of the Petition Dates.

       (c)    Schedule A/B, Part 2 – Prepayments. The Debtors are required to make
              prepayments from time to time with various insurance companies, vendors,
              landlords, and service providers as part of the ordinary course of business. The
              Debtors have exercised reasonable efforts to identify any prepayments. The
              Debtors may have inadvertently omitted certain prepayments and conversely may
              have reported prepayments for which services have already been provided. The
              Debtors reserve their rights, but are not required, to amend the Schedules and
              Statements if prepayments are incorrectly identified.

       (d)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
              in Incorporated and Unincorporated Businesses, including any Interest in an
              LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries and


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       affiliates have been listed in Schedule A/B, Part 4 at net book value. The Debtors
       make no representation as to the value of their ownership of each subsidiary as the
       fair market value of such ownership is dependent on numerous variables and factors
       and may differ significantly from their net book value.

       The Debtors have historically maintained their books and records on a consolidated
       basis for all fully owned and controlled subsidiaries. Given the consolidated nature
       of intercompany balances and eliminations, reviewing any individual entity or
       subset of entities books and records may result in double counting of certain entries
       between parent and subsidiaries. The Debtor's financial statements are consistent
       with that past practice and have not been revised to include pro-forma eliminations
       for the Debtor entities excluding non-debtor consolidated subsidiaries. For
       example, these amounts include GWG Holdings, Inc.’s intercompany investment
       account balances in GWG Life, LLC and GWG Life USA, LLC, which would
       likely be double counted given the lack of eliminations noted.

       The Debtors percentage of ownership in The Beneficient Company Group, L.P,
       Beneficient Company Holdings, L.P., and FOXO Technologies Inc. have not been
       listed due to their variable nature.

 (e)   Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
       Collectibles. Dollar amounts are presented as either undetermined or net of
       accumulated depreciation and other adjustments. For purposes of this filing, the
       Initial Debtors assumed depreciation for the full month of April.

       In addition, the Debtors’ response includes balances on account of internally
       developed software.

 (f)   Schedule A/B, Part 10 – Intangibles and Intellectual Property. The Debtors
       report intellectual property assets as net book value or undetermined based on the
       Debtors’ books and records whenever applicable. GWG Holdings, Inc. collects and
       retains information about its bondholders, redeemable preferred stockholders and
       broker-dealers and advisors to which such products were sold. Such information
       includes names, addresses, dates of birth, social security numbers, tax identification
       numbers, and other information. The value of the lists, if any, is undetermined.

 (g)   Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
       impairments and other adjustments, to the extent such impairments and other
       adjustments were identified as of the Petition Dates.

       Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
       including Counterclaims of the Debtor and Rights to Setoff Claims. In the
       ordinary course of business, the Debtors may have accrued, or may subsequently
       accrue, certain rights to counter-claims, cross-claims, setoffs, refunds with their
       customers and vendors. Additionally, certain of the Debtors may be party to
       pending litigation in which the Debtors have asserted, or may assert, claims as a
       plaintiff or counter-claims and/or cross-claims as a defendant. Because certain of



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       these claims are unknown to the Debtors and not quantifiable as of the Petition
       Dates, they may not be listed on Schedule A/B, Part 11.

       The items listed include professional fee claims submitted against the Debtor’s
       Directors & Officers insurance policy. At the time of filing the statements and
       schedules for the Initial Debtors, the insurance provider had not yet made a final
       determination with regards to whether these claims would be covered, and if so, the
       ultimate amount of coverage to be provided. These amounts are assumed to be
       potential setoffs against certain unsecured claims included on Schedule E/F.


       Interests in Insurance Policies or Annuities. A list of the Debtors insurance
       policies and related information is available in the Debtors’ Emergency Motion for
       Entry of an Order (I) Authorizing the Debtors to (A) Continue Insurance Coverage
       Entered Into Prepetition and Satisfy Prepetition Obligations Related Thereto and
       (B) Renew, Amend, Supplement, Extend, or Purchase Insurance Policies and (II)
       Granting Related Relief [Docket No. 6]. The Debtors’ interest in these types of
       policies is limited to the amount of the premiums that the Debtors have prepaid, if
       any, as of the Petition Dates. To the extent the Debtors have made a determination
       of the amount of prepaid insurance premiums or prefunded claim tails as of the
       Petition Dates, such amounts are listed on Exhibit A/B, Part 2, Question 8. All
       policies are expected to remain active or be replaced once lapsed.

       Federal Tax Refunds and Unused Net Operating Losses (NOLs). Each of the
       Debtors are included in a consolidated federal tax return with their ultimate parent,
       GWGH. The Debtors do not have a tax sharing agreement with GWGH. The
       Debtors are entitled to use the tax attributes of the consolidated group as a member
       of that group. By operation of law, the Debtors’ taxable income and loss is taken
       into account in the consolidated return, rather than resulting in tax assets or
       liabilities at an entity-by-entity level. The net operating loss amount reflected is as
       of December 31, 2020, which was the most recently completed tax return as of the
       filing of the Statements and Schedules for the Initial Debtors.


       Other Property of Any Kind Not Already Listed. The portfolio of life insurance
       policies is reported at fair value. The portfolio fair value is determined at the end of
       each fiscal quarter and represents the net present value of the life insurance
       portfolio’s future expected cash flows (policy benefits received and required
       premium payments) that incorporates life expectancy estimates obtained when the
       policy was purchased and current discount rate assumptions. As of October 31,
       2022, the reported value represents the value determined as of September 30, 2022,
       less the cost basis of any policy maturities that occurred during the month of
       October 2022.




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2.    Specific Notes Regarding Schedule D

            Except as otherwise agreed pursuant to a stipulation or agreed order or general order
            entered by the Bankruptcy Court, the Debtors reserve their rights to dispute or
            challenge the validity, perfection, or immunity from avoidance of any lien
            purported to be granted or perfected in any specific asset to a secured creditor listed
            on Schedule D of any Debtor. Moreover, although the Debtors may have scheduled
            claims of various creditors as secured claims, the Debtors reserve all rights to
            dispute or challenge the secured nature of any such creditor’s claim or the
            characterization of the structure of any such transaction or any document or
            instrument (including, without limitation, any intercompany agreement) related to
            such creditor’s claim. Moreover, the Debtors have not included on Schedule D
            parties that may believe their Claims are secured through setoff rights or inchoate
            statutory lien rights. Although there are multiple parties that hold a portion of the
            debt included in the Debtors’ prepetition secured debts, only the administrative
            agents have been listed for purposes of Schedule D. The amounts reflected as
            outstanding prepetition debts reflect approximate amounts as of the Petition Dates.

            In certain instances, a Debtor may be a co-obligor or guarantor with respect to
            scheduled claims of other Debtors, and no claim set forth on Schedule D of any
            Debtor is intended to acknowledge claims of creditors that are otherwise satisfied
            or discharged by other entities. The descriptions provided in Schedule D are
            intended only as a summary. Reference to the applicable debt agreements and
            related documents is necessary for a complete description of the collateral and the
            nature, extent, and priority of any liens. Nothing in the Global Notes or the
            Schedules and Statements shall be deemed a modification or interpretation of the
            terms of such agreements.

            Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
            collateral relating to the debt contained on Schedule D are contained in the
            Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in
            Support of the Debtors' Chapter 11 Petitions and First Day Motions [Docket No.
            17] (the “Initial First Day Declaration”) and Corrected Declaration of Timothy
            Evans in Support of the DLP Debtors' Chapter 11 Petitions and First Day Motions
            [Docket No. 976] (the “DLP First Day Declaration”).

            The claims for CLMG Corp as administrative agent and National Founder LP as
            administrative agent includes the Yield Maintenance Fee and the Acceleration
            Prepayment Premium Amount, respectively, pursuant to Order (I) Approving
            Settlement Among the Debtors, the DLP IV Secured Parties, and Other Parties in
            Interest and (II) Granting Related Relief [Docket No. 1140] and Order (I)
            Approving Settlement Among the Debtors, the DLP VI Secured Parties, and Other
            Parties in Interest and (II) Granting Related Relief [Docket No. 1141].




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3.    Specific Notes Regarding Schedule E/F

      (a)   Creditors Holding Priority Unsecured Claims. The listing of any claim on
            Schedule E/F does not constitute an admission by the Debtors that such claim or
            any portion thereof is entitled to priority treatment under section 507 of the
            Bankruptcy Code. The Debtors reserve all of their rights to dispute the amount
            and/or the priority status of any claim on any basis at any time.

            The Initial Debtors have listed on Schedule E/F pre-petition wage obligations for
            which the Initial Debtors had not yet been granted authority to pay by the
            Bankruptcy Court.

      (b)   Creditors Holding Nonpriority Unsecured Claims. The Debtors have used their
            reasonable best efforts to list all general unsecured claims against the Debtors on
            Schedule E/F based upon the Debtors’ existing books and records.

            Schedule E/F does not include certain deferred credits, deferred charges, deferred
            liabilities, accruals, or general reserves. Such amounts are general estimates of
            liabilities and do not represent specific claims as of the Petition Dates; however,
            such amounts are reflected on the Debtors’ books and records as required in
            accordance with GAAP.

            The claims listed in Schedule E/F arose or were incurred on various dates. In certain
            instances, the date on which a claim arose is an open issue of fact. Determining the
            date upon which each claim in Schedule E/F was incurred or arose would be unduly
            burdensome and cost prohibitive and, therefore, the Debtors do not list a date for
            each claim listed on Schedule E/F.

            Schedule E/F contains information regarding potential and pending litigation
            involving the Debtors. In certain instances, the Debtor that is the subject of the
            litigation is unclear or undetermined. To the extent that litigation involving a
            particular Debtor has been identified, however, such information is contained in the
            Schedule for that Debtor.

            Schedule E/F reflects the prepetition amounts owing to counterparties to executory
            contracts and unexpired leases. Such prepetition amounts, however, may be paid in
            connection with the assumption, or assumption and assignment, of an executory
            contract or unexpired lease. In addition, Schedule E/F does not include rejection
            damage claims of the counterparties to the executory contracts and unexpired leases
            that have been or may be rejected, to the extent such damage claims exist.

            Except in certain limited circumstances, the Debtors have not scheduled contingent
            and unliquidated liabilities related to guaranty obligations on Schedule E/F. Such
            guaranties are, instead, listed on Schedule H.

            The claims of individual creditors for, among other things, goods, services, or taxes
            listed on the Debtors’ books and records may not reflect credits or allowances due
            from such creditors. The Debtors reserve all of their rights in respect of such credits


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            or allowances. The dollar amounts listed may be exclusive of contingent or
            unliquidated amounts.Unless the Debtors were required to pay ancillary costs, such
            as freight, miscellaneous fees and taxes, such costs are not included in the liabilities
            scheduled, as such amounts do not represent actual liabilities of the Debtor.

      (c)   Schedule E/F - Trade Payables. Trade Payables listed on Schedule E/F contain
            the prepetition liability information available to the Debtors as of the date of filing.

4.    Specific Notes Regarding Schedule G

      (a)   Executory Contracts and Unexpired Leases. While the Debtors’ existing books,
            records, and financial systems have been relied upon to identify and schedule
            executory contracts at each of the Debtors, and although commercially reasonable
            efforts have been made to ensure the accuracy of Schedule G, inadvertent errors,
            omissions, or over inclusions may have occurred. The Debtors do not make, and
            specifically disclaim, any representation or warranty as to the completeness or
            accuracy of the information set forth on Schedule G. The Debtors hereby reserve
            all of their rights to dispute the validity, status, or enforceability of any contract,
            agreement, or lease set forth in Schedule G and to amend or supplement Schedule
            G as necessary. The contracts, agreements, and leases listed on Schedule G may
            have expired or may have been modified, amended, or supplemented from time to
            time by various amendments, restatements, waivers, estoppel certificates, letters,
            memoranda, and other documents, instruments, and agreements that may not be
            listed therein despite the Debtors’ use of reasonable efforts to identify such
            documents. Further, unless otherwise specified on Schedule G, each executory
            contract or unexpired lease listed thereon shall include all exhibits, schedules,
            riders, modifications, declarations, amendments, supplements, attachments,
            restatements, or other agreements made directly or indirectly by any agreement,
            instrument, or other document that in any manner affects such executory contract
            or unexpired lease, without respect to whether such agreement, instrument or other
            document is listed thereon.

            In some cases, the same supplier or provider appears multiple times on Schedule G.
            This multiple listing is intended to reflect distinct agreements between the
            applicable Debtor and such supplier or provider. Conversely, in some cases, the
            same agreement appears multiple times on Schedule G. This multiple listing is
            intended to reflect an agreement between the applicable Debtor and multiple
            suppliers or providers.

            As a general matter, certain of the Debtors’ executory contracts and unexpired
            leases could be included in more than one category. In those instances, one category
            has been chosen to avoid duplication. Further, the designation of a category is not
            meant to be wholly inclusive or descriptive of the entirety of the rights or
            obligations represented by such contract.

            Certain of the executory contracts and unexpired leases listed on Schedule G may
            contain certain renewal options, guarantees of payment, options to purchase, rights



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       of first refusal, right to lease additional space, and other miscellaneous rights. Such
       rights, powers, duties, and obligations are not set forth separately on Schedule G.
       In addition, the Debtors may have entered into various other types of agreements
       in the ordinary course of their business, such as easements, rights of way,
       subordination, nondisturbance, and atonement agreements, supplemental
       agreements, amendments/letter agreements, title agreements, and confidentiality
       agreements. Such documents also are not set forth in Schedule G.

       The Debtors hereby reserve all of their rights, claims, and causes of action with
       respect to the contracts and agreements listed on Schedule G, including the right to
       dispute or challenge the characterization or the structure of any transaction,
       document, or instrument related to a creditor’s claim, to dispute the validity, status,
       or enforceability of any contract, agreement, or lease set forth in Schedule G, and
       to amend or supplement Schedule G as necessary. Inclusion of any agreement on
       Schedule G does not constitute an admission that such agreement is an executory
       contract or unexpired lease and the Debtors reserve all rights in that regard,
       including, without limitation, that any agreement is not executory, has expired
       pursuant to its terms, or was terminated prepetition.

       In addition, certain of the agreements listed on Schedule G may be in the nature of
       conditional sales agreements or secured financings. The presence of a contract or
       agreement on Schedule G does not constitute an admission that such contract or
       agreement is an executory contract or unexpired lease.

       In the ordinary course of business, the Debtors have entered into numerous
       contracts or agreements, both written and oral, regarding the provision of certain
       services on a month to month basis. To the extent such contracts or agreements
       constitute executory contracts, these contracts and agreements may not be listed
       individually on Schedule G.

       Certain of the executory contracts may not have been memorialized and could be
       subject to dispute; executory agreements that are oral in nature have not been
       included in Schedule G.

       In the ordinary course of business, the Debtors may have entered into
       confidentiality agreements which, to the extent that such confidentiality agreements
       constitute executory contracts, are not listed individually on Schedule G.

       Certain of the executory contracts and unexpired leases listed in Schedule G may
       have been assigned to, assumed by, or otherwise transferred to certain of the
       Debtors in connection with, among other things, acquisitions by the Debtors.

       The Debtors generally have included on Schedule G insurance policies, the
       premiums for which may have been prepaid. The Debtors recognize that prepaid
       insurance policies are not executory contracts pursuant to section 365 of the
       Bankruptcy Code because no further payment or other material performance is
       required by the Debtors. Nonetheless, the Debtors recognize that in order to enjoy



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            the benefits of continued coverage for certain claims under these policies, the
            Debtors may have to comply with certain non-monetary obligations, such as the
            provision of notice of claims and cooperation with insurers. The Debtors reserve
            all of their rights to amend Schedule G to exclude such policies, as appropriate.

            In addition, Schedule G does not include rejection damage claims of the
            counterparties to the executory contracts and unexpired leases that have been or
            may be rejected, to the extent such damage claims exist.

            Omission of a contract or agreement from Schedule G does not constitute an
            admission that such omitted contract or agreement is not an executory contract or
            unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
            any such omitted contracts or agreements are not impaired by the omission.

            Certain of the agreements listed on Schedule G may have been entered into by or
            on behalf of more than one of the Debtors. Additionally, the specific Debtor
            obligor(s) to certain of the agreements could not be specifically ascertained in every
            circumstance. In such cases, the Debtors have made reasonable efforts to identify
            the correct Debtors’ Schedule G on which to list the agreement and, where a
            contract party remained uncertain, such agreements may have been listed on a
            different Debtor’s Schedule G.

5.    Specific Notes Regarding Schedule H

      (a)   Co-Debtors. The Debtors may not have identified certain guarantees that are
            embedded in the Debtors’ executory contracts, unexpired leases, secured
            financings, debt instruments, and other agreements. Further, certain of the
            guarantees reflected on Schedule H may have expired or may no longer be
            enforceable. Thus, the Debtors reserve their rights to amend Schedule H to the
            extent that additional guarantees are identified or such guarantees are discovered to
            have expired or become unenforceable.

            In the ordinary course of their business, the Debtors may be involved in pending or
            threatened litigation and claims arising out of certain ordinary course of business
            transactions. These matters may involve multiple plaintiffs and defendants, some
            or all of whom may assert cross-claims and counter-claims against other parties.
            Because such claims are contingent, disputed, and/or unliquidated, such claims
            have not been set forth individually on Schedule H. However, some such claims
            may be listed elsewhere in the Schedules and Statements.

                             Specific Statements Disclosures.

      (a)   Question 1 – Gross Revenue. As applicable, the Debtors have included income
            from subsidiaries in gross revenue in response to Question 1.

      (b)   Questions 3, 4, and 30 – Payments to Certain Creditors. The Initial Debtors
            have excluded ordinary course intercompany Initial Debtor to Initial Debtor
            transfers from their response to Question 4. The DLP Debtors have excluded


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       ordinary course intercompany DLP Debtor to DLP Debtor transfers from their
       response to Question 4.

       The Debtors have responded to Question 3 in detailed format by creditor. The
       response, however, does not include transfers to bankruptcy professionals (which
       transfers appear in response to Part 6, Question 11) or ordinary course
       compensation of individuals through salaries, wages, or related allowances.

       The Debtors have responded to Questions 4 and 30 in detailed format by insider in
       Question 4. To the extent: (i) a person qualified as an “insider” in the year prior to
       the Petition Dates, but later resigned their insider status or (ii) did not begin the year
       as an insider, but later became an insider, the Debtors have only listed in Question
       4 those payments made while such person was defined as an insider. The responses
       to Question 30 have been removed as it is duplicative to Question 4.

       Payments by DLP Debtors to CLMG Corp and Credigy Investments, LLC may
       include principal, interest, fees, and expenses.

 (c)   Question 6 – Setoffs. For a discussion of setoffs and nettings incurred by the
       Debtors, refer to paragraph 27 of these Global Notes.

 (d)   Question 11 – Payments Made Related to Bankruptcy Professionals. The
       response to Question 11 identifies the Debtor that made a payment in respect of
       professionals the Debtors have retained or will seek to retain under section 327 and
       section 363 of the Bankruptcy Code. Additional information regarding the
       Debtors’ retention of professional service firms is more fully described in the
       individual retention applications, motions, and related orders. Although the
       Debtors have made reasonable efforts to distinguish between payments made for
       professional services related and unrelated to their restructuring efforts, some
       amounts listed in response to Question 11 may include payments for professional
       services unrelated to bankruptcy.

 (e)   Question 14 – Previous Addresses. Leases that have had rejection motions filed
       post-petition have not been included as a previous address.      For additional
       information, see Agreed Order Authorizing Rejection of Certain Unexpired Leases
       and Other Related Relief and for Allowance and Payment of Administrative
       Expense Claim of U.S. Bank National Association [Docket No. 772].

 (f)   Question 16 – Personally Identifiable Information. In the ordinary course of
       businesses, the Debtors have business relationships with individuals and other
       parties related to the insurance policies purchased by a Debtor or its subsidiaries,
       as well as with bondholders, equity holders and other parties related to issuances of
       debt and equity securities. As a result, the Debtors collect and retain certain
       personally identifiable information of these parties, including, but not limited to,
       names, addresses, email addresses, and certain other information. Such information
       is subject to privacy requirements of various regulatory bodies, in addition to
       internal privacy policies of the Debtors, where applicable. The Debtors also rely on


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       privacy policies and cybersecurity policies of its third party service providers,
       where applicable.

 (g)   Question 17 – Employee Benefits. As described in the Initial Debtor’s Emergency
       Motion for Entry of an Order (I) Authorizing the Debtors to (A) Pay Prepetition
       Salaries, Other Compensation, and Reimbursable Expenses and (B) Continue
       Employee Benefits Programs and (II) Granting Related Relief [Docket No. 4], the
       Debtors do not sponsor employee benefit programs, including health, vision, dental,
       pension, and certain other benefits (collectively, the "Health and Welfare
       Programs"). The Health and Welfare Programs are sponsored through The
       Beneficient Company Group, L.P. ("Ben LP") and reimbursed by the Debtors to
       Ben LP as required by the Shared Services Agreement dated May 27, 2020.

 (h)   Question 25 – Other businesses in which the debtor has or has had an interest.
       Entities reflect the most recent name of each entity. The Debtors have not
       historically tracked all entity name changes, employer identification number
       (“EIN”) and dates. Entity names and type (e.g., partnership, corporation, etc.) may
       have changed during the historical period. The entities only reflect entities in which
       the Debtors have a direct interest. The EIN for Higi SH Holdings Inc. and the “Date
       Business Existed” for Nimbus, LLC were not readily available. Both GWG DLP
       Funding V Holdings, LLC and GWG DLP Funding VI Holdings, LLC were never
       assigned EINs.

 (i)   Question 26 – Books, Records, and Financial Statements. Relating to Question
       26A and 26C, Charles Roscopf is an employee of The Beneficient Company Group
       (USA), LLC and performs work for the Debtors through the Shared Service
       Agreement dated May 27, 2020.

       Relating to Question 26B, 9/17/2020 reflects date of Whitley Penn's official
       resignation. Whitley Penn performed additional work in 2021 related to a
       restatement of previously published financials.

       Relating to Question 26D, GWG Holdings, Inc., is a registrant with the Securities
       Exchange Commission and files periodic consolidated financial reports that include
       financial statements that are available to the public. The Debtors have also provided
       financial statements in the ordinary course of business to numerous financial
       institutions, creditors, bankruptcy advisors, and other parties within two years
       immediately before the Petition Dates. Considering the number of such recipients
       and the possibility that such information may have been shared with parties without
       the Debtors’ knowledge or consent, the Debtors have not disclosed any parties that
       may have received such financial statements for the purposes of Statement 26D.
       The following financial statements were provided to LNV Corporation within the
       last 2 years before the Initial Petition Date:

          1. Consolidated Financial Statements of GWG Life, LLC as of and for the
             years ended December 31, 2020 and 2019



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 (j)   Question 28 – Person/Entity in Control of the Debtor at the Time of the Filing
       of this case. The Seller Trusts hold 16,076,252 shares of GWG common stock.
       The sole beneficiary of each of the Seller Trusts is MHT Financial, L.L.C. Murray
       Holland, the prior Chief Executive Officer of GWGH, has an indirect pecuniary
       interest in the shares of common stock held by the Seller Trusts resulting from his
       ownership interest in 30% of the outstanding membership interests of MHT. Mr.
       Holland disclaims beneficial ownership of the shares of common stock held by the
       Seller Trusts except to the extent of the pecuniary interest therein described above.
       For the purposes of this question, the Seller Trusts amounts are aggregated.

       The Debtors’ list shareholders that hold more than 5% of the equity even though
       they are not controlling shareholders.

       On January 12, 2018, GWG Holdings, Inc. entered into a Master Exchange
       Agreement (the “Master Exchange Agreement”) pursuant to which it agreed to
       engage in a strategic transaction (the “Exchange Transaction”) with The
       Beneficient Company Group, L.P. (“Beneficient”) and a series of trusts (the “Seller
       Trusts”), in which the parties agreed to an exchange of certain assets. The Seller
       Trusts are a group of individual common law trusts that received shares of common
       stock in the Exchange Transaction. The trustee of each of the Seller Trusts is
       Delaware Trust Company. The beneficiary of each of the Seller Trusts is MHT
       Financial, L.L.C. (“MHT”). As of filing of the of the Initial Debtor’s Statements
       and Schedules, the current members of MHT Financial, LLC were Shawn T. Terry
       and Mike McGill. The names of the various trusts comprising the Seller Trusts that
       own the shares in Question 28 are as follows: The LT-1 Exchange Trust, The LT-
       2 Exchange Trust, The LT-3 Exchange Trust, The LT-4 Exchange Trust, The LT-
       5 Exchange Trust, The LT-6 Exchange Trust, The LT-7 Exchange Trust, The LT-
       8 Exchange Trust, The LT-9 Exchange Trust, The LT-12 Exchange Trust, The LT-
       14 Exchange Trust, The LT-15 Exchange Trust, The LT-16 Exchange Trust, The
       LT-17 Exchange Trust, The LT-18 Exchange Trust, The LT-19 Exchange Trust,
       and The LT-20 Exchange Trust.

       The Custody Trusts, which are variable interest entities, are a group of individual
       common law trusts that received shares of common stock from certain Seller Trusts
       that the Seller Trusts had received in connection with the Exchange Transaction.
       The certificate holders of the Custody Trusts are as follows: The LT-21
       LiquidTrust, The LT-22 LiquidTrust, The LT-23 LiquidTrust, The LT-24
       LiquidTrust, The LT-25 LiquidTrust, and The LT-26 LiquidTrust (the “Liquid
       Trusts”). The trustee of each of the Liquid Trusts was John A. Stahl as of the filing
       of the Initial Debtor’s Statements and Schedules, who had sole decision-making
       authority with respect to the Custody Trusts. The names of the various trusts
       comprising the Custody Trusts and certain other custody trusts are as follows: LT-
       21A Custody Trust ; LT-22A Custody Trust; LT-23A Custody Trust; LT-24A
       Custody Trust; LT 25-A Custody Trust; and LT 26-A Custody Trust.

 (k)   Question 30 – Payments, Distributions, or Withdrawals Credited or Given to
       Insiders. Distributions by the Debtors to their directors and officers are listed on


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       Question 4. Certain directors and executive officers of GWG Holdings, Inc. are
       also directors and executive officers of certain of the other Debtors and non-Debtor
       affiliates. To the extent payments to such individuals are not listed in the response
       to Question 4 on the Statements for such Debtor affiliates, they did not receive
       payment for their services as directors or officers directly from such entities.
       Certain of the Initial Debtors’ directors and executive officers received distributions
       net of tax withholdings in the year preceding the Initial Petition Date. The amounts
       listed under Question 4 for the Initial Debtors reflect the gross amounts paid to such
       directors and officers rather than the net amounts after deducting for tax
       withholdings.

                          *       *      *       *       *




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Fill in this information to identify the case:
Debtor name: GWG DLP Funding IV, LLC
United States Bankruptcy Court for the: Southern District of Texas
Case number (if known): 22-90336

                                                                                                                           ¨ Check if this is an
                                                                                                                                  amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                   04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).



 Part 1:    Income

1. Gross revenue from business
    ¨ None
     Identify the beginning and ending dates of the debtor’s fiscal year,       Sources of revenue                  Gross revenue
     which may be a calendar year                                               (Check all that apply)              (before deductions and
                                                                                                                    exclusions)


     From the beginning of the
                                         From 1/1/2022 to 10/31/2022
                                                                                þ Operating a business              $8,258,496.74
     fiscal year to filing date:
                                                                                ¨ Other: _________________

     For prior year:                     From 1/1/2021 to 12/31/2021
                                                                                þ Operating a business              $21,809,443.00
                                                                                ¨ Other: _________________

     For the year before that:           From 1/1/2020 to 12/31/2020
                                                                                þ Operating a business              $35,757,769.00
                                                                                ¨ Other: _________________


2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
    lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    þ None
                                                                                Description of sources of           Gross revenue from
                                                                                revenue                             each source
                                                                                                                    (before deductions and
                                                                                                                    exclusions)

     From the beginning of the
                                         From __________ to __________          _________________________           $___________________
     fiscal year to filing date:


     For prior year:                     From __________ to __________          _________________________           $___________________


     For the year before that:           From __________ to __________          _________________________           $___________________




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Debtor      GWG DLP Funding IV, LLC                                                                              Case number (if known) 22-90336



 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days
       before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
       adjusted on 04/01/2025 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       ¨ None
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.1.     ACCORDIA LIFE AND ANNUITY                              10/28/2022 $3,619.00                   ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                                       ¨ Unsecured loan repayments
                                                                                                       ¨ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       þ Other: PREMIUM
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.2.     ACCORDIA LIFE AND ANNUITY                              10/28/2022 $1,503.00                   ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                                       ¨ Unsecured loan repayments
                                                                                                       ¨ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       þ Other: PREMIUM
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.3.     ACCORDIA LIFE AND ANNUITY                              10/28/2022 $1,165.00                   ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                                       ¨ Unsecured loan repayments
                                                                                                       ¨ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       þ Other: PREMIUM
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.4.     ACCORDIA LIFE AND ANNUITY                              10/28/2022 $905.00                     ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                                       ¨ Unsecured loan repayments
                                                                                                       ¨ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       þ Other: PREMIUM
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.5.     ACCORDIA LIFE AND ANNUITY                              9/29/2022    $3,619.00                 ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                                       ¨ Unsecured loan repayments
                                                                                                       ¨ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       þ Other: PREMIUM


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Debtor     GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

        Creditor’s name and address                     Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.6.    ACCORDIA LIFE AND ANNUITY                       9/29/2022    $1,503.00               ¨ Secured debt
        PO BOX 71223
        CHARLOTTE NC 28272-1223                                                              ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
        Creditor’s name and address                     Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.7.    ACCORDIA LIFE AND ANNUITY                       9/29/2022    $1,165.00               ¨ Secured debt
        PO BOX 71223
        CHARLOTTE NC 28272-1223                                                              ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
        Creditor’s name and address                     Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.8.    ACCORDIA LIFE AND ANNUITY                       9/29/2022    $905.00                 ¨ Secured debt
        PO BOX 71223
        CHARLOTTE NC 28272-1223                                                              ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
        Creditor’s name and address                     Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.9.    ACCORDIA LIFE AND ANNUITY                       8/30/2022    $3,619.00               ¨ Secured debt
        PO BOX 71223
        CHARLOTTE NC 28272-1223                                                              ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.10.    ACCORDIA LIFE AND ANNUITY                       8/30/2022   $1,503.00               ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                             ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
         Creditor’s name and address                     Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.11.    ACCORDIA LIFE AND ANNUITY                       8/30/2022   $1,165.00               ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                             ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.12.    ACCORDIA LIFE AND ANNUITY                      8/30/2022   $905.00                 ¨ Secured debt
         PO BOX 71223
         CHARLOTTE NC 28272-1223                                                            ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.13.    ALLIANZ LIFE INSURANCE COMPANY                 10/28/2022 $6,846.00                ¨ Secured debt
         225 W WASHINGTON ST
         STE 1800                                                                           ¨ Unsecured loan repayments
         CHICAGO IL 60606-3484                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.14.    ALLIANZ LIFE INSURANCE COMPANY                 9/29/2022   $6,846.00               ¨ Secured debt
         225 W WASHINGTON ST
         STE 1800                                                                           ¨ Unsecured loan repayments
         CHICAGO IL 60606-3484                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.15.    ALLIANZ LIFE INSURANCE COMPANY                 8/30/2022   $6,846.00               ¨ Secured debt
         225 W WASHINGTON ST
         STE 1800                                                                           ¨ Unsecured loan repayments
         CHICAGO IL 60606-3484                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.16.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $59,792.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.17.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $34,887.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                 Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.18.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $22,611.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.19.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $20,131.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.20.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $12,694.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.21.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $10,625.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.22.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $9,913.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.23.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $9,777.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                 Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.24.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $9,190.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.25.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $6,271.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.26.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $6,212.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.27.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $5,610.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.28.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $5,574.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.29.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $4,605.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                 Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.30.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $3,454.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.31.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $1,832.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.32.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $1,757.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.33.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $1,657.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.34.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $1,538.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.35.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $1,058.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                 Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.36.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $960.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.37.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $892.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.38.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $888.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.39.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $738.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.40.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $710.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.41.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $673.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                       ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                             ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.42.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $571.00                  ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.43.    AMERICAN GENERAL LIFE INSURANCE                10/28/2022 $299.00                  ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.44.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $59,792.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.45.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $34,887.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.46.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $22,611.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.47.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $20,131.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.48.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $18,811.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.49.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $14,075.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.50.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $10,625.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.51.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $9,913.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.52.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $8,837.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.53.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $6,271.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.54.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $6,212.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.55.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $5,610.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.56.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $5,574.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.57.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $4,605.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.58.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $3,595.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.59.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $3,590.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.60.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $3,454.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.61.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $1,832.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.62.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $1,757.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.63.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $1,657.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.64.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $1,537.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.65.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $1,058.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.66.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $960.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.67.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $892.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.68.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $888.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.69.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $738.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.70.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $673.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.71.    AMERICAN GENERAL LIFE INSURANCE                9/29/2022   $299.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.72.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $59,792.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.73.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $34,887.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.74.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $24,077.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.75.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $20,131.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.76.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $18,811.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.77.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $10,625.00              ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.78.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $9,913.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.79.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $8,837.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.80.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $7,316.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.81.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $6,271.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.82.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $6,212.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.83.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $5,610.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.84.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $5,574.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.85.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $4,605.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.86.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $3,595.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.87.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $3,590.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.88.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $3,454.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.89.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $1,832.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.90.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $1,757.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.91.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $1,657.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.92.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $1,538.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.93.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $1,058.00               ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.94.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $960.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.95.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022   $892.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                        ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.96.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022    $888.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                         ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                               ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.97.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022    $738.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                         ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                               ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.98.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022    $673.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                         ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                               ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.99.    AMERICAN GENERAL LIFE INSURANCE                8/30/2022    $299.00                 ¨ Secured debt
         COMPANY
         PO BOX 0807                                                                         ¨ Unsecured loan repayments
         CAROL STREAM IL 60132                                                               ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.100.    AMERICAN NATIONAL INSURANCE COMPANY            10/28/2022 $41,667.00               ¨ Secured debt
          P.O. BOX 3257
          SPRINGFIELD MO 65808-3257                                                          ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.101.    AMERICAN NATIONAL INSURANCE COMPANY            9/29/2022   $41,667.00              ¨ Secured debt
          P.O. BOX 3257
          SPRINGFIELD MO 65808-3257                                                          ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.102.   AMERICAN NATIONAL INSURANCE COMPANY            8/30/2022   $41,667.00              ¨ Secured debt
         P.O. BOX 3257
         SPRINGFIELD MO 65808-3257                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.103.   AMERITAS                                       10/28/2022 $16,135.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.104.   AMERITAS                                       10/28/2022 $8,711.00                ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.105.   AMERITAS                                       10/28/2022 $3,492.00                ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.106.   AMERITAS                                       10/28/2022 $3,182.00                ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.107.   AMERITAS                                       10/28/2022 $1,842.00                ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.108.   AMERITAS                                       10/28/2022 $1,193.00                ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.109.   AMERITAS                                       10/28/2022 $780.00                  ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.110.   AMERITAS                                       10/28/2022 $674.00                  ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.111.   AMERITAS                                       10/28/2022 $621.00                  ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.112.   AMERITAS                                       9/29/2022   $16,135.00              ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.113.   AMERITAS                                       9/29/2022   $8,711.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.114.   AMERITAS                                       9/29/2022   $3,492.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.115.   AMERITAS                                       9/29/2022   $3,182.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.116.   AMERITAS                                       9/29/2022   $1,842.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.117.   AMERITAS                                       9/29/2022   $1,193.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.118.   AMERITAS                                       9/29/2022   $780.00                 ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.119.   AMERITAS                                       9/29/2022   $674.00                 ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.120.   AMERITAS                                       9/29/2022   $621.00                 ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.121.   AMERITAS                                       8/30/2022   $16,135.00              ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.122.   AMERITAS                                       8/30/2022   $8,711.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.123.   AMERITAS                                       8/30/2022   $3,492.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.124.   AMERITAS                                       8/30/2022   $3,182.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.125.   AMERITAS                                       8/30/2022   $1,842.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.126.   AMERITAS                                       8/30/2022   $1,193.00               ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.127.   AMERITAS                                       8/30/2022   $780.00                 ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.128.   AMERITAS                                       8/30/2022   $675.00                 ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.129.   AMERITAS                                       8/30/2022   $358.00                 ¨ Secured debt
         6940 O STREET
         SUITE 406                                                                          ¨ Unsecured loan repayments
         LINCOLN NE 68510                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.130.   ATHENE                                         10/28/2022 $16,116.00               ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.131.   ATHENE                                         10/28/2022 $11,194.00               ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.132.   ATHENE                                         10/28/2022 $3,293.00                ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.133.   ATHENE                                         10/28/2022 $1,988.00                ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.134.   ATHENE                                         9/29/2022   $16,116.00              ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.135.   ATHENE                                         9/29/2022   $11,413.00              ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.136.   ATHENE                                         9/29/2022   $3,293.00               ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.137.   ATHENE                                         9/29/2022   $1,988.00               ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.138.   ATHENE                                         8/30/2022   $16,116.00              ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.139.   ATHENE                                         8/30/2022   $14,634.00              ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.140.   ATHENE                                         8/30/2022   $3,309.00               ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.141.   ATHENE                                         8/30/2022   $1,988.00               ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.142.   AXA EQUITABLE                                  10/28/2022 $83,436.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.143.   AXA EQUITABLE                                  10/28/2022 $58,044.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.144.   AXA EQUITABLE                                  10/28/2022 $55,031.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.145.   AXA EQUITABLE                                  10/28/2022 $34,290.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.146.   AXA EQUITABLE                                  10/28/2022 $32,741.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.147.   AXA EQUITABLE                                  10/28/2022 $31,212.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.148.   AXA EQUITABLE                                  10/28/2022 $30,360.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.149.   AXA EQUITABLE                                  10/28/2022 $26,680.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.150.   AXA EQUITABLE                                  10/28/2022 $26,385.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.151.   AXA EQUITABLE                                  10/28/2022 $22,893.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.152.   AXA EQUITABLE                                  10/28/2022 $22,806.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.153.   AXA EQUITABLE                                  10/28/2022 $22,715.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.154.   AXA EQUITABLE                                  10/28/2022 $21,609.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.155.   AXA EQUITABLE                                  10/28/2022 $18,676.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.156.   AXA EQUITABLE                                  10/28/2022 $14,389.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.157.   AXA EQUITABLE                                  10/28/2022 $13,255.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.158.   AXA EQUITABLE                                  10/28/2022 $12,590.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.159.   AXA EQUITABLE                                  10/28/2022 $10,709.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.160.   AXA EQUITABLE                                  10/28/2022 $10,454.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.161.   AXA EQUITABLE                                  10/28/2022 $10,320.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.162.   AXA EQUITABLE                                  10/28/2022 $10,295.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.163.   AXA EQUITABLE                                  10/28/2022 $10,202.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.164.   AXA EQUITABLE                                  10/28/2022 $10,147.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.165.   AXA EQUITABLE                                  10/28/2022 $9,615.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.166.   AXA EQUITABLE                                  10/28/2022 $8,707.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.167.   AXA EQUITABLE                                  10/28/2022 $8,169.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.168.   AXA EQUITABLE                                  10/28/2022 $8,169.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.169.   AXA EQUITABLE                                  10/28/2022 $8,081.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.170.   AXA EQUITABLE                                  10/28/2022 $7,434.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.171.   AXA EQUITABLE                                  10/28/2022 $7,271.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.172.   AXA EQUITABLE                                  10/28/2022 $6,739.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.173.   AXA EQUITABLE                                  10/28/2022 $5,348.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.174.   AXA EQUITABLE                                  10/28/2022 $5,204.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.175.   AXA EQUITABLE                                  10/28/2022 $4,684.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.176.   AXA EQUITABLE                                  10/28/2022 $4,523.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.177.   AXA EQUITABLE                                  10/28/2022 $4,154.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.178.   AXA EQUITABLE                                  10/28/2022 $3,657.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.179.   AXA EQUITABLE                                  10/28/2022 $3,589.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.180.   AXA EQUITABLE                                  10/28/2022 $3,488.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.181.   AXA EQUITABLE                                  10/28/2022 $3,426.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.182.   AXA EQUITABLE                                  10/28/2022 $3,227.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.183.   AXA EQUITABLE                                  10/28/2022 $2,830.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.184.   AXA EQUITABLE                                  10/28/2022 $2,749.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.185.   AXA EQUITABLE                                  10/28/2022 $2,622.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.186.   AXA EQUITABLE                                  10/28/2022 $2,389.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.187.   AXA EQUITABLE                                  10/28/2022 $2,363.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.188.   AXA EQUITABLE                                  10/28/2022 $2,264.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.189.   AXA EQUITABLE                                  10/28/2022 $2,139.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.190.   AXA EQUITABLE                                  10/28/2022 $1,700.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.191.   AXA EQUITABLE                                  10/28/2022 $1,698.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.192.   AXA EQUITABLE                                  10/28/2022 $1,671.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.193.   AXA EQUITABLE                                  10/28/2022 $1,665.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.194.   AXA EQUITABLE                                  10/28/2022 $1,642.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.195.   AXA EQUITABLE                                  10/28/2022 $1,522.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.196.   AXA EQUITABLE                                  10/28/2022 $1,324.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.197.   AXA EQUITABLE                                  10/28/2022 $1,208.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.198.   AXA EQUITABLE                                  10/28/2022 $1,040.00                ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.199.   AXA EQUITABLE                                  10/28/2022 $1,014.00                ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.200.   AXA EQUITABLE                                  10/28/2022 $917.00                  ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.201.   AXA EQUITABLE                                  10/28/2022 $551.00                  ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.202.   AXA EQUITABLE                                  10/28/2022 $391.00                  ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.203.   AXA EQUITABLE                                  9/29/2022   $83,436.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.204.   AXA EQUITABLE                                  9/29/2022   $66,542.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.205.   AXA EQUITABLE                                  9/29/2022   $55,031.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.206.   AXA EQUITABLE                                  9/29/2022   $34,290.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.207.   AXA EQUITABLE                                  9/29/2022   $32,741.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.208.   AXA EQUITABLE                                  9/29/2022   $31,212.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.209.   AXA EQUITABLE                                  9/29/2022   $30,360.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.210.   AXA EQUITABLE                                  9/29/2022   $26,680.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.211.   AXA EQUITABLE                                  9/29/2022   $22,806.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.212.   AXA EQUITABLE                                  9/29/2022   $22,715.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.213.   AXA EQUITABLE                                  9/29/2022   $21,145.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.214.   AXA EQUITABLE                                  9/29/2022   $18,676.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.215.   AXA EQUITABLE                                  9/29/2022   $17,957.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.216.   AXA EQUITABLE                                  9/29/2022   $16,515.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.217.   AXA EQUITABLE                                  9/29/2022   $14,389.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.218.   AXA EQUITABLE                                  9/29/2022   $13,255.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.219.   AXA EQUITABLE                                  9/29/2022   $12,590.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.220.   AXA EQUITABLE                                  9/29/2022   $10,709.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.221.   AXA EQUITABLE                                  9/29/2022   $10,454.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.222.   AXA EQUITABLE                                  9/29/2022   $10,320.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.223.   AXA EQUITABLE                                  9/29/2022   $10,202.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.224.   AXA EQUITABLE                                  9/29/2022   $10,147.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.225.   AXA EQUITABLE                                  9/29/2022   $9,615.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.226.   AXA EQUITABLE                                  9/29/2022   $9,544.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.227.   AXA EQUITABLE                                  9/29/2022   $9,544.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.228.   AXA EQUITABLE                                  9/29/2022   $9,039.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.229.   AXA EQUITABLE                                  9/29/2022   $8,823.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.230.   AXA EQUITABLE                                  9/29/2022   $8,697.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.231.   AXA EQUITABLE                                  9/29/2022   $8,081.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.232.   AXA EQUITABLE                                  9/29/2022   $7,271.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.233.   AXA EQUITABLE                                  9/29/2022   $6,739.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.234.   AXA EQUITABLE                                  9/29/2022   $5,348.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.235.   AXA EQUITABLE                                  9/29/2022   $5,204.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.236.   AXA EQUITABLE                                  9/29/2022   $4,684.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.237.   AXA EQUITABLE                                  9/29/2022   $4,523.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.238.   AXA EQUITABLE                                  9/29/2022   $4,154.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.239.   AXA EQUITABLE                                  9/29/2022   $3,657.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.240.   AXA EQUITABLE                                  9/29/2022   $3,589.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.241.   AXA EQUITABLE                                  9/29/2022   $3,488.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.242.   AXA EQUITABLE                                  9/29/2022   $3,426.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.243.   AXA EQUITABLE                                  9/29/2022   $3,227.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.244.   AXA EQUITABLE                                  9/29/2022   $2,830.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.245.   AXA EQUITABLE                                  9/29/2022   $2,749.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.246.   AXA EQUITABLE                                  9/29/2022   $2,622.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.247.   AXA EQUITABLE                                  9/29/2022   $2,389.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.248.   AXA EQUITABLE                                  9/29/2022   $2,363.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.249.   AXA EQUITABLE                                  9/29/2022   $2,139.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.250.   AXA EQUITABLE                                  9/29/2022   $1,803.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.251.   AXA EQUITABLE                                  9/29/2022   $1,698.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.252.   AXA EQUITABLE                                  9/29/2022   $1,671.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.253.   AXA EQUITABLE                                  9/29/2022   $1,665.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.254.   AXA EQUITABLE                                  9/29/2022   $1,642.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.255.   AXA EQUITABLE                                  9/29/2022   $1,522.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.256.   AXA EQUITABLE                                  9/29/2022   $1,365.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.257.   AXA EQUITABLE                                  9/29/2022   $1,208.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.258.   AXA EQUITABLE                                  9/29/2022   $1,055.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.259.   AXA EQUITABLE                                  9/29/2022   $1,040.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.260.   AXA EQUITABLE                                  9/29/2022   $1,014.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.261.   AXA EQUITABLE                                  9/29/2022   $551.00                 ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.262.   AXA EQUITABLE                                  9/29/2022   $450.00                 ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.263.   AXA EQUITABLE                                  9/29/2022   $391.00                 ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.264.   AXA EQUITABLE                                  8/30/2022   $83,436.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.265.   AXA EQUITABLE                                  8/30/2022   $55,031.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.266.   AXA EQUITABLE                                  8/30/2022   $53,778.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.267.   AXA EQUITABLE                                  8/30/2022   $34,290.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.268.   AXA EQUITABLE                                  8/30/2022   $32,741.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.269.   AXA EQUITABLE                                  8/30/2022   $32,298.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.270.   AXA EQUITABLE                                  8/30/2022   $31,212.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.271.   AXA EQUITABLE                                  8/30/2022   $30,360.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.272.   AXA EQUITABLE                                  8/30/2022   $22,806.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.273.   AXA EQUITABLE                                  8/30/2022   $22,715.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.274.   AXA EQUITABLE                                  8/30/2022   $21,145.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.275.   AXA EQUITABLE                                  8/30/2022   $18,676.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.276.   AXA EQUITABLE                                  8/30/2022   $17,957.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.277.   AXA EQUITABLE                                  8/30/2022   $16,515.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.278.   AXA EQUITABLE                                  8/30/2022   $14,389.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.279.   AXA EQUITABLE                                  8/30/2022   $13,255.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.280.   AXA EQUITABLE                                  8/30/2022   $12,590.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.281.   AXA EQUITABLE                                  8/30/2022   $12,420.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.282.   AXA EQUITABLE                                  8/30/2022   $11,650.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.283.   AXA EQUITABLE                                  8/30/2022   $10,709.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.284.   AXA EQUITABLE                                  8/30/2022   $10,320.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.285.   AXA EQUITABLE                                  8/30/2022   $10,147.00              ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.286.   AXA EQUITABLE                                  8/30/2022   $9,615.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.287.   AXA EQUITABLE                                  8/30/2022   $9,039.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.288.   AXA EQUITABLE                                  8/30/2022   $8,823.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.289.   AXA EQUITABLE                                  8/30/2022   $8,081.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.290.   AXA EQUITABLE                                  8/30/2022   $7,488.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.291.   AXA EQUITABLE                                  8/30/2022   $7,488.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.292.   AXA EQUITABLE                                  8/30/2022   $7,271.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.293.   AXA EQUITABLE                                  8/30/2022   $6,815.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.294.   AXA EQUITABLE                                  8/30/2022   $6,739.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.295.   AXA EQUITABLE                                  8/30/2022   $5,353.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.296.   AXA EQUITABLE                                  8/30/2022   $5,204.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.297.   AXA EQUITABLE                                  8/30/2022   $4,684.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.298.   AXA EQUITABLE                                  8/30/2022   $4,523.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.299.   AXA EQUITABLE                                  8/30/2022   $4,154.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.300.   AXA EQUITABLE                                  8/30/2022   $3,657.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.301.   AXA EQUITABLE                                  8/30/2022   $3,589.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.302.   AXA EQUITABLE                                  8/30/2022   $3,488.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.303.   AXA EQUITABLE                                  8/30/2022   $3,426.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.304.   AXA EQUITABLE                                  8/30/2022   $3,227.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.305.   AXA EQUITABLE                                  8/30/2022   $2,830.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.306.   AXA EQUITABLE                                  8/30/2022   $2,749.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.307.   AXA EQUITABLE                                  8/30/2022   $2,622.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.308.   AXA EQUITABLE                                  8/30/2022   $2,607.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.309.   AXA EQUITABLE                                  8/30/2022   $2,389.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.310.   AXA EQUITABLE                                  8/30/2022   $2,363.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.311.   AXA EQUITABLE                                  8/30/2022   $1,803.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.312.   AXA EQUITABLE                                  8/30/2022   $1,698.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.313.   AXA EQUITABLE                                  8/30/2022   $1,671.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.314.   AXA EQUITABLE                                  8/30/2022   $1,665.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.315.   AXA EQUITABLE                                  8/30/2022   $1,642.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.316.   AXA EQUITABLE                                  8/30/2022   $1,365.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.317.   AXA EQUITABLE                                  8/30/2022   $1,208.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.318.   AXA EQUITABLE                                  8/30/2022   $1,055.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.319.   AXA EQUITABLE                                  8/30/2022   $1,040.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.320.   AXA EQUITABLE                                  8/30/2022   $1,014.00               ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.321.   AXA EQUITABLE                                  8/30/2022   $551.00                 ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.322.   AXA EQUITABLE                                  8/30/2022   $391.00                 ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.323.   AXA EQUITABLE                                  8/30/2022   $167.00                 ¨ Secured debt
         NATIONAL OPERATIONS CENTER
         PO BOX 1047                                                                        ¨ Unsecured loan repayments
         CHARLOTTE NC 28201-1047                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.324.   BANNER LIFE                                    10/28/2022 $19,543.00              ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                           ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.325.   BANNER LIFE                                    10/28/2022 $5,287.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                           ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.326.   BANNER LIFE                                    10/28/2022 $4,134.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                           ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.327.   BANNER LIFE                                    10/28/2022 $1,880.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                           ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.328.   BANNER LIFE                                    10/28/2022 $1,056.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                           ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.329.   BANNER LIFE                                    10/28/2022 $1,002.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                           ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.330.   BANNER LIFE                                    10/28/2022 $834.00                  ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.331.   BANNER LIFE                                    10/28/2022 $522.00                  ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.332.   BANNER LIFE                                    9/29/2022   $19,543.00              ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.333.   BANNER LIFE                                    9/29/2022   $5,285.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.334.   BANNER LIFE                                    9/29/2022   $4,134.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.335.   BANNER LIFE                                    9/29/2022   $1,880.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.336.   BANNER LIFE                                    9/29/2022   $1,212.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.337.   BANNER LIFE                                    9/29/2022   $881.00                 ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.338.   BANNER LIFE                                    9/29/2022   $834.00                 ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.339.   BANNER LIFE                                    9/29/2022   $522.00                 ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.340.   BANNER LIFE                                    8/30/2022   $19,543.00              ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.341.   BANNER LIFE                                    8/30/2022   $5,961.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.342.   BANNER LIFE                                    8/30/2022   $4,132.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.343.   BANNER LIFE                                    8/30/2022   $1,880.00               ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.344.   BANNER LIFE                                    8/30/2022   $899.00                 ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.345.   BANNER LIFE                                    8/30/2022   $881.00                 ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.346.   BANNER LIFE                                    8/30/2022   $834.00                 ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.347.   BANNER LIFE                                    8/30/2022   $522.00                 ¨ Secured debt
         ATTN: PREMIUM CENTER
         3275 BENNETT CREEK AVE.                                                            ¨ Unsecured loan repayments
         FREDERICK MD 21704                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.348.   BENEFICIAL LIFE INSURANCE COMPANY              10/28/2022 $14,384.00               ¨ Secured debt
         150 SOCIAL HALL AVE
         SALT LAKE CITY UT 84111                                                            ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.349.   BRIGHTHOUSE FINANCIAL                          10/28/2022 $22,768.00               ¨ Secured debt
         PO BOX 336
         WARWICK RI 02887-0336                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.350.   BRIGHTHOUSE FINANCIAL                          10/28/2022 $4,191.00                ¨ Secured debt
         PO BOX 336
         WARWICK RI 02887-0336                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.351.   BRIGHTHOUSE FINANCIAL                          9/29/2022   $20,686.00              ¨ Secured debt
         PO BOX 336
         WARWICK RI 02887-0336                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.352.   BRIGHTHOUSE FINANCIAL                          9/29/2022   $4,191.00               ¨ Secured debt
         PO BOX 336
         WARWICK RI 02887-0336                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.353.   BRIGHTHOUSE FINANCIAL                          8/30/2022   $20,686.00              ¨ Secured debt
         PO BOX 336
         WARWICK RI 02887-0336                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.354.   BRIGHTHOUSE FINANCIAL                          8/30/2022   $4,191.00               ¨ Secured debt
         PO BOX 336
         WARWICK RI 02887-0336                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.355.   CENTRIAN LIFE INSURANCE                        10/28/2022 $1,874.00                ¨ Secured debt
         PO BOX 55249
         BOSTON MA 02205-5249                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.356.   CENTRIAN LIFE INSURANCE                        9/29/2022   $1,874.00               ¨ Secured debt
         PO BOX 55249
         BOSTON MA 02205-5249                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.357.   CENTRIAN LIFE INSURANCE                        8/30/2022   $1,874.00               ¨ Secured debt
         PO BOX 55249
         BOSTON MA 02205-5249                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.358.   CLMG CORP                                      10/27/2022 $579,090.17              þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.359.   CLMG CORP                                      10/20/2022 $1,274,443.64            þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.360.   CLMG CORP                                      10/20/2022 $353,656.50              þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.361.   CLMG CORP                                      10/20/2022 $200,399.00              þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.362.   CLMG CORP                                      10/20/2022 $84,822.96               þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.363.   CLMG CORP                                      10/20/2022 $84,639.96               þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.364.   CLMG CORP                                      10/20/2022 $50,000.00               þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.365.   CLMG CORP                                      9/27/2022   $320,878.58             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.366.   CLMG CORP                                      9/20/2022   $2,271,444.35           þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.367.   CLMG CORP                                      9/20/2022   $324,394.70             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.368.   CLMG CORP                                      9/20/2022   $39,124.98              þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.369.   CLMG CORP                                      9/14/2022   $947,667.92             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.370.   CLMG CORP                                      9/14/2022   $325,233.60             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.371.   CLMG CORP                                      9/14/2022   $85,272.28              þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.372.   CLMG CORP                                      9/7/2022    $1,780,887.73           þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.373.   CLMG CORP                                      9/7/2022    $515,335.16             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.374.   CLMG CORP                                      9/7/2022    $328,784.00             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.375.   CLMG CORP                                      8/25/2022   $653,360.73             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.376.   CLMG CORP                                      8/25/2022   $5,707.00               þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.377.   CLMG CORP                                      8/15/2022   $420,017.61             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.378.   CLMG CORP                                      8/3/2022    $597,881.24             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.379.   CLMG CORP                                      8/3/2022    $420,017.60             þ Secured debt
         7195 DALLAS PARKWAY
         PLANO TX 75024                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.380.   COLUMBUS LIFE INSURANCE COMPANY                10/28/2022 $8,996.00                ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.381.   COLUMBUS LIFE INSURANCE COMPANY                10/28/2022 $2,442.00                ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.382.   COLUMBUS LIFE INSURANCE COMPANY                10/28/2022 $2,083.00                ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.383.   COLUMBUS LIFE INSURANCE COMPANY                9/29/2022   $8,996.00               ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.384.   COLUMBUS LIFE INSURANCE COMPANY                9/29/2022   $2,442.00               ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.385.   COLUMBUS LIFE INSURANCE COMPANY                9/29/2022   $2,083.00               ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.386.   COLUMBUS LIFE INSURANCE COMPANY                8/30/2022   $8,996.00               ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.387.   COLUMBUS LIFE INSURANCE COMPANY                8/30/2022   $2,442.00               ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.388.   COLUMBUS LIFE INSURANCE COMPANY                8/30/2022   $2,105.00               ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.389.   COLUMBUS LIFE INSURANCE COMPANY                8/30/2022   $2,083.00               ¨ Secured debt
         5TH & MAIN STREET
         CINCINNATI OH 45201                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.390.   COMMONWEATH ANNUITY AND LIFE                   10/28/2022 $3,727.00                ¨ Secured debt
         2000 WADE HAMPTON BLVD, BLDG A
         GREENVILLE SC 29615                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.391.   COMMONWEATH ANNUITY AND LIFE                   9/29/2022   $3,727.00               ¨ Secured debt
         2000 WADE HAMPTON BLVD, BLDG A
         GREENVILLE SC 29615                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.392.   COMMONWEATH ANNUITY AND LIFE                   8/30/2022   $3,727.00               ¨ Secured debt
         2000 WADE HAMPTON BLVD, BLDG A
         GREENVILLE SC 29615                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.393.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $12,581.32               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                      ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                          ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.394.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $12,581.32               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                      ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                          ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.395.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $12,414.68               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                      ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                          ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.396.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $12,414.68              ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.397.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $12,414.68              ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.398.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $12,414.68              ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.399.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $2,875.00               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.400.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $2,862.50               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.401.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $2,862.50               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.402.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $70.00                  ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.403.   COMPUTERSHARE TRUST COMPANY, NA                10/21/2022 $20.00                  ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.404.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022   $12,727.13              ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.405.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022   $12,727.13              ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.406.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022   $12,664.64              ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.407.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022   $12,664.64              ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                     ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                         ¨ Suppliers or vendors
                                                                                           þ Services
                                                                                           ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.408.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022    $2,925.00               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                      ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                          ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.409.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022    $2,918.75               ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                      ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                          ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.410.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022    $30.00                  ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                      ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                          ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.411.   COMPUTERSHARE TRUST COMPANY, NA                9/7/2022    $10.00                  ¨ Secured debt
         WF 8113
         P.O. BOX 1450                                                                      ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55485-8113                                                          ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.412.   CONSECO LIFE INSURANCE COMPANY                 10/28/2022 $466.00                  ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.413.   CONSECO LIFE INSURANCE COMPANY                 9/29/2022   $487.00                 ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.414.   CONSECO LIFE INSURANCE COMPANY                 8/30/2022   $455.00                 ¨ Secured debt
         100 CENTERVIEW DR
         SUITE 100                                                                          ¨ Unsecured loan repayments
         NASHVILLE TN 37214                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.415.   DELAWARE LIFE INSURANCE COMPANY                10/28/2022 $4,206.00                ¨ Secured debt
         PO BOX 758581
         TOPEKA KS 66675-8580                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.416.   DELAWARE LIFE INSURANCE COMPANY                10/28/2022 $1,809.00                ¨ Secured debt
         PO BOX 758581
         TOPEKA KS 66675-8580                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.417.   DELAWARE LIFE INSURANCE COMPANY                9/29/2022   $4,206.00               ¨ Secured debt
         PO BOX 758581
         TOPEKA KS 66675-8580                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.418.   DELAWARE LIFE INSURANCE COMPANY                9/29/2022   $1,809.00               ¨ Secured debt
         PO BOX 758581
         TOPEKA KS 66675-8580                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.419.   DELAWARE LIFE INSURANCE COMPANY                8/30/2022   $4,927.00               ¨ Secured debt
         PO BOX 758581
         TOPEKA KS 66675-8580                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.420.   DELAWARE LIFE INSURANCE COMPANY                8/30/2022   $1,809.00               ¨ Secured debt
         PO BOX 758581
         TOPEKA KS 66675-8580                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.421.   FARMERS INSURANCE GROUP                        10/28/2022 $1,698.00                ¨ Secured debt
         7340 WEST MEMORIAL ROAD
         OKLAHOMA CITY OK 73142                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.422.   FARMERS INSURANCE GROUP                        10/28/2022 $913.00                  ¨ Secured debt
         7340 WEST MEMORIAL ROAD
         OKLAHOMA CITY OK 73142                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.423.   FARMERS INSURANCE GROUP                        9/29/2022   $1,176.00               ¨ Secured debt
         7340 WEST MEMORIAL ROAD
         OKLAHOMA CITY OK 73142                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.424.   FARMERS INSURANCE GROUP                        9/29/2022   $1,161.00               ¨ Secured debt
         7340 WEST MEMORIAL ROAD
         OKLAHOMA CITY OK 73142                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.425.   FARMERS INSURANCE GROUP                        8/30/2022   $1,161.00               ¨ Secured debt
         7340 WEST MEMORIAL ROAD
         OKLAHOMA CITY OK 73142                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.426.   FARMERS INSURANCE GROUP                        8/30/2022   $784.00                 ¨ Secured debt
         7340 WEST MEMORIAL ROAD
         OKLAHOMA CITY OK 73142                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.427.   FIRST ALLMERICA FINANCIAL INSURANCE            10/28/2022 $8,647.00                ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.428.   FIRST ALLMERICA FINANCIAL INSURANCE            10/28/2022 $3,894.00                ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.429.   FIRST ALLMERICA FINANCIAL INSURANCE            10/28/2022 $343.00                  ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.430.   FIRST ALLMERICA FINANCIAL INSURANCE            9/29/2022   $8,449.00               ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.431.   FIRST ALLMERICA FINANCIAL INSURANCE            9/29/2022   $3,894.00               ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.432.   FIRST ALLMERICA FINANCIAL INSURANCE            9/29/2022   $343.00                 ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.433.   FIRST ALLMERICA FINANCIAL INSURANCE            8/30/2022   $8,128.00               ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.434.   FIRST ALLMERICA FINANCIAL INSURANCE            8/30/2022   $3,894.00               ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.435.   FIRST ALLMERICA FINANCIAL INSURANCE            8/30/2022   $343.00                 ¨ Secured debt
         COMPANY
         PO BOX 63020                                                                       ¨ Unsecured loan repayments
         SAN FRANCISCO CA 94162                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.436.   GENWORTH FINANCIAL                             10/28/2022 $29,934.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.437.   GENWORTH FINANCIAL                             10/28/2022 $24,376.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.438.   GENWORTH FINANCIAL                             10/28/2022 $10,846.00              ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.439.   GENWORTH FINANCIAL                             10/28/2022 $3,776.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.440.   GENWORTH FINANCIAL                             10/28/2022 $3,766.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.441.   GENWORTH FINANCIAL                             10/28/2022 $2,810.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.442.   GENWORTH FINANCIAL                             10/28/2022 $2,405.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.443.   GENWORTH FINANCIAL                             10/28/2022 $1,347.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.444.   GENWORTH FINANCIAL                             10/28/2022 $931.00                  ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.445.   GENWORTH FINANCIAL                             10/28/2022 $132.00                  ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.446.   GENWORTH FINANCIAL                             9/29/2022   $29,933.00              ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.447.   GENWORTH FINANCIAL                             9/29/2022   $24,376.00              ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.448.   GENWORTH FINANCIAL                             9/29/2022   $6,800.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.449.   GENWORTH FINANCIAL                             9/29/2022   $4,794.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.450.   GENWORTH FINANCIAL                             9/29/2022   $3,998.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.451.   GENWORTH FINANCIAL                             9/29/2022   $3,776.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.452.   GENWORTH FINANCIAL                             9/29/2022   $2,405.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.453.   GENWORTH FINANCIAL                             9/29/2022   $1,347.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.454.   GENWORTH FINANCIAL                             9/29/2022   $932.00                 ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.455.   GENWORTH FINANCIAL                             9/29/2022   $132.00                 ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.456.   GENWORTH FINANCIAL                             8/30/2022   $29,933.00              ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.457.   GENWORTH FINANCIAL                             8/30/2022   $24,376.00              ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.458.   GENWORTH FINANCIAL                             8/30/2022   $9,821.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.459.   GENWORTH FINANCIAL                             8/30/2022   $3,776.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.460.   GENWORTH FINANCIAL                             8/30/2022   $3,257.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.461.   GENWORTH FINANCIAL                             8/30/2022   $2,755.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.462.   GENWORTH FINANCIAL                             8/30/2022   $2,225.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.463.   GENWORTH FINANCIAL                             8/30/2022   $1,347.00               ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.464.   GENWORTH FINANCIAL                             8/30/2022   $931.00                 ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.465.   GENWORTH FINANCIAL                             8/30/2022   $132.00                 ¨ Secured debt
         3100 ALBERT LANKFORD DR
         LYNCHBURG VA 24501                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.466.   HARTFORD LIFE                                  10/28/2022 $85,453.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.467.   HARTFORD LIFE                                  10/28/2022 $17,449.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.468.   HARTFORD LIFE                                  10/28/2022 $5,952.00                ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.469.   HARTFORD LIFE                                  10/28/2022 $3,677.00                ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.470.   HARTFORD LIFE                                  10/28/2022 $2,783.00                ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.471.   HARTFORD LIFE                                  10/28/2022 $537.00                  ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.472.   HARTFORD LIFE                                  9/29/2022   $62,373.00              ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.473.   HARTFORD LIFE                                  9/29/2022   $17,449.00              ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.474.   HARTFORD LIFE                                  9/29/2022   $5,952.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.475.   HARTFORD LIFE                                  9/29/2022   $3,677.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.476.   HARTFORD LIFE                                  9/29/2022   $2,783.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.477.   HARTFORD LIFE                                  9/29/2022   $537.00                 ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.478.   HARTFORD LIFE                                  8/30/2022   $62,373.00              ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.479.   HARTFORD LIFE                                  8/30/2022   $17,449.00              ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.480.   HARTFORD LIFE                                  8/30/2022   $5,952.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.481.   HARTFORD LIFE                                  8/30/2022   $3,677.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.482.   HARTFORD LIFE                                  8/30/2022   $2,783.00               ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.483.   HARTFORD LIFE                                  8/30/2022   $537.00                 ¨ Secured debt
         PO BOX 64582
         SAINT PAUL MN 55164-0582                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.484.   ING (RELIASTAR)                                10/28/2022 $28,918.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.485.   ING (RELIASTAR)                                10/28/2022 $15,540.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.486.   ING (RELIASTAR)                                10/28/2022 $14,605.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.487.   ING (RELIASTAR)                                10/28/2022 $13,361.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.488.   ING (RELIASTAR)                                10/28/2022 $10,877.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.489.   ING (RELIASTAR)                                10/28/2022 $10,179.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.490.   ING (RELIASTAR)                                10/28/2022 $8,539.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.491.   ING (RELIASTAR)                                10/28/2022 $6,112.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.492.   ING (RELIASTAR)                                10/28/2022 $4,499.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.493.   ING (RELIASTAR)                                10/28/2022 $2,625.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.494.   ING (RELIASTAR)                                10/28/2022 $2,167.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.495.   ING (RELIASTAR)                                10/28/2022 $1,768.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.496.   ING (RELIASTAR)                                10/28/2022 $1,493.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.497.   ING (RELIASTAR)                                10/28/2022 $1,338.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                              ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.498.   ING (RELIASTAR)                                10/28/2022 $887.00                  ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.499.   ING (RELIASTAR)                                10/28/2022 $703.00                  ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.500.   ING (RELIASTAR)                                9/29/2022   $28,918.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.501.   ING (RELIASTAR)                                9/29/2022   $15,540.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.502.   ING (RELIASTAR)                                9/29/2022   $14,605.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.503.   ING (RELIASTAR)                                9/29/2022   $13,361.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.504.   ING (RELIASTAR)                                9/29/2022   $10,877.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.505.   ING (RELIASTAR)                                9/29/2022   $6,112.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.506.   ING (RELIASTAR)                                9/29/2022   $4,499.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.507.   ING (RELIASTAR)                                9/29/2022   $3,105.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.508.   ING (RELIASTAR)                                9/29/2022   $2,167.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.509.   ING (RELIASTAR)                                9/29/2022   $1,768.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.510.   ING (RELIASTAR)                                9/29/2022   $1,338.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.511.   ING (RELIASTAR)                                9/29/2022   $1,214.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.512.   ING (RELIASTAR)                                9/29/2022   $887.00                 ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.513.   ING (RELIASTAR)                                9/29/2022   $703.00                 ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.514.   ING (RELIASTAR)                                8/30/2022   $28,918.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.515.   ING (RELIASTAR)                                8/30/2022   $18,824.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.516.   ING (RELIASTAR)                                8/30/2022   $15,540.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.517.   ING (RELIASTAR)                                8/30/2022   $14,605.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.518.   ING (RELIASTAR)                                8/30/2022   $10,877.00              ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.519.   ING (RELIASTAR)                                8/30/2022   $9,497.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.520.   ING (RELIASTAR)                                8/30/2022   $9,154.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.521.   ING (RELIASTAR)                                8/30/2022   $6,112.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.522.   ING (RELIASTAR)                                8/30/2022   $5,941.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.523.   ING (RELIASTAR)                                8/30/2022   $4,499.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.524.   ING (RELIASTAR)                                8/30/2022   $2,167.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.525.   ING (RELIASTAR)                                8/30/2022   $1,768.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.526.   ING (RELIASTAR)                                8/30/2022   $1,338.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.527.   ING (RELIASTAR)                                8/30/2022   $1,214.00               ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.528.   ING (RELIASTAR)                                8/30/2022   $887.00                 ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.529.   ING (RELIASTAR)                                8/30/2022   $703.00                 ¨ Secured debt
         ATTN BOX 371309
         500 ROSS ST 154-0470                                                               ¨ Unsecured loan repayments
         PITTSBURGH PA 15262                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.530.   ING (SL OF D)                                  10/28/2022 $45,933.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.531.   ING (SL OF D)                                  10/28/2022 $44,434.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.532.   ING (SL OF D)                                  10/28/2022 $43,208.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.533.   ING (SL OF D)                                  10/28/2022 $23,830.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.534.   ING (SL OF D)                                  10/28/2022 $14,224.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.535.   ING (SL OF D)                                  10/28/2022 $13,278.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.536.   ING (SL OF D)                                  10/28/2022 $10,071.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.537.   ING (SL OF D)                                  10/28/2022 $8,408.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.538.   ING (SL OF D)                                  10/28/2022 $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.539.   ING (SL OF D)                                  10/28/2022 $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.540.   ING (SL OF D)                                  10/28/2022 $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.541.   ING (SL OF D)                                  10/28/2022 $5,610.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.542.   ING (SL OF D)                                  10/28/2022 $2,604.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.543.   ING (SL OF D)                                  10/28/2022 $1,480.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.544.   ING (SL OF D)                                  10/28/2022 $1,462.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.545.   ING (SL OF D)                                  10/28/2022 $1,077.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                    ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.546.   ING (SL OF D)                                  10/28/2022 $730.00                  ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.547.   ING (SL OF D)                                  9/29/2022   $55,338.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.548.   ING (SL OF D)                                  9/29/2022   $45,933.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.549.   ING (SL OF D)                                  9/29/2022   $31,340.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.550.   ING (SL OF D)                                  9/29/2022   $23,830.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.551.   ING (SL OF D)                                  9/29/2022   $14,224.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.552.   ING (SL OF D)                                  9/29/2022   $13,278.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.553.   ING (SL OF D)                                  9/29/2022   $10,071.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.554.   ING (SL OF D)                                  9/29/2022   $8,408.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.555.   ING (SL OF D)                                  9/29/2022   $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.556.   ING (SL OF D)                                  9/29/2022   $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.557.   ING (SL OF D)                                  9/29/2022   $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.558.   ING (SL OF D)                                  9/29/2022   $4,713.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.559.   ING (SL OF D)                                  9/29/2022   $2,604.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.560.   ING (SL OF D)                                  9/29/2022   $1,480.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.561.   ING (SL OF D)                                  9/29/2022   $1,462.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.562.   ING (SL OF D)                                  9/29/2022   $1,077.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.563.   ING (SL OF D)                                  9/29/2022   $730.00                 ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.564.   ING (SL OF D)                                  8/30/2022   $45,933.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.565.   ING (SL OF D)                                  8/30/2022   $37,292.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.566.   ING (SL OF D)                                  8/30/2022   $31,340.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.567.   ING (SL OF D)                                  8/30/2022   $23,830.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.568.   ING (SL OF D)                                  8/30/2022   $14,224.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.569.   ING (SL OF D)                                  8/30/2022   $13,278.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.570.   ING (SL OF D)                                  8/30/2022   $10,071.00              ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.571.   ING (SL OF D)                                  8/30/2022   $8,408.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.572.   ING (SL OF D)                                  8/30/2022   $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.573.   ING (SL OF D)                                  8/30/2022   $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.574.   ING (SL OF D)                                  8/30/2022   $7,647.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.575.   ING (SL OF D)                                  8/30/2022   $4,713.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.576.   ING (SL OF D)                                  8/30/2022   $2,604.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.577.   ING (SL OF D)                                  8/30/2022   $1,480.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.578.   ING (SL OF D)                                  8/30/2022   $1,462.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.579.   ING (SL OF D)                                  8/30/2022   $1,077.00               ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.580.   ING (SL OF D)                                  8/30/2022   $730.00                 ¨ Secured debt
         2000 21ST AVE NW
         MINOT ND 58703                                                                     ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.581.   JACKSON NATIONAL                               10/28/2022 $1,903.00                ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.582.   JACKSON NATIONAL                               10/28/2022 $1,695.00                ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.583.   JACKSON NATIONAL                               10/28/2022 $1,436.00                ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.584.   JACKSON NATIONAL                               10/28/2022 $543.00                  ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.585.   JACKSON NATIONAL                               9/29/2022   $1,903.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.586.   JACKSON NATIONAL                               9/29/2022   $1,696.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.587.   JACKSON NATIONAL                               9/29/2022   $1,436.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.588.   JACKSON NATIONAL                               9/29/2022   $1,323.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.589.   JACKSON NATIONAL                               9/29/2022   $543.00                 ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.590.   JACKSON NATIONAL                               8/30/2022   $1,903.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.591.   JACKSON NATIONAL                               8/30/2022   $1,696.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.592.   JACKSON NATIONAL                               8/30/2022   $1,436.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.593.   JACKSON NATIONAL                               8/30/2022   $1,323.00               ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.594.   JACKSON NATIONAL                               8/30/2022   $964.00                 ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.595.   JACKSON NATIONAL                               8/30/2022   $543.00                 ¨ Secured debt
         PO BOX 371425
         PITTSBURGH PA 15250-7425                                                           ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.596.   JOHN HANCOCK                                   10/28/2022 $52,510.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.597.   JOHN HANCOCK                                   10/28/2022 $48,330.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.598.   JOHN HANCOCK                                   10/28/2022 $35,797.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.599.   JOHN HANCOCK                                   10/28/2022 $26,880.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.600.   JOHN HANCOCK                                   10/28/2022 $23,192.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.601.   JOHN HANCOCK                                   10/28/2022 $22,289.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.602.   JOHN HANCOCK                                   10/28/2022 $22,164.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.603.   JOHN HANCOCK                                   10/28/2022 $21,417.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.604.   JOHN HANCOCK                                   10/28/2022 $21,237.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.605.   JOHN HANCOCK                                   10/28/2022 $19,975.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.606.   JOHN HANCOCK                                   10/28/2022 $17,976.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.607.   JOHN HANCOCK                                   10/28/2022 $17,879.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.608.   JOHN HANCOCK                                   10/28/2022 $17,501.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.609.   JOHN HANCOCK                                   10/28/2022 $15,399.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.610.   JOHN HANCOCK                                   10/28/2022 $14,032.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.611.   JOHN HANCOCK                                   10/28/2022 $14,032.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.612.   JOHN HANCOCK                                   10/28/2022 $13,305.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.613.   JOHN HANCOCK                                   10/28/2022 $13,184.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.614.   JOHN HANCOCK                                   10/28/2022 $12,756.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.615.   JOHN HANCOCK                                   10/28/2022 $10,974.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.616.   JOHN HANCOCK                                   10/28/2022 $10,125.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.617.   JOHN HANCOCK                                   10/28/2022 $9,914.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.618.   JOHN HANCOCK                                   10/28/2022 $9,331.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.619.   JOHN HANCOCK                                   10/28/2022 $8,644.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.620.   JOHN HANCOCK                                   10/28/2022 $8,291.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.621.   JOHN HANCOCK                                   10/28/2022 $8,122.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.622.   JOHN HANCOCK                                   10/28/2022 $8,122.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.623.   JOHN HANCOCK                                   10/28/2022 $7,892.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.624.   JOHN HANCOCK                                   10/28/2022 $7,205.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.625.   JOHN HANCOCK                                   10/28/2022 $6,906.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.626.   JOHN HANCOCK                                   10/28/2022 $6,859.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.627.   JOHN HANCOCK                                   10/28/2022 $6,224.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.628.   JOHN HANCOCK                                   10/28/2022 $6,002.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.629.   JOHN HANCOCK                                   10/28/2022 $5,131.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.630.   JOHN HANCOCK                                   10/28/2022 $4,988.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.631.   JOHN HANCOCK                                   10/28/2022 $4,608.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.632.   JOHN HANCOCK                                   10/28/2022 $4,441.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.633.   JOHN HANCOCK                                   10/28/2022 $4,223.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.634.   JOHN HANCOCK                                   10/28/2022 $4,212.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.635.   JOHN HANCOCK                                   10/28/2022 $3,994.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.636.   JOHN HANCOCK                                   10/28/2022 $3,987.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.637.   JOHN HANCOCK                                   10/28/2022 $3,815.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.638.   JOHN HANCOCK                                   10/28/2022 $3,583.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.639.   JOHN HANCOCK                                   10/28/2022 $3,581.04               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.640.   JOHN HANCOCK                                   10/28/2022 $3,418.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.641.   JOHN HANCOCK                                   10/28/2022 $3,225.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.642.   JOHN HANCOCK                                   10/28/2022 $3,095.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.643.   JOHN HANCOCK                                   10/28/2022 $3,014.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.644.   JOHN HANCOCK                                   10/28/2022 $2,970.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.645.   JOHN HANCOCK                                   10/28/2022 $2,966.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.646.   JOHN HANCOCK                                   10/28/2022 $2,695.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.647.   JOHN HANCOCK                                   10/28/2022 $2,541.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.648.   JOHN HANCOCK                                   10/28/2022 $2,437.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.649.   JOHN HANCOCK                                   10/28/2022 $2,396.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.650.   JOHN HANCOCK                                   10/28/2022 $2,096.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.651.   JOHN HANCOCK                                   10/28/2022 $1,910.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.652.   JOHN HANCOCK                                   10/28/2022 $1,609.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.653.   JOHN HANCOCK                                   10/28/2022 $1,377.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.654.   JOHN HANCOCK                                   10/28/2022 $1,248.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.655.   JOHN HANCOCK                                   10/28/2022 $1,047.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.656.   JOHN HANCOCK                                   10/28/2022 $1,047.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.657.   JOHN HANCOCK                                   10/28/2022 $932.00                 ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.658.   JOHN HANCOCK                                   10/28/2022 $925.00                 ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.659.   JOHN HANCOCK                                   10/28/2022 $900.00                 ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                        ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                              ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.660.   JOHN HANCOCK                                   10/28/2022 $147.00                  ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.661.   JOHN HANCOCK                                   9/29/2022   $52,510.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.662.   JOHN HANCOCK                                   9/29/2022   $48,330.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.663.   JOHN HANCOCK                                   9/29/2022   $35,797.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.664.   JOHN HANCOCK                                   9/29/2022   $26,880.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.665.   JOHN HANCOCK                                   9/29/2022   $23,770.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.666.   JOHN HANCOCK                                   9/29/2022   $23,192.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.667.   JOHN HANCOCK                                   9/29/2022   $22,289.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.668.   JOHN HANCOCK                                   9/29/2022   $22,164.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.669.   JOHN HANCOCK                                   9/29/2022   $21,417.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.670.   JOHN HANCOCK                                   9/29/2022   $21,237.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.671.   JOHN HANCOCK                                   9/29/2022   $19,975.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.672.   JOHN HANCOCK                                   9/29/2022   $17,976.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.673.   JOHN HANCOCK                                   9/29/2022   $17,879.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.674.   JOHN HANCOCK                                   9/29/2022   $17,501.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.675.   JOHN HANCOCK                                   9/29/2022   $16,364.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.676.   JOHN HANCOCK                                   9/29/2022   $16,364.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.677.   JOHN HANCOCK                                   9/29/2022   $15,399.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.678.   JOHN HANCOCK                                   9/29/2022   $13,305.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.679.   JOHN HANCOCK                                   9/29/2022   $13,184.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.680.   JOHN HANCOCK                                   9/29/2022   $12,756.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.681.   JOHN HANCOCK                                   9/29/2022   $10,974.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.682.   JOHN HANCOCK                                   9/29/2022   $9,914.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.683.   JOHN HANCOCK                                   9/29/2022   $9,331.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.684.   JOHN HANCOCK                                   9/29/2022   $8,644.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.685.   JOHN HANCOCK                                   9/29/2022   $8,291.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.686.   JOHN HANCOCK                                   9/29/2022   $8,122.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.687.   JOHN HANCOCK                                   9/29/2022   $8,122.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.688.   JOHN HANCOCK                                   9/29/2022   $7,954.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.689.   JOHN HANCOCK                                   9/29/2022   $7,892.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.690.   JOHN HANCOCK                                   9/29/2022   $7,205.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.691.   JOHN HANCOCK                                   9/29/2022   $6,906.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.692.   JOHN HANCOCK                                   9/29/2022   $6,859.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.693.   JOHN HANCOCK                                   9/29/2022   $6,220.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.694.   JOHN HANCOCK                                   9/29/2022   $6,002.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.695.   JOHN HANCOCK                                   9/29/2022   $5,131.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.696.   JOHN HANCOCK                                   9/29/2022   $5,125.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.697.   JOHN HANCOCK                                   9/29/2022   $4,988.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.698.   JOHN HANCOCK                                   9/29/2022   $4,608.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.699.   JOHN HANCOCK                                   9/29/2022   $4,441.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.700.   JOHN HANCOCK                                   9/29/2022   $4,223.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.701.   JOHN HANCOCK                                   9/29/2022   $3,994.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.702.   JOHN HANCOCK                                   9/29/2022   $3,987.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.703.   JOHN HANCOCK                                   9/29/2022   $3,815.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.704.   JOHN HANCOCK                                   9/29/2022   $3,583.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.705.   JOHN HANCOCK                                   9/29/2022   $3,581.04               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.706.   JOHN HANCOCK                                   9/29/2022   $3,418.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.707.   JOHN HANCOCK                                   9/29/2022   $3,225.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.708.   JOHN HANCOCK                                   9/29/2022   $3,095.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.709.   JOHN HANCOCK                                   9/29/2022   $2,966.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.710.   JOHN HANCOCK                                   9/29/2022   $2,759.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.711.   JOHN HANCOCK                                   9/29/2022   $2,437.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.712.   JOHN HANCOCK                                   9/29/2022   $2,339.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.713.   JOHN HANCOCK                                   9/29/2022   $2,100.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.714.   JOHN HANCOCK                                   9/29/2022   $2,096.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.715.   JOHN HANCOCK                                   9/29/2022   $2,054.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.716.   JOHN HANCOCK                                   9/29/2022   $1,910.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.717.   JOHN HANCOCK                                   9/29/2022   $1,759.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.718.   JOHN HANCOCK                                   9/29/2022   $1,617.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.719.   JOHN HANCOCK                                   9/29/2022   $1,609.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.720.   JOHN HANCOCK                                   9/29/2022   $1,423.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.721.   JOHN HANCOCK                                   9/29/2022   $1,377.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.722.   JOHN HANCOCK                                   9/29/2022   $1,047.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.723.   JOHN HANCOCK                                   9/29/2022   $1,047.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.724.   JOHN HANCOCK                                   9/29/2022   $925.00                 ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.725.   JOHN HANCOCK                                   9/29/2022   $900.00                 ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.726.   JOHN HANCOCK                                   8/30/2022   $52,510.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.727.   JOHN HANCOCK                                   8/30/2022   $48,330.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.728.   JOHN HANCOCK                                   8/30/2022   $35,797.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.729.   JOHN HANCOCK                                   8/30/2022   $28,170.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.730.   JOHN HANCOCK                                   8/30/2022   $26,880.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.731.   JOHN HANCOCK                                   8/30/2022   $23,770.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.732.   JOHN HANCOCK                                   8/30/2022   $22,164.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.733.   JOHN HANCOCK                                   8/30/2022   $21,417.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.734.   JOHN HANCOCK                                   8/30/2022   $21,237.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.735.   JOHN HANCOCK                                   8/30/2022   $19,975.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.736.   JOHN HANCOCK                                   8/30/2022   $17,976.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.737.   JOHN HANCOCK                                   8/30/2022   $17,879.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.738.   JOHN HANCOCK                                   8/30/2022   $17,501.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.739.   JOHN HANCOCK                                   8/30/2022   $15,399.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.740.   JOHN HANCOCK                                   8/30/2022   $13,305.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.741.   JOHN HANCOCK                                   8/30/2022   $13,184.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.742.   JOHN HANCOCK                                   8/30/2022   $12,885.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.743.   JOHN HANCOCK                                   8/30/2022   $12,885.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.744.   JOHN HANCOCK                                   8/30/2022   $12,756.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.745.   JOHN HANCOCK                                   8/30/2022   $10,974.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.746.   JOHN HANCOCK                                   8/30/2022   $10,366.00              ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.747.   JOHN HANCOCK                                   8/30/2022   $9,914.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.748.   JOHN HANCOCK                                   8/30/2022   $9,331.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.749.   JOHN HANCOCK                                   8/30/2022   $8,643.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.750.   JOHN HANCOCK                                   8/30/2022   $8,291.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.751.   JOHN HANCOCK                                   8/30/2022   $8,122.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.752.   JOHN HANCOCK                                   8/30/2022   $8,122.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.753.   JOHN HANCOCK                                   8/30/2022   $7,954.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.754.   JOHN HANCOCK                                   8/30/2022   $7,892.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.755.   JOHN HANCOCK                                   8/30/2022   $7,517.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.756.   JOHN HANCOCK                                   8/30/2022   $7,205.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.757.   JOHN HANCOCK                                   8/30/2022   $6,906.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.758.   JOHN HANCOCK                                   8/30/2022   $6,857.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.759.   JOHN HANCOCK                                   8/30/2022   $6,002.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.760.   JOHN HANCOCK                                   8/30/2022   $5,131.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.761.   JOHN HANCOCK                                   8/30/2022   $4,988.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.762.   JOHN HANCOCK                                   8/30/2022   $4,608.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.763.   JOHN HANCOCK                                   8/30/2022   $4,441.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.764.   JOHN HANCOCK                                   8/30/2022   $4,223.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.765.   JOHN HANCOCK                                   8/30/2022   $4,212.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.766.   JOHN HANCOCK                                   8/30/2022   $4,066.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.767.   JOHN HANCOCK                                   8/30/2022   $3,994.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.768.   JOHN HANCOCK                                   8/30/2022   $3,984.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.769.   JOHN HANCOCK                                   8/30/2022   $3,815.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.770.   JOHN HANCOCK                                   8/30/2022   $3,583.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.771.   JOHN HANCOCK                                   8/30/2022   $3,581.04               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.772.   JOHN HANCOCK                                   8/30/2022   $3,225.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.773.   JOHN HANCOCK                                   8/30/2022   $3,095.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.774.   JOHN HANCOCK                                   8/30/2022   $2,966.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.775.   JOHN HANCOCK                                   8/30/2022   $2,759.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.776.   JOHN HANCOCK                                   8/30/2022   $2,437.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.777.   JOHN HANCOCK                                   8/30/2022   $2,339.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.778.   JOHN HANCOCK                                   8/30/2022   $2,100.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.779.   JOHN HANCOCK                                   8/30/2022   $2,096.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.780.   JOHN HANCOCK                                   8/30/2022   $2,054.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.781.   JOHN HANCOCK                                   8/30/2022   $1,910.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.782.   JOHN HANCOCK                                   8/30/2022   $1,759.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.783.   JOHN HANCOCK                                   8/30/2022   $1,617.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.784.   JOHN HANCOCK                                   8/30/2022   $1,609.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.785.   JOHN HANCOCK                                   8/30/2022   $1,423.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.786.   JOHN HANCOCK                                   8/30/2022   $1,377.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.787.   JOHN HANCOCK                                   8/30/2022   $1,047.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.788.   JOHN HANCOCK                                   8/30/2022   $1,047.00               ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.789.   JOHN HANCOCK                                   8/30/2022   $925.00                 ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.790.   JOHN HANCOCK                                   8/30/2022   $900.00                 ¨ Secured debt
         1 JOHN HANCOCK WAY
         SUITE 1350                                                                         ¨ Unsecured loan repayments
         BOSTON MA 02217-1350                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.791.   K&L GATES LLP                                  10/27/2022 $1,552.50                ¨ Secured debt
         600 N KING ST
         SUITE 901                                                                          ¨ Unsecured loan repayments
         WILMINGTON DE 19801                                                                ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.792.   K&L GATES LLP                                  10/20/2022 $727.50                  ¨ Secured debt
         600 N KING ST
         SUITE 901                                                                          ¨ Unsecured loan repayments
         WILMINGTON DE 19801                                                                ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.793.   K&L GATES LLP                                  10/20/2022 $679.00                  ¨ Secured debt
         600 N KING ST
         SUITE 901                                                                          ¨ Unsecured loan repayments
         WILMINGTON DE 19801                                                                ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.794.   K&L GATES LLP                                  9/7/2022    $1,890.00               ¨ Secured debt
         600 N KING ST
         SUITE 901                                                                          ¨ Unsecured loan repayments
         WILMINGTON DE 19801                                                                ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.795.   KANSAS CITY LIFE                               10/28/2022 $711.00                  ¨ Secured debt
         3520 BROADWAY BLVD
         KANSAS CITY MO 64121                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.796.   KANSAS CITY LIFE                               9/29/2022   $711.00                 ¨ Secured debt
         3520 BROADWAY BLVD
         KANSAS CITY MO 64121                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.797.   KANSAS CITY LIFE                               8/30/2022   $711.00                 ¨ Secured debt
         3520 BROADWAY BLVD
         KANSAS CITY MO 64121                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.798.   LINCOLN BENEFIT                                10/28/2022 $42,558.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                   ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.799.   LINCOLN BENEFIT                                10/28/2022 $21,375.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                   ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.800.   LINCOLN BENEFIT                                10/28/2022 $13,928.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                   ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.801.   LINCOLN BENEFIT                                10/28/2022 $9,481.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                   ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.802.   LINCOLN BENEFIT                                10/28/2022 $8,587.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                   ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.803.   LINCOLN BENEFIT                                10/28/2022 $7,422.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                   ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.804.   LINCOLN BENEFIT                                10/28/2022 $3,510.00                ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.805.   LINCOLN BENEFIT                                10/28/2022 $858.00                  ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.806.   LINCOLN BENEFIT                                10/28/2022 $498.00                  ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.807.   LINCOLN BENEFIT                                9/29/2022   $42,558.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.808.   LINCOLN BENEFIT                                9/29/2022   $21,375.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.809.   LINCOLN BENEFIT                                9/29/2022   $17,269.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.810.   LINCOLN BENEFIT                                9/29/2022   $8,560.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.811.   LINCOLN BENEFIT                                9/29/2022   $7,422.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.812.   LINCOLN BENEFIT                                9/29/2022   $3,764.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.813.   LINCOLN BENEFIT                                9/29/2022   $3,510.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.814.   LINCOLN BENEFIT                                9/29/2022   $858.00                 ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.815.   LINCOLN BENEFIT                                9/29/2022   $498.00                 ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.816.   LINCOLN BENEFIT                                8/30/2022   $42,558.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.817.   LINCOLN BENEFIT                                8/30/2022   $21,375.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.818.   LINCOLN BENEFIT                                8/30/2022   $12,726.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.819.   LINCOLN BENEFIT                                8/30/2022   $10,622.00              ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.820.   LINCOLN BENEFIT                                8/30/2022   $8,454.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.821.   LINCOLN BENEFIT                                8/30/2022   $7,422.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.822.   LINCOLN BENEFIT                                8/30/2022   $3,510.00               ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.823.   LINCOLN BENEFIT                                8/30/2022   $858.00                 ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.824.   LINCOLN BENEFIT                                8/30/2022   $498.00                 ¨ Secured debt
         PO BOX 660191
         DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.825.   LINCOLN FINANCIAL GROUP                        10/28/2022 $91,555.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.826.   LINCOLN FINANCIAL GROUP                        10/28/2022 $61,531.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.827.   LINCOLN FINANCIAL GROUP                        10/28/2022 $55,754.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.828.   LINCOLN FINANCIAL GROUP                        10/28/2022 $50,652.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.829.   LINCOLN FINANCIAL GROUP                        10/28/2022 $43,670.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.830.   LINCOLN FINANCIAL GROUP                        10/28/2022 $38,021.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.831.   LINCOLN FINANCIAL GROUP                        10/28/2022 $32,853.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.832.   LINCOLN FINANCIAL GROUP                        10/28/2022 $28,728.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.833.   LINCOLN FINANCIAL GROUP                        10/28/2022 $27,668.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.834.   LINCOLN FINANCIAL GROUP                        10/28/2022 $25,070.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.835.   LINCOLN FINANCIAL GROUP                        10/28/2022 $22,472.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.836.   LINCOLN FINANCIAL GROUP                        10/28/2022 $18,106.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.837.   LINCOLN FINANCIAL GROUP                        10/28/2022 $17,312.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.838.   LINCOLN FINANCIAL GROUP                        10/28/2022 $11,849.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.839.   LINCOLN FINANCIAL GROUP                        10/28/2022 $11,647.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.840.   LINCOLN FINANCIAL GROUP                        10/28/2022 $11,502.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.841.   LINCOLN FINANCIAL GROUP                        10/28/2022 $10,780.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.842.   LINCOLN FINANCIAL GROUP                        10/28/2022 $9,918.62               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.843.   LINCOLN FINANCIAL GROUP                        10/28/2022 $8,124.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.844.   LINCOLN FINANCIAL GROUP                        10/28/2022 $8,006.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.845.   LINCOLN FINANCIAL GROUP                        10/28/2022 $7,612.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.846.   LINCOLN FINANCIAL GROUP                        10/28/2022 $7,002.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.847.   LINCOLN FINANCIAL GROUP                        10/28/2022 $6,953.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.848.   LINCOLN FINANCIAL GROUP                        10/28/2022 $6,040.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.849.   LINCOLN FINANCIAL GROUP                        10/28/2022 $5,986.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.850.   LINCOLN FINANCIAL GROUP                        10/28/2022 $5,921.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.851.   LINCOLN FINANCIAL GROUP                        10/28/2022 $5,171.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.852.   LINCOLN FINANCIAL GROUP                        10/28/2022 $4,779.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.853.   LINCOLN FINANCIAL GROUP                        10/28/2022 $4,779.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.854.   LINCOLN FINANCIAL GROUP                        10/28/2022 $4,742.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.855.   LINCOLN FINANCIAL GROUP                        10/28/2022 $4,135.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.856.   LINCOLN FINANCIAL GROUP                        10/28/2022 $3,896.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.857.   LINCOLN FINANCIAL GROUP                        10/28/2022 $3,034.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.858.   LINCOLN FINANCIAL GROUP                        10/28/2022 $2,952.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.859.   LINCOLN FINANCIAL GROUP                        10/28/2022 $2,831.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.860.   LINCOLN FINANCIAL GROUP                        10/28/2022 $2,826.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.861.   LINCOLN FINANCIAL GROUP                        10/28/2022 $2,709.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.862.   LINCOLN FINANCIAL GROUP                        10/28/2022 $2,662.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.863.   LINCOLN FINANCIAL GROUP                        10/28/2022 $2,559.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.864.   LINCOLN FINANCIAL GROUP                        10/28/2022 $2,393.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.865.   LINCOLN FINANCIAL GROUP                        10/28/2022 $1,897.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.866.   LINCOLN FINANCIAL GROUP                        10/28/2022 $1,466.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.867.   LINCOLN FINANCIAL GROUP                        10/28/2022 $1,314.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.868.   LINCOLN FINANCIAL GROUP                        10/28/2022 $1,313.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.869.   LINCOLN FINANCIAL GROUP                        10/28/2022 $1,251.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.870.   LINCOLN FINANCIAL GROUP                        10/28/2022 $995.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.871.   LINCOLN FINANCIAL GROUP                        10/28/2022 $951.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.872.   LINCOLN FINANCIAL GROUP                        10/28/2022 $915.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.873.   LINCOLN FINANCIAL GROUP                        10/28/2022 $841.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.874.   LINCOLN FINANCIAL GROUP                        10/28/2022 $819.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.875.   LINCOLN FINANCIAL GROUP                        10/28/2022 $762.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                        ¨ Unsecured loan repayments
                                                                                           ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.876.   LINCOLN FINANCIAL GROUP                        10/28/2022 $414.00                  ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.877.   LINCOLN FINANCIAL GROUP                        9/29/2022   $91,555.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.878.   LINCOLN FINANCIAL GROUP                        9/29/2022   $61,531.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.879.   LINCOLN FINANCIAL GROUP                        9/29/2022   $55,754.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.880.   LINCOLN FINANCIAL GROUP                        9/29/2022   $50,652.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.881.   LINCOLN FINANCIAL GROUP                        9/29/2022   $43,670.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.882.   LINCOLN FINANCIAL GROUP                        9/29/2022   $38,021.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.883.   LINCOLN FINANCIAL GROUP                        9/29/2022   $32,853.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.884.   LINCOLN FINANCIAL GROUP                        9/29/2022   $28,728.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.885.   LINCOLN FINANCIAL GROUP                        9/29/2022   $27,668.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.886.   LINCOLN FINANCIAL GROUP                        9/29/2022   $25,070.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.887.   LINCOLN FINANCIAL GROUP                        9/29/2022   $24,559.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.888.   LINCOLN FINANCIAL GROUP                        9/29/2022   $17,778.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.889.   LINCOLN FINANCIAL GROUP                        9/29/2022   $17,312.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.890.   LINCOLN FINANCIAL GROUP                        9/29/2022   $11,849.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.891.   LINCOLN FINANCIAL GROUP                        9/29/2022   $11,647.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.892.   LINCOLN FINANCIAL GROUP                        9/29/2022   $11,502.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.893.   LINCOLN FINANCIAL GROUP                        9/29/2022   $10,780.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.894.   LINCOLN FINANCIAL GROUP                        9/29/2022   $10,216.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.895.   LINCOLN FINANCIAL GROUP                        9/29/2022   $9,918.63               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.896.   LINCOLN FINANCIAL GROUP                        9/29/2022   $9,541.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.897.   LINCOLN FINANCIAL GROUP                        9/29/2022   $8,124.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.898.   LINCOLN FINANCIAL GROUP                        9/29/2022   $7,612.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.899.   LINCOLN FINANCIAL GROUP                        9/29/2022   $6,953.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.900.   LINCOLN FINANCIAL GROUP                        9/29/2022   $6,109.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.901.   LINCOLN FINANCIAL GROUP                        9/29/2022   $6,040.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.902.   LINCOLN FINANCIAL GROUP                        9/29/2022   $5,986.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.903.   LINCOLN FINANCIAL GROUP                        9/29/2022   $5,921.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.904.   LINCOLN FINANCIAL GROUP                        9/29/2022   $5,171.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.905.   LINCOLN FINANCIAL GROUP                        9/29/2022   $4,779.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.906.   LINCOLN FINANCIAL GROUP                        9/29/2022   $4,779.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.907.   LINCOLN FINANCIAL GROUP                        9/29/2022   $4,742.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.908.   LINCOLN FINANCIAL GROUP                        9/29/2022   $4,135.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.909.   LINCOLN FINANCIAL GROUP                        9/29/2022   $3,896.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.910.   LINCOLN FINANCIAL GROUP                        9/29/2022   $2,831.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.911.   LINCOLN FINANCIAL GROUP                        9/29/2022   $2,826.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.912.   LINCOLN FINANCIAL GROUP                        9/29/2022   $2,709.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.913.   LINCOLN FINANCIAL GROUP                        9/29/2022   $2,662.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.914.   LINCOLN FINANCIAL GROUP                        9/29/2022   $2,559.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.915.   LINCOLN FINANCIAL GROUP                        9/29/2022   $2,394.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.916.   LINCOLN FINANCIAL GROUP                        9/29/2022   $2,393.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.917.   LINCOLN FINANCIAL GROUP                        9/29/2022   $1,938.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.918.   LINCOLN FINANCIAL GROUP                        9/29/2022   $1,897.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.919.   LINCOLN FINANCIAL GROUP                        9/29/2022   $1,466.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.920.   LINCOLN FINANCIAL GROUP                        9/29/2022   $1,444.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.921.   LINCOLN FINANCIAL GROUP                        9/29/2022   $1,314.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.922.   LINCOLN FINANCIAL GROUP                        9/29/2022   $1,313.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.923.   LINCOLN FINANCIAL GROUP                        9/29/2022   $995.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.924.   LINCOLN FINANCIAL GROUP                        9/29/2022   $951.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.925.   LINCOLN FINANCIAL GROUP                        9/29/2022   $915.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.926.   LINCOLN FINANCIAL GROUP                        9/29/2022   $841.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.927.   LINCOLN FINANCIAL GROUP                        9/29/2022   $819.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.928.   LINCOLN FINANCIAL GROUP                        9/29/2022   $762.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.929.   LINCOLN FINANCIAL GROUP                        9/29/2022   $414.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.930.   LINCOLN FINANCIAL GROUP                        8/30/2022   $91,555.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.931.   LINCOLN FINANCIAL GROUP                        8/30/2022   $61,531.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.932.   LINCOLN FINANCIAL GROUP                        8/30/2022   $55,754.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.933.   LINCOLN FINANCIAL GROUP                        8/30/2022   $50,652.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.934.   LINCOLN FINANCIAL GROUP                        8/30/2022   $43,670.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.935.   LINCOLN FINANCIAL GROUP                        8/30/2022   $38,021.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.936.   LINCOLN FINANCIAL GROUP                        8/30/2022   $32,853.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.937.   LINCOLN FINANCIAL GROUP                        8/30/2022   $28,728.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.938.   LINCOLN FINANCIAL GROUP                        8/30/2022   $25,070.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.939.   LINCOLN FINANCIAL GROUP                        8/30/2022   $25,046.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.940.   LINCOLN FINANCIAL GROUP                        8/30/2022   $24,559.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.941.   LINCOLN FINANCIAL GROUP                        8/30/2022   $18,165.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.942.   LINCOLN FINANCIAL GROUP                        8/30/2022   $17,312.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.943.   LINCOLN FINANCIAL GROUP                        8/30/2022   $13,192.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.944.   LINCOLN FINANCIAL GROUP                        8/30/2022   $11,849.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.945.   LINCOLN FINANCIAL GROUP                        8/30/2022   $11,502.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.946.   LINCOLN FINANCIAL GROUP                        8/30/2022   $10,780.00              ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.947.   LINCOLN FINANCIAL GROUP                        8/30/2022   $9,916.53               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.948.   LINCOLN FINANCIAL GROUP                        8/30/2022   $9,541.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.949.   LINCOLN FINANCIAL GROUP                        8/30/2022   $8,125.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.950.   LINCOLN FINANCIAL GROUP                        8/30/2022   $7,612.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.951.   LINCOLN FINANCIAL GROUP                        8/30/2022   $7,277.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.952.   LINCOLN FINANCIAL GROUP                        8/30/2022   $6,953.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.953.   LINCOLN FINANCIAL GROUP                        8/30/2022   $6,109.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.954.   LINCOLN FINANCIAL GROUP                        8/30/2022   $5,986.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.955.   LINCOLN FINANCIAL GROUP                        8/30/2022   $5,921.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.956.   LINCOLN FINANCIAL GROUP                        8/30/2022   $5,409.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.957.   LINCOLN FINANCIAL GROUP                        8/30/2022   $5,171.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.958.   LINCOLN FINANCIAL GROUP                        8/30/2022   $4,779.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.959.   LINCOLN FINANCIAL GROUP                        8/30/2022   $4,779.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.960.   LINCOLN FINANCIAL GROUP                        8/30/2022   $4,742.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.961.   LINCOLN FINANCIAL GROUP                        8/30/2022   $4,440.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.962.   LINCOLN FINANCIAL GROUP                        8/30/2022   $4,135.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.963.   LINCOLN FINANCIAL GROUP                        8/30/2022   $2,831.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.964.   LINCOLN FINANCIAL GROUP                        8/30/2022   $2,826.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.965.   LINCOLN FINANCIAL GROUP                        8/30/2022   $2,709.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.966.   LINCOLN FINANCIAL GROUP                        8/30/2022   $2,662.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.967.   LINCOLN FINANCIAL GROUP                        8/30/2022   $2,559.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.968.   LINCOLN FINANCIAL GROUP                        8/30/2022   $2,394.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.969.   LINCOLN FINANCIAL GROUP                        8/30/2022   $2,393.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.970.   LINCOLN FINANCIAL GROUP                        8/30/2022   $1,938.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.971.   LINCOLN FINANCIAL GROUP                        8/30/2022   $1,897.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.972.   LINCOLN FINANCIAL GROUP                        8/30/2022   $1,466.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.973.   LINCOLN FINANCIAL GROUP                        8/30/2022   $1,314.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.974.   LINCOLN FINANCIAL GROUP                        8/30/2022   $1,313.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.975.   LINCOLN FINANCIAL GROUP                        8/30/2022   $1,156.00               ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.976.   LINCOLN FINANCIAL GROUP                        8/30/2022   $995.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.977.   LINCOLN FINANCIAL GROUP                        8/30/2022   $951.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.978.   LINCOLN FINANCIAL GROUP                        8/30/2022   $915.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.979.   LINCOLN FINANCIAL GROUP                        8/30/2022   $841.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.980.   LINCOLN FINANCIAL GROUP                        8/30/2022   $819.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.981.   LINCOLN FINANCIAL GROUP                        8/30/2022   $762.00                 ¨ Secured debt
         P.O. BOX 7247-0439
         PHILADELPHIA PA 19170-0439                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.982.   MASS MUTUAL                                    10/28/2022 $49,571.00               ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                        ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                          ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.983.   MASS MUTUAL                                    10/28/2022 $20,794.00               ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                        ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                          ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.984.   MASS MUTUAL                                    10/28/2022 $12,230.00              ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.985.   MASS MUTUAL                                    10/28/2022 $11,827.00              ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.986.   MASS MUTUAL                                    10/28/2022 $11,191.00              ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.987.   MASS MUTUAL                                    10/28/2022 $11,191.00              ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.988.   MASS MUTUAL                                    10/28/2022 $10,266.00              ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.989.   MASS MUTUAL                                    10/28/2022 $10,266.00              ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor   GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.990.   MASS MUTUAL                                    10/28/2022 $9,339.00               ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.991.   MASS MUTUAL                                    10/28/2022 $6,699.00               ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.992.   MASS MUTUAL                                    10/28/2022 $5,141.00               ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.993.   MASS MUTUAL                                    10/28/2022 $4,661.00               ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.994.   MASS MUTUAL                                    10/28/2022 $2,373.00               ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM
         Creditor’s name and address                    Dates      Total amount or value   Reasons for payment or transfer
                                                                                           Check all that apply

3.995.   MASS MUTUAL                                    10/28/2022 $795.00                 ¨ Secured debt
         LCM DOCUMENT MANAGEMENT HUB
         PO BOX 2488                                                                       ¨ Unsecured loan repayments
         SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                           ¨ Services
                                                                                           þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                   Case number (if known) 22-90336

          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.996.    MASS MUTUAL                                    9/29/2022   $49,571.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                        ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                          ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.997.    MASS MUTUAL                                    9/29/2022   $20,794.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                        ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                          ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.998.    MASS MUTUAL                                    9/29/2022   $12,230.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                        ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                          ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
          Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.999.    MASS MUTUAL                                    9/29/2022   $11,827.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                        ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                          ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
           Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1000.    MASS MUTUAL                                   9/29/2022   $11,191.00              ¨ Secured debt
           LCM DOCUMENT MANAGEMENT HUB
           PO BOX 2488                                                                       ¨ Unsecured loan repayments
           SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM
           Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1001.    MASS MUTUAL                                   9/29/2022   $11,191.00              ¨ Secured debt
           LCM DOCUMENT MANAGEMENT HUB
           PO BOX 2488                                                                       ¨ Unsecured loan repayments
           SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1002.   MASS MUTUAL                                   9/29/2022   $10,266.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1003.   MASS MUTUAL                                   9/29/2022   $10,266.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1004.   MASS MUTUAL                                   9/29/2022   $9,339.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1005.   MASS MUTUAL                                   9/29/2022   $6,699.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1006.   MASS MUTUAL                                   9/29/2022   $5,141.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1007.   MASS MUTUAL                                   9/29/2022   $4,661.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1008.   MASS MUTUAL                                   9/29/2022   $2,373.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1009.   MASS MUTUAL                                   9/29/2022   $795.00                 ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1010.   MASS MUTUAL                                   8/30/2022   $49,571.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1011.   MASS MUTUAL                                   8/30/2022   $20,794.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1012.   MASS MUTUAL                                   8/30/2022   $14,401.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1013.   MASS MUTUAL                                   8/30/2022   $11,191.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1014.   MASS MUTUAL                                   8/30/2022   $11,191.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1015.   MASS MUTUAL                                   8/30/2022   $10,430.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1016.   MASS MUTUAL                                   8/30/2022   $10,266.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1017.   MASS MUTUAL                                   8/30/2022   $10,266.00              ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1018.   MASS MUTUAL                                   8/30/2022   $9,339.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1019.   MASS MUTUAL                                   8/30/2022   $6,699.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1020.   MASS MUTUAL                                   8/30/2022   $5,144.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1021.   MASS MUTUAL                                   8/30/2022   $4,661.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1022.   MASS MUTUAL                                   8/30/2022   $2,373.00               ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1023.   MASS MUTUAL                                   8/30/2022   $795.00                 ¨ Secured debt
          LCM DOCUMENT MANAGEMENT HUB
          PO BOX 2488                                                                       ¨ Unsecured loan repayments
          SPRINGFIELD MA 01101-2488                                                         ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1024.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $18,866.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1025.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $15,674.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1026.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $13,786.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1027.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $13,741.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1028.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $12,864.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1029.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $12,333.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1030.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $11,604.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1031.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $10,601.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1032.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $10,360.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1033.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $9,688.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1034.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $7,182.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1035.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $7,182.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1036.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $6,614.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1037.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $4,890.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1038.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $4,853.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1039.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $3,833.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1040.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $3,455.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1041.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $2,446.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1042.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $2,388.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1043.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $2,263.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1044.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $1,934.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1045.   METLIFE INSURANCE COMPANY USA                 10/28/2022 $1,767.00                ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1046.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $18,866.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1047.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $15,674.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1048.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $14,599.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1049.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $13,786.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1050.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $13,741.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1051.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $12,333.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1052.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $11,604.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1053.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $10,601.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1054.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $10,360.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1055.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $9,688.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1056.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $6,614.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1057.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $5,926.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1058.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $5,494.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1059.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $4,890.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1060.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $4,853.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1061.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $3,455.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1062.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $2,854.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1063.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $2,707.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1064.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $2,446.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1065.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $2,031.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1066.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $1,934.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1067.   METLIFE INSURANCE COMPANY USA                 9/29/2022   $1,767.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1068.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $18,866.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1069.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $15,674.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1070.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $13,786.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1071.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $13,741.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1072.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $12,333.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1073.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $12,006.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1074.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $11,604.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1075.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $10,601.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1076.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $10,360.00              ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1077.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $9,688.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1078.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $7,182.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1079.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $7,182.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1080.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $6,614.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1081.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $4,890.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1082.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $4,853.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1083.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $3,455.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1084.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $2,446.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1085.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $2,159.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1086.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $2,046.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1087.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $2,031.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1088.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $1,934.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1089.   METLIFE INSURANCE COMPANY USA                 8/30/2022   $1,767.00               ¨ Secured debt
          PO BOX 7280
          PHILADELPHIA PA 19101                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1090.   METROPOLITAN LIFE INSURANCE COMPANY           10/28/2022 $9,866.00                ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1091.   METROPOLITAN LIFE INSURANCE COMPANY           10/28/2022 $6,039.00                ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1092.   METROPOLITAN LIFE INSURANCE COMPANY           10/28/2022 $5,931.08                ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1093.   METROPOLITAN LIFE INSURANCE COMPANY           10/28/2022 $2,441.00                ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1094.   METROPOLITAN LIFE INSURANCE COMPANY           10/28/2022 $908.00                  ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1095.   METROPOLITAN LIFE INSURANCE COMPANY           10/28/2022 $670.00                  ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1096.   METROPOLITAN LIFE INSURANCE COMPANY           10/28/2022 $606.00                  ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1097.   METROPOLITAN LIFE INSURANCE COMPANY           9/29/2022   $6,039.00               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1098.   METROPOLITAN LIFE INSURANCE COMPANY           9/29/2022   $5,931.08               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1099.   METROPOLITAN LIFE INSURANCE COMPANY           9/29/2022   $2,441.00               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1100.   METROPOLITAN LIFE INSURANCE COMPANY           9/29/2022   $1,903.00               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1101.   METROPOLITAN LIFE INSURANCE COMPANY           9/29/2022   $908.00                 ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1102.   METROPOLITAN LIFE INSURANCE COMPANY           9/29/2022   $670.00                 ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1103.   METROPOLITAN LIFE INSURANCE COMPANY           9/29/2022   $606.00                 ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1104.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $11,493.00              ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1105.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $6,039.00               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1106.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $5,931.08               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1107.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $4,395.00               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1108.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $2,441.00               ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1109.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $908.00                 ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1110.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $670.00                 ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1111.   METROPOLITAN LIFE INSURANCE COMPANY           8/30/2022   $606.00                 ¨ Secured debt
          699 BOYLSTON ST. #1400
          BOSTON MA 02116                                                                   ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1112.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $13,222.49               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1113.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $4,796.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1114.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $4,496.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1115.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $3,977.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1116.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $3,923.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1117.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $3,082.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1118.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $2,500.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1119.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $2,291.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1120.   METROPOLITAN TOWER LIFE INSURANCE             10/28/2022 $2,148.00                ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1121.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $13,222.49              ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1122.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $4,795.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1123.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $3,977.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1124.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $3,923.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1125.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $3,923.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1126.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $2,926.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1127.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $2,500.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1128.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $2,291.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1129.   METROPOLITAN TOWER LIFE INSURANCE             9/29/2022   $2,148.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1130.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $13,222.49              ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1131.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $4,790.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1132.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $4,562.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1133.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $3,977.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1134.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $3,886.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1135.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $2,500.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1136.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $2,291.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1137.   METROPOLITAN TOWER LIFE INSURANCE             8/30/2022   $2,148.00               ¨ Secured debt
          COMPANY
          200 PARK AVENUE                                                                   ¨ Unsecured loan repayments
          NEW YORK NY 10166                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1138.   MIDLAND NATIONAL LIFE INSURANCE               10/28/2022 $2,388.00                ¨ Secured debt
          COMPANY
          1 SAMMONS PLAZA                                                                   ¨ Unsecured loan repayments
          SIOUX FALLS SD 57193                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1139.   MIDLAND NATIONAL LIFE INSURANCE               10/28/2022 $2,079.00                ¨ Secured debt
          COMPANY
          1 SAMMONS PLAZA                                                                   ¨ Unsecured loan repayments
          SIOUX FALLS SD 57193                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1140.   MIDLAND NATIONAL LIFE INSURANCE               9/29/2022   $2,388.00               ¨ Secured debt
          COMPANY
          1 SAMMONS PLAZA                                                                   ¨ Unsecured loan repayments
          SIOUX FALLS SD 57193                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1141.   MIDLAND NATIONAL LIFE INSURANCE               9/29/2022   $2,079.00               ¨ Secured debt
          COMPANY
          1 SAMMONS PLAZA                                                                   ¨ Unsecured loan repayments
          SIOUX FALLS SD 57193                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1142.   MIDLAND NATIONAL LIFE INSURANCE               8/30/2022   $2,388.00               ¨ Secured debt
          COMPANY
          1 SAMMONS PLAZA                                                                   ¨ Unsecured loan repayments
          SIOUX FALLS SD 57193                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1143.   MIDLAND NATIONAL LIFE INSURANCE               8/30/2022   $2,079.00               ¨ Secured debt
          COMPANY
          1 SAMMONS PLAZA                                                                   ¨ Unsecured loan repayments
          SIOUX FALLS SD 57193                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1144.   MINNESOTA LIFE INSURANCE COMPANY              10/28/2022 $13,301.00               ¨ Secured debt
          400 ROBERT ST N
          SAINT PAUL MN 55101                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1145.   MINNESOTA LIFE INSURANCE COMPANY              10/28/2022 $813.00                  ¨ Secured debt
          400 ROBERT ST N
          SAINT PAUL MN 55101                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1146.   MINNESOTA LIFE INSURANCE COMPANY              9/29/2022   $13,301.00              ¨ Secured debt
          400 ROBERT ST N
          SAINT PAUL MN 55101                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1147.   MINNESOTA LIFE INSURANCE COMPANY              9/29/2022   $995.00                 ¨ Secured debt
          400 ROBERT ST N
          SAINT PAUL MN 55101                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1148.   MINNESOTA LIFE INSURANCE COMPANY              8/30/2022   $13,301.00              ¨ Secured debt
          400 ROBERT ST N
          SAINT PAUL MN 55101                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1149.   MINNESOTA LIFE INSURANCE COMPANY              8/30/2022   $724.00                 ¨ Secured debt
          400 ROBERT ST N
          SAINT PAUL MN 55101                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1150.   MLF LEXSERV, L.P.                             10/20/2022 $56,452.92               ¨ Secured debt
          4350 EAST-WEST HWY
          SUITE 905                                                                         ¨ Unsecured loan repayments
          BETHESDA MD 20814                                                                 ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            þ Other: SERVICING FEES
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1151.   MLF LEXSERV, L.P.                             10/20/2022 $56,351.19               ¨ Secured debt
          4350 EAST-WEST HWY
          SUITE 905                                                                         ¨ Unsecured loan repayments
          BETHESDA MD 20814                                                                 ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            þ Other: SERVICING FEES


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1152.   MLF LEXSERV, L.P.                             10/20/2022 $55,843.77               ¨ Secured debt
          4350 EAST-WEST HWY
          SUITE 905                                                                         ¨ Unsecured loan repayments
          BETHESDA MD 20814                                                                 ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            þ Other: SERVICING FEES
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1153.   MLF LEXSERV, L.P.                             9/7/2022    $59,493.82              ¨ Secured debt
          4350 EAST-WEST HWY
          SUITE 905                                                                         ¨ Unsecured loan repayments
          BETHESDA MD 20814                                                                 ¨ Suppliers or vendors
                                                                                            þ Services
                                                                                            þ Other: SERVICING FEES
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1154.   MONY LIFE INSURANCE COMPANY                   10/28/2022 $3,626.00                ¨ Secured debt
          P.O. BOX 11407
          BIRMINGHAM AL 35246-2635                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1155.   MONY LIFE INSURANCE COMPANY                   9/29/2022   $3,626.00               ¨ Secured debt
          P.O. BOX 11407
          BIRMINGHAM AL 35246-2635                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1156.   MONY LIFE INSURANCE COMPANY                   8/30/2022   $3,626.00               ¨ Secured debt
          P.O. BOX 11407
          BIRMINGHAM AL 35246-2635                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1157.   NATIONAL LIFE                                 10/28/2022 $13,583.00               ¨ Secured debt
          P.O. BOX 371894
          PITTSBURGH PA 15250-7894                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1158.   NATIONAL LIFE                                 9/29/2022   $10,762.00              ¨ Secured debt
          P.O. BOX 371894
          PITTSBURGH PA 15250-7894                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1159.   NATIONAL LIFE                                 8/30/2022   $10,762.00              ¨ Secured debt
          P.O. BOX 371894
          PITTSBURGH PA 15250-7894                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1160.   NATIONAL WESTERN LIFE INSURANCE               10/28/2022 $4,318.00                ¨ Secured debt
          COMPANY
          10801 N MOPAC EXPY BLDG 3                                                         ¨ Unsecured loan repayments
          AUSTIN TX 78759                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1161.   NATIONAL WESTERN LIFE INSURANCE               9/29/2022   $4,318.00               ¨ Secured debt
          COMPANY
          10801 N MOPAC EXPY BLDG 3                                                         ¨ Unsecured loan repayments
          AUSTIN TX 78759                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1162.   NATIONAL WESTERN LIFE INSURANCE               8/30/2022   $3,145.00               ¨ Secured debt
          COMPANY
          10801 N MOPAC EXPY BLDG 3                                                         ¨ Unsecured loan repayments
          AUSTIN TX 78759                                                                   ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1163.   NATIONWIDE FINANCIAL                          10/28/2022 $2,080.00                ¨ Secured debt
          PO BOX 644022
          CINCINNATI OH 45274                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1164.   NATIONWIDE FINANCIAL                          10/28/2022 $940.00                  ¨ Secured debt
          PO BOX 644022
          CINCINNATI OH 45274                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1165.   NATIONWIDE FINANCIAL                          9/29/2022   $2,080.00               ¨ Secured debt
          PO BOX 644022
          CINCINNATI OH 45274                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1166.   NATIONWIDE FINANCIAL                          9/29/2022   $940.00                 ¨ Secured debt
          PO BOX 644022
          CINCINNATI OH 45274                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1167.   NATIONWIDE FINANCIAL                          8/30/2022   $2,080.00               ¨ Secured debt
          PO BOX 644022
          CINCINNATI OH 45274                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1168.   NATIONWIDE FINANCIAL                          8/30/2022   $940.00                 ¨ Secured debt
          PO BOX 644022
          CINCINNATI OH 45274                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1169.   NEW ENGLAND FINANCIAL (MET LIFE)              10/28/2022 $5,703.00                ¨ Secured debt
          BOX 371499
          500 ROSS STREET 154-0470                                                          ¨ Unsecured loan repayments
          PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1170.   NEW ENGLAND FINANCIAL (MET LIFE)              10/28/2022 $1,044.00                ¨ Secured debt
          BOX 371499
          500 ROSS STREET 154-0470                                                          ¨ Unsecured loan repayments
          PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1171.   NEW ENGLAND FINANCIAL (MET LIFE)              9/29/2022   $5,703.00               ¨ Secured debt
          BOX 371499
          500 ROSS STREET 154-0470                                                          ¨ Unsecured loan repayments
          PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1172.   NEW ENGLAND FINANCIAL (MET LIFE)              9/29/2022   $1,045.00               ¨ Secured debt
          BOX 371499
          500 ROSS STREET 154-0470                                                          ¨ Unsecured loan repayments
          PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1173.   NEW ENGLAND FINANCIAL (MET LIFE)              8/30/2022   $5,703.00               ¨ Secured debt
          BOX 371499
          500 ROSS STREET 154-0470                                                          ¨ Unsecured loan repayments
          PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1174.   NEW ENGLAND FINANCIAL (MET LIFE)              8/30/2022   $1,044.00               ¨ Secured debt
          BOX 371499
          500 ROSS STREET 154-0470                                                          ¨ Unsecured loan repayments
          PITTSBURGH PA 15262                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1175.   NEW YORK LIFE                                 10/28/2022 $34,109.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1176.   NEW YORK LIFE                                 10/28/2022 $12,741.76               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1177.   NEW YORK LIFE                                 10/28/2022 $11,715.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1178.   NEW YORK LIFE                                 10/28/2022 $9,347.00                ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1179.   NEW YORK LIFE                                 10/28/2022 $3,407.00                ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1180.   NEW YORK LIFE                                 10/28/2022 $3,309.00                ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1181.   NEW YORK LIFE                                 10/28/2022 $1,745.00                ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1182.   NEW YORK LIFE                                 10/28/2022 $1,539.00                ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1183.   NEW YORK LIFE                                 10/28/2022 $780.00                  ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1184.   NEW YORK LIFE                                 10/28/2022 $492.00                  ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1185.   NEW YORK LIFE                                 9/29/2022   $34,109.00              ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1186.   NEW YORK LIFE                                 9/29/2022   $16,491.00              ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1187.   NEW YORK LIFE                                 9/29/2022   $11,715.00              ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1188.   NEW YORK LIFE                                 9/29/2022   $9,347.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1189.   NEW YORK LIFE                                 9/29/2022   $3,407.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1190.   NEW YORK LIFE                                 9/29/2022   $3,309.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1191.   NEW YORK LIFE                                 9/29/2022   $1,745.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1192.   NEW YORK LIFE                                 9/29/2022   $1,539.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1193.   NEW YORK LIFE                                 9/29/2022   $1,410.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1194.   NEW YORK LIFE                                 9/29/2022   $492.00                 ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1195.   NEW YORK LIFE                                 8/30/2022   $34,710.00              ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1196.   NEW YORK LIFE                                 8/30/2022   $16,491.00              ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1197.   NEW YORK LIFE                                 8/30/2022   $11,715.00              ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1198.   NEW YORK LIFE                                 8/30/2022   $9,347.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1199.   NEW YORK LIFE                                 8/30/2022   $3,415.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1200.   NEW YORK LIFE                                 8/30/2022   $3,317.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1201.   NEW YORK LIFE                                 8/30/2022   $1,745.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1202.   NEW YORK LIFE                                 8/30/2022   $1,539.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1203.   NEW YORK LIFE                                 8/30/2022   $1,410.00               ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1204.   NEW YORK LIFE                                 8/30/2022   $492.00                 ¨ Secured debt
          8120 PENN AVENUE S.
          BLOOMINGTON MN 55431                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1205.   NORTH AMERICAN LIFE PLANS                     10/28/2022 $3,989.00                ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1206.   NORTH AMERICAN LIFE PLANS                     10/28/2022 $2,979.00                ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1207.   NORTH AMERICAN LIFE PLANS                     10/28/2022 $485.00                  ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1208.   NORTH AMERICAN LIFE PLANS                     9/29/2022   $3,989.00               ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1209.   NORTH AMERICAN LIFE PLANS                     9/29/2022   $3,503.00               ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1210.   NORTH AMERICAN LIFE PLANS                     9/29/2022   $3,433.00               ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1211.   NORTH AMERICAN LIFE PLANS                     9/29/2022   $485.00                 ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1212.   NORTH AMERICAN LIFE PLANS                     8/30/2022   $3,989.00               ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1213.   NORTH AMERICAN LIFE PLANS                     8/30/2022   $2,721.00               ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1214.   NORTH AMERICAN LIFE PLANS                     8/30/2022   $485.00                 ¨ Secured debt
          NORTH DAKOTA SECURITIES DEPARTMENT
          2500 LEGACY DR, STE 130                                                           ¨ Unsecured loan repayments
          FRISCO TX 75034-5930                                                              ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1215.   NORTHWESTERN MUTUAL                           10/28/2022 $637.00                  ¨ Secured debt
          ADVANCED BUSINESS SERVICES E512L
          720 E WISCONSIN AVE                                                               ¨ Unsecured loan repayments
          MILWAUKEE WI 53202                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1216.   NORTHWESTERN MUTUAL                           9/29/2022   $637.00                 ¨ Secured debt
          ADVANCED BUSINESS SERVICES E512L
          720 E WISCONSIN AVE                                                               ¨ Unsecured loan repayments
          MILWAUKEE WI 53202                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1217.   NORTHWESTERN MUTUAL                           8/30/2022   $795.00                 ¨ Secured debt
          ADVANCED BUSINESS SERVICES E512L
          720 E WISCONSIN AVE                                                               ¨ Unsecured loan repayments
          MILWAUKEE WI 53202                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1218.   OHIO NATIONAL                                 10/28/2022 $8,486.00                ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1219.   OHIO NATIONAL                                 10/28/2022 $4,228.00                ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1220.   OHIO NATIONAL                                 10/28/2022 $678.00                  ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1221.   OHIO NATIONAL                                 10/28/2022 $536.00                  ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1222.   OHIO NATIONAL                                 9/29/2022   $8,915.00               ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1223.   OHIO NATIONAL                                 9/29/2022   $4,457.00               ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1224.   OHIO NATIONAL                                 9/29/2022   $678.00                 ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1225.   OHIO NATIONAL                                 9/29/2022   $536.00                 ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1226.   OHIO NATIONAL                                 8/30/2022   $9,134.00               ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1227.   OHIO NATIONAL                                 8/30/2022   $4,551.00               ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1228.   OHIO NATIONAL                                 8/30/2022   $678.00                 ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1229.   OHIO NATIONAL                                 8/30/2022   $536.00                 ¨ Secured debt
          P.O. BOX 639777
          CINCINNATI OH 45263-9777                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1230.   OHIO STATE INSURANCE COMPANY                  10/28/2022 $521.00                  ¨ Secured debt
          AMERICO P.O. BOX 410288
          KANSAS CITY MO 64141-0288                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1231.   OHIO STATE INSURANCE COMPANY                  9/29/2022   $521.00                 ¨ Secured debt
          AMERICO P.O. BOX 410288
          KANSAS CITY MO 64141-0288                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1232.   OHIO STATE INSURANCE COMPANY                  8/30/2022   $521.00                 ¨ Secured debt
          AMERICO P.O. BOX 410288
          KANSAS CITY MO 64141-0288                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1233.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $54,024.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1234.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $30,226.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1235.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $28,187.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1236.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $27,585.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1237.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $24,606.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1238.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $24,388.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1239.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $20,760.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1240.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $14,977.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1241.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $10,768.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1242.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $8,295.00                ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1243.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $3,546.00                ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1244.   PACIFIC LIFE INSURANCE COMPANY                10/28/2022 $1,632.00                ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1245.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $54,023.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1246.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $28,187.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1247.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $27,585.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1248.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $24,606.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1249.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $24,388.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1250.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $23,824.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1251.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $20,760.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1252.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $14,977.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1253.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $10,768.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1254.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $8,295.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1255.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $3,546.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1256.   PACIFIC LIFE INSURANCE COMPANY                9/29/2022   $1,632.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1257.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $54,023.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1258.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $28,187.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1259.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $27,585.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1260.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $24,606.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1261.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $24,388.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1262.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $23,824.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1263.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $21,584.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1264.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $20,760.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1265.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $13,629.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1266.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $10,768.00              ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1267.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $8,295.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1268.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $3,546.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1269.   PACIFIC LIFE INSURANCE COMPANY                8/30/2022   $1,632.00               ¨ Secured debt
          P.O. BOX 2030
          OMAHA NE 68103-2030                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1270.   PENN MUTUAL                                   10/28/2022 $34,687.00               ¨ Secured debt
          P.O. BOX 7460
          PHILADELPHIA PA 1901                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1271.   PENN MUTUAL                                   9/29/2022   $24,565.00              ¨ Secured debt
          P.O. BOX 7460
          PHILADELPHIA PA 1901                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1272.   PENN MUTUAL                                   8/30/2022   $24,565.00              ¨ Secured debt
          P.O. BOX 7460
          PHILADELPHIA PA 1901                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1273.   PHOENIX VARIABLE LIFE INSURANCE               10/28/2022 $61,708.00               ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1274.   PHOENIX VARIABLE LIFE INSURANCE               10/28/2022 $12,670.00               ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1275.   PHOENIX VARIABLE LIFE INSURANCE               10/28/2022 $7,408.00                ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1276.   PHOENIX VARIABLE LIFE INSURANCE               9/29/2022   $61,708.00              ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1277.   PHOENIX VARIABLE LIFE INSURANCE               9/29/2022   $12,670.00              ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1278.   PHOENIX VARIABLE LIFE INSURANCE               9/29/2022   $7,408.00               ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1279.   PHOENIX VARIABLE LIFE INSURANCE               8/30/2022   $61,708.00              ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1280.   PHOENIX VARIABLE LIFE INSURANCE               8/30/2022   $12,670.00              ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1281.   PHOENIX VARIABLE LIFE INSURANCE               8/30/2022   $7,409.00               ¨ Secured debt
          P.O. BOX 758573
          TOPEKA KS 66675-8573                                                              ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1282.   PRINCIPAL LIFE INSURANCE COMPANY              10/28/2022 $23,152.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1283.   PRINCIPAL LIFE INSURANCE COMPANY              10/28/2022 $21,500.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1284.   PRINCIPAL LIFE INSURANCE COMPANY              10/28/2022 $13,981.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1285.   PRINCIPAL LIFE INSURANCE COMPANY              10/28/2022 $11,329.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1286.   PRINCIPAL LIFE INSURANCE COMPANY              10/28/2022 $2,093.00                ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1287.   PRINCIPAL LIFE INSURANCE COMPANY              10/28/2022 $1,571.00                ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1288.   PRINCIPAL LIFE INSURANCE COMPANY              10/28/2022 $353.00                  ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1289.   PRINCIPAL LIFE INSURANCE COMPANY              9/29/2022   $23,152.00              ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1290.   PRINCIPAL LIFE INSURANCE COMPANY              9/29/2022   $13,981.00              ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1291.   PRINCIPAL LIFE INSURANCE COMPANY              9/29/2022   $11,329.00              ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1292.   PRINCIPAL LIFE INSURANCE COMPANY              9/29/2022   $2,093.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1293.   PRINCIPAL LIFE INSURANCE COMPANY              9/29/2022   $1,571.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1294.   PRINCIPAL LIFE INSURANCE COMPANY              9/29/2022   $445.00                 ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1295.   PRINCIPAL LIFE INSURANCE COMPANY              8/30/2022   $23,152.00              ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1296.   PRINCIPAL LIFE INSURANCE COMPANY              8/30/2022   $13,981.00              ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1297.   PRINCIPAL LIFE INSURANCE COMPANY              8/30/2022   $11,329.00              ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1298.   PRINCIPAL LIFE INSURANCE COMPANY              8/30/2022   $2,093.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1299.   PRINCIPAL LIFE INSURANCE COMPANY              8/30/2022   $1,571.00               ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1300.   PRINCIPAL LIFE INSURANCE COMPANY              8/30/2022   $309.00                 ¨ Secured debt
          40 BURTON HILLS BLVD STE 350
          NASHVILLE TN 37215                                                                ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1301.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $24,169.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1302.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $6,057.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1303.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $3,557.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1304.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $3,426.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1305.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,649.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1306.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,468.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1307.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,468.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1308.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,415.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1309.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,414.69                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1310.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,078.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1311.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,078.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1312.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $2,027.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1313.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,826.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1314.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,822.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1315.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,752.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1316.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,684.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1317.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,587.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1318.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,489.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1319.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,294.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1320.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,089.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1321.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $1,042.00                ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1322.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $931.00                  ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1323.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $692.00                  ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1324.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $560.00                  ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1325.   PROTECTIVE LIFE INSURANCE CO                  10/28/2022 $413.00                  ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1326.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $24,169.00              ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1327.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $6,057.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1328.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $4,206.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1329.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $3,557.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1330.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $3,426.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1331.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,649.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1332.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,468.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1333.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,468.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1334.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,415.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1335.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,414.69               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1336.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,078.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1337.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,078.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1338.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $2,027.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1339.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,949.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1340.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,826.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1341.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,822.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1342.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,752.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1343.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,587.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1344.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,489.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1345.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,294.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1346.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,089.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1347.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $1,042.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1348.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $931.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1349.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $829.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1350.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $692.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1351.   PROTECTIVE LIFE INSURANCE CO                  9/29/2022   $560.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1352.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $24,169.00              ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1353.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $6,057.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1354.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $4,206.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1355.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $3,874.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1356.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $3,426.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1357.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,649.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1358.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,469.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1359.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,468.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1360.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,415.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1361.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,414.69               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1362.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,228.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1363.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,078.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1364.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,078.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1365.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $2,027.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1366.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,826.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1367.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,822.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1368.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,752.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1369.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,587.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1370.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,553.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1371.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,489.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1372.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,294.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1373.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,089.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1374.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,068.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1375.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $1,042.00               ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1376.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $931.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1377.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $829.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1378.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $692.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1379.   PROTECTIVE LIFE INSURANCE CO                  8/30/2022   $560.00                 ¨ Secured debt
          PO BOX 13344
          BIRMINGHAM AL 35283-0619                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1380.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $9,880.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1381.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $9,343.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1382.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $5,715.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1383.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $5,594.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1384.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $3,515.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1385.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $3,509.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1386.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $3,366.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1387.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $2,768.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1388.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $1,840.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1389.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $1,560.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1390.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $1,289.00                ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1391.   PRUDENTIAL INSURANCE COMPANY OF               10/28/2022 $542.00                  ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1392.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $9,880.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1393.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $9,343.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1394.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $6,269.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1395.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $5,715.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1396.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $5,594.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1397.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $3,515.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1398.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $3,509.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1399.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $3,366.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1400.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $2,768.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1401.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $1,840.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1402.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $1,560.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1403.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $1,289.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1404.   PRUDENTIAL INSURANCE COMPANY OF               9/29/2022   $542.00                 ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1405.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $9,343.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1406.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $6,124.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1407.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $5,715.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1408.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $5,594.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1409.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $4,087.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1410.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $3,515.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1411.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $3,509.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1412.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $2,768.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1413.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $2,235.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1414.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $1,560.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1415.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $1,289.00               ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1416.   PRUDENTIAL INSURANCE COMPANY OF               8/30/2022   $542.00                 ¨ Secured debt
          AMERICA
          PO BOX 41594                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19176                                                             ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1417.   SECURITY MUTUAL OF NY                         10/28/2022 $17,774.00               ¨ Secured debt
          P.O. BOX 971
          BINGHAMTON NY 13902-0971                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1418.   SECURITY MUTUAL OF NY                         10/28/2022 $2,104.00                ¨ Secured debt
          P.O. BOX 971
          BINGHAMTON NY 13902-0971                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1419.   SECURITY MUTUAL OF NY                         9/29/2022   $17,774.00              ¨ Secured debt
          P.O. BOX 971
          BINGHAMTON NY 13902-0971                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1420.   SECURITY MUTUAL OF NY                         9/29/2022   $2,104.00               ¨ Secured debt
          P.O. BOX 971
          BINGHAMTON NY 13902-0971                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1421.   SECURITY MUTUAL OF NY                         8/30/2022   $17,774.00              ¨ Secured debt
          P.O. BOX 971
          BINGHAMTON NY 13902-0971                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1422.   SECURITY MUTUAL OF NY                         8/30/2022   $2,104.00               ¨ Secured debt
          P.O. BOX 971
          BINGHAMTON NY 13902-0971                                                          ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1423.   STATE FARM LIFE INSURANCE CO.                 10/28/2022 $11,369.00               ¨ Secured debt
          NEW ALBANY OPS CTR. ATTN: SVC ACC.
          5400 NEW ALBANY RD E                                                              ¨ Unsecured loan repayments
          NEW ALBANY OH 43054                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1424.   STATE FARM LIFE INSURANCE CO.                 9/29/2022   $11,369.00              ¨ Secured debt
          NEW ALBANY OPS CTR. ATTN: SVC ACC.
          5400 NEW ALBANY RD E                                                              ¨ Unsecured loan repayments
          NEW ALBANY OH 43054                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1425.   STATE FARM LIFE INSURANCE CO.                 8/30/2022   $11,369.00              ¨ Secured debt
          NEW ALBANY OPS CTR. ATTN: SVC ACC.
          5400 NEW ALBANY RD E                                                              ¨ Unsecured loan repayments
          NEW ALBANY OH 43054                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1426.   STATE LIFE INSURANCE COMPANY                  10/28/2022 $6,717.00                ¨ Secured debt
          1 AMERICAN SQ
          INDIANAPOLIS IN 46204                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1427.   STATE LIFE INSURANCE COMPANY                  9/29/2022   $4,691.00               ¨ Secured debt
          1 AMERICAN SQ
          INDIANAPOLIS IN 46204                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1428.   STATE LIFE INSURANCE COMPANY                  8/30/2022   $4,691.00               ¨ Secured debt
          1 AMERICAN SQ
          INDIANAPOLIS IN 46204                                                             ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1429.   SUN LIFE                                      10/28/2022 $34,707.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1430.   SUN LIFE                                      10/28/2022 $13,641.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1431.   SUN LIFE                                      10/28/2022 $8,457.00                ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1432.   SUN LIFE                                      10/28/2022 $4,519.00                ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1433.   SUN LIFE                                      10/28/2022 $1,337.00                ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1434.   SUN LIFE                                      9/29/2022   $34,629.00              ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1435.   SUN LIFE                                      9/29/2022   $13,641.00              ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1436.   SUN LIFE                                      9/29/2022   $8,457.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1437.   SUN LIFE                                      9/29/2022   $4,519.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1438.   SUN LIFE                                      9/29/2022   $1,337.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1439.   SUN LIFE                                      8/30/2022   $41,760.00              ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1440.   SUN LIFE                                      8/30/2022   $13,641.00              ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1441.   SUN LIFE                                      8/30/2022   $8,457.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1442.   SUN LIFE                                      8/30/2022   $4,519.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1443.   SUN LIFE                                      8/30/2022   $1,337.00               ¨ Secured debt
          P.O. BOX 0760
          CAROL STREAM IL 60132-0760                                                        ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1444.   SYMETRA LIFE INSURANCE COMPANY                10/28/2022 $1,188.00                ¨ Secured debt
          777 108TH AVE NE
          SUITE 1200                                                                        ¨ Unsecured loan repayments
          BELLEVUE WA 98004                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1445.   SYMETRA LIFE INSURANCE COMPANY                9/29/2022   $1,188.00               ¨ Secured debt
          777 108TH AVE NE
          SUITE 1200                                                                        ¨ Unsecured loan repayments
          BELLEVUE WA 98004                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1446.   SYMETRA LIFE INSURANCE COMPANY                8/30/2022   $1,188.00               ¨ Secured debt
          777 108TH AVE NE
          SUITE 1200                                                                        ¨ Unsecured loan repayments
          BELLEVUE WA 98004                                                                 ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1447.   TIAA-CREFF LIFE INSURANCE COMPANY             10/28/2022 $23,758.00               ¨ Secured debt
          PO BOX 933714
          ATLANTA GA 31193                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1448.   TIAA-CREFF LIFE INSURANCE COMPANY             9/29/2022   $20,934.00              ¨ Secured debt
          PO BOX 933714
          ATLANTA GA 31193                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1449.   TIAA-CREFF LIFE INSURANCE COMPANY             8/30/2022   $20,934.00              ¨ Secured debt
          PO BOX 933714
          ATLANTA GA 31193                                                                  ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1450.   TRANSAM SECURITIES, INC.                      10/28/2022 $58,372.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1451.   TRANSAM SECURITIES, INC.                      10/28/2022 $40,892.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1452.   TRANSAM SECURITIES, INC.                      10/28/2022 $37,931.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1453.   TRANSAM SECURITIES, INC.                      10/28/2022 $36,889.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1454.   TRANSAM SECURITIES, INC.                      10/28/2022 $31,667.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1455.   TRANSAM SECURITIES, INC.                      10/28/2022 $30,294.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1456.   TRANSAM SECURITIES, INC.                      10/28/2022 $28,516.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1457.   TRANSAM SECURITIES, INC.                      10/28/2022 $26,426.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1458.   TRANSAM SECURITIES, INC.                      10/28/2022 $24,633.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1459.   TRANSAM SECURITIES, INC.                      10/28/2022 $18,627.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1460.   TRANSAM SECURITIES, INC.                      10/28/2022 $17,395.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1461.   TRANSAM SECURITIES, INC.                      10/28/2022 $16,983.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1462.   TRANSAM SECURITIES, INC.                      10/28/2022 $14,879.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1463.   TRANSAM SECURITIES, INC.                      10/28/2022 $12,517.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1464.   TRANSAM SECURITIES, INC.                      10/28/2022 $11,087.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1465.   TRANSAM SECURITIES, INC.                      10/28/2022 $10,563.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1466.   TRANSAM SECURITIES, INC.                      10/28/2022 $9,532.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1467.   TRANSAM SECURITIES, INC.                      10/28/2022 $8,522.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1468.   TRANSAM SECURITIES, INC.                      10/28/2022 $7,561.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1469.   TRANSAM SECURITIES, INC.                      10/28/2022 $7,546.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1470.   TRANSAM SECURITIES, INC.                      10/28/2022 $7,372.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1471.   TRANSAM SECURITIES, INC.                      10/28/2022 $7,146.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1472.   TRANSAM SECURITIES, INC.                      10/28/2022 $6,074.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1473.   TRANSAM SECURITIES, INC.                      10/28/2022 $5,640.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1474.   TRANSAM SECURITIES, INC.                      10/28/2022 $5,112.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1475.   TRANSAM SECURITIES, INC.                      10/28/2022 $5,040.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1476.   TRANSAM SECURITIES, INC.                      10/28/2022 $4,901.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1477.   TRANSAM SECURITIES, INC.                      10/28/2022 $4,898.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1478.   TRANSAM SECURITIES, INC.                      10/28/2022 $4,503.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1479.   TRANSAM SECURITIES, INC.                      10/28/2022 $4,281.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1480.   TRANSAM SECURITIES, INC.                      10/28/2022 $3,772.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1481.   TRANSAM SECURITIES, INC.                      10/28/2022 $3,499.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1482.   TRANSAM SECURITIES, INC.                      10/28/2022 $3,033.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1483.   TRANSAM SECURITIES, INC.                      10/28/2022 $2,980.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1484.   TRANSAM SECURITIES, INC.                      10/28/2022 $1,871.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1485.   TRANSAM SECURITIES, INC.                      10/28/2022 $1,433.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1486.   TRANSAM SECURITIES, INC.                      10/28/2022 $1,396.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1487.   TRANSAM SECURITIES, INC.                      10/28/2022 $1,335.00                ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1488.   TRANSAM SECURITIES, INC.                      10/28/2022 $820.00                  ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1489.   TRANSAM SECURITIES, INC.                      10/28/2022 $728.00                  ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1490.   TRANSAM SECURITIES, INC.                      10/28/2022 $615.00                  ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1491.   TRANSAM SECURITIES, INC.                      9/29/2022   $58,372.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1492.   TRANSAM SECURITIES, INC.                      9/29/2022   $37,931.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1493.   TRANSAM SECURITIES, INC.                      9/29/2022   $36,889.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1494.   TRANSAM SECURITIES, INC.                      9/29/2022   $31,667.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1495.   TRANSAM SECURITIES, INC.                      9/29/2022   $30,294.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1496.   TRANSAM SECURITIES, INC.                      9/29/2022   $28,516.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1497.   TRANSAM SECURITIES, INC.                      9/29/2022   $26,426.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1498.   TRANSAM SECURITIES, INC.                      9/29/2022   $24,731.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1499.   TRANSAM SECURITIES, INC.                      9/29/2022   $18,909.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1500.   TRANSAM SECURITIES, INC.                      9/29/2022   $17,395.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1501.   TRANSAM SECURITIES, INC.                      9/29/2022   $15,611.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1502.   TRANSAM SECURITIES, INC.                      9/29/2022   $12,898.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1503.   TRANSAM SECURITIES, INC.                      9/29/2022   $12,517.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1504.   TRANSAM SECURITIES, INC.                      9/29/2022   $9,681.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1505.   TRANSAM SECURITIES, INC.                      9/29/2022   $9,532.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1506.   TRANSAM SECURITIES, INC.                      9/29/2022   $8,919.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1507.   TRANSAM SECURITIES, INC.                      9/29/2022   $8,610.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1508.   TRANSAM SECURITIES, INC.                      9/29/2022   $8,522.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1509.   TRANSAM SECURITIES, INC.                      9/29/2022   $8,052.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1510.   TRANSAM SECURITIES, INC.                      9/29/2022   $7,561.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1511.   TRANSAM SECURITIES, INC.                      9/29/2022   $7,546.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1512.   TRANSAM SECURITIES, INC.                      9/29/2022   $6,074.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1513.   TRANSAM SECURITIES, INC.                      9/29/2022   $5,739.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1514.   TRANSAM SECURITIES, INC.                      9/29/2022   $5,640.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1515.   TRANSAM SECURITIES, INC.                      9/29/2022   $5,466.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1516.   TRANSAM SECURITIES, INC.                      9/29/2022   $5,112.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1517.   TRANSAM SECURITIES, INC.                      9/29/2022   $5,040.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1518.   TRANSAM SECURITIES, INC.                      9/29/2022   $4,901.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1519.   TRANSAM SECURITIES, INC.                      9/29/2022   $4,898.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1520.   TRANSAM SECURITIES, INC.                      9/29/2022   $4,281.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1521.   TRANSAM SECURITIES, INC.                      9/29/2022   $3,812.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1522.   TRANSAM SECURITIES, INC.                      9/29/2022   $3,033.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1523.   TRANSAM SECURITIES, INC.                      9/29/2022   $2,980.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1524.   TRANSAM SECURITIES, INC.                      9/29/2022   $2,854.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1525.   TRANSAM SECURITIES, INC.                      9/29/2022   $2,031.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1526.   TRANSAM SECURITIES, INC.                      9/29/2022   $1,975.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1527.   TRANSAM SECURITIES, INC.                      9/29/2022   $1,433.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1528.   TRANSAM SECURITIES, INC.                      9/29/2022   $1,396.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1529.   TRANSAM SECURITIES, INC.                      9/29/2022   $1,335.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1530.   TRANSAM SECURITIES, INC.                      9/29/2022   $820.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1531.   TRANSAM SECURITIES, INC.                      9/29/2022   $796.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1532.   TRANSAM SECURITIES, INC.                      9/29/2022   $728.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1533.   TRANSAM SECURITIES, INC.                      9/29/2022   $615.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1534.   TRANSAM SECURITIES, INC.                      8/30/2022   $58,372.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1535.   TRANSAM SECURITIES, INC.                      8/30/2022   $37,931.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1536.   TRANSAM SECURITIES, INC.                      8/30/2022   $36,889.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1537.   TRANSAM SECURITIES, INC.                      8/30/2022   $31,667.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1538.   TRANSAM SECURITIES, INC.                      8/30/2022   $30,294.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1539.   TRANSAM SECURITIES, INC.                      8/30/2022   $28,516.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1540.   TRANSAM SECURITIES, INC.                      8/30/2022   $26,426.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1541.   TRANSAM SECURITIES, INC.                      8/30/2022   $24,731.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1542.   TRANSAM SECURITIES, INC.                      8/30/2022   $18,909.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1543.   TRANSAM SECURITIES, INC.                      8/30/2022   $17,395.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1544.   TRANSAM SECURITIES, INC.                      8/30/2022   $16,879.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1545.   TRANSAM SECURITIES, INC.                      8/30/2022   $15,611.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1546.   TRANSAM SECURITIES, INC.                      8/30/2022   $14,633.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1547.   TRANSAM SECURITIES, INC.                      8/30/2022   $12,898.00              ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1548.   TRANSAM SECURITIES, INC.                      8/30/2022   $9,681.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1549.   TRANSAM SECURITIES, INC.                      8/30/2022   $9,545.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1550.   TRANSAM SECURITIES, INC.                      8/30/2022   $8,919.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1551.   TRANSAM SECURITIES, INC.                      8/30/2022   $8,610.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1552.   TRANSAM SECURITIES, INC.                      8/30/2022   $8,522.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1553.   TRANSAM SECURITIES, INC.                      8/30/2022   $7,561.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1554.   TRANSAM SECURITIES, INC.                      8/30/2022   $7,546.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1555.   TRANSAM SECURITIES, INC.                      8/30/2022   $6,693.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1556.   TRANSAM SECURITIES, INC.                      8/30/2022   $6,074.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1557.   TRANSAM SECURITIES, INC.                      8/30/2022   $5,640.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1558.   TRANSAM SECURITIES, INC.                      8/30/2022   $5,466.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1559.   TRANSAM SECURITIES, INC.                      8/30/2022   $5,112.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1560.   TRANSAM SECURITIES, INC.                      8/30/2022   $5,040.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1561.   TRANSAM SECURITIES, INC.                      8/30/2022   $4,901.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1562.   TRANSAM SECURITIES, INC.                      8/30/2022   $4,898.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1563.   TRANSAM SECURITIES, INC.                      8/30/2022   $4,281.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1564.   TRANSAM SECURITIES, INC.                      8/30/2022   $3,892.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1565.   TRANSAM SECURITIES, INC.                      8/30/2022   $3,505.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1566.   TRANSAM SECURITIES, INC.                      8/30/2022   $3,033.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1567.   TRANSAM SECURITIES, INC.                      8/30/2022   $2,980.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1568.   TRANSAM SECURITIES, INC.                      8/30/2022   $2,888.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1569.   TRANSAM SECURITIES, INC.                      8/30/2022   $2,854.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1570.   TRANSAM SECURITIES, INC.                      8/30/2022   $1,975.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1571.   TRANSAM SECURITIES, INC.                      8/30/2022   $1,890.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1572.   TRANSAM SECURITIES, INC.                      8/30/2022   $1,433.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1573.   TRANSAM SECURITIES, INC.                      8/30/2022   $1,396.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1574.   TRANSAM SECURITIES, INC.                      8/30/2022   $1,335.00               ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1575.   TRANSAM SECURITIES, INC.                      8/30/2022   $820.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1576.   TRANSAM SECURITIES, INC.                      8/30/2022   $796.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1577.   TRANSAM SECURITIES, INC.                      8/30/2022   $728.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1578.   TRANSAM SECURITIES, INC.                      8/30/2022   $615.00                 ¨ Secured debt
          1111 DOUGLAS AVENUE SANLANDO CENTER,
          SUITE 1150                                                                        ¨ Unsecured loan repayments
          ALTAMONTE SPRINGS FL 32714                                                        ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1579.   TRANSAMERICA ADVISORS LIFE INS CO.            10/28/2022 $17,018.00               ¨ Secured debt
          ATTN: BILLING
          2000 WADE HAMPTON BLVD                                                            ¨ Unsecured loan repayments
          GREENVILLE SC 29615                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1580.   TRANSAMERICA ADVISORS LIFE INS CO.            9/29/2022   $11,229.00              ¨ Secured debt
          ATTN: BILLING
          2000 WADE HAMPTON BLVD                                                            ¨ Unsecured loan repayments
          GREENVILLE SC 29615                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1581.   TRANSAMERICA ADVISORS LIFE INS CO.            8/30/2022   $11,229.00              ¨ Secured debt
          ATTN: BILLING
          2000 WADE HAMPTON BLVD                                                            ¨ Unsecured loan repayments
          GREENVILLE SC 29615                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1582.   UNITED OF OMAHA                               10/28/2022 $641.00                  ¨ Secured debt
          P.O. BOX 2749
          OMAHA NE 68103-2749                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1583.   UNITED OF OMAHA                               9/29/2022   $641.00                 ¨ Secured debt
          P.O. BOX 2749
          OMAHA NE 68103-2749                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1584.   UNITED OF OMAHA                               8/30/2022   $1,899.00               ¨ Secured debt
          P.O. BOX 2749
          OMAHA NE 68103-2749                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1585.   UNITED OF OMAHA                               8/30/2022   $641.00                 ¨ Secured debt
          P.O. BOX 2749
          OMAHA NE 68103-2749                                                               ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1586.   UNITED STATES LIFE INSURANCE COMPANY IN       10/28/2022 $1,659.00                ¨ Secured debt
          THE CITY OF NY
          P.O. BOX 818005                                                                   ¨ Unsecured loan repayments
          CLEVELAND OH 44181                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1587.   UNITED STATES LIFE INSURANCE COMPANY IN       10/28/2022 $1,261.00                ¨ Secured debt
          THE CITY OF NY
          P.O. BOX 818005                                                                   ¨ Unsecured loan repayments
          CLEVELAND OH 44181                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1588.   UNITED STATES LIFE INSURANCE COMPANY IN       9/29/2022   $1,659.00               ¨ Secured debt
          THE CITY OF NY
          P.O. BOX 818005                                                                   ¨ Unsecured loan repayments
          CLEVELAND OH 44181                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1589.   UNITED STATES LIFE INSURANCE COMPANY IN       9/29/2022   $1,261.00               ¨ Secured debt
          THE CITY OF NY
          P.O. BOX 818005                                                                   ¨ Unsecured loan repayments
          CLEVELAND OH 44181                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1590.   UNITED STATES LIFE INSURANCE COMPANY IN       8/30/2022   $1,659.00               ¨ Secured debt
          THE CITY OF NY
          P.O. BOX 818005                                                                   ¨ Unsecured loan repayments
          CLEVELAND OH 44181                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1591.   UNITED STATES LIFE INSURANCE COMPANY IN       8/30/2022   $1,261.00               ¨ Secured debt
          THE CITY OF NY
          P.O. BOX 818005                                                                   ¨ Unsecured loan repayments
          CLEVELAND OH 44181                                                                ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1592.   US FINANCIAL LIFE INSURANCE COMPANY           10/28/2022 $38,063.00               ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1593.   US FINANCIAL LIFE INSURANCE COMPANY           10/28/2022 $5,645.00                ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1594.   US FINANCIAL LIFE INSURANCE COMPANY           10/28/2022 $611.00                  ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1595.   US FINANCIAL LIFE INSURANCE COMPANY           9/29/2022   $38,063.00              ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1596.   US FINANCIAL LIFE INSURANCE COMPANY           9/29/2022   $5,645.00               ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1597.   US FINANCIAL LIFE INSURANCE COMPANY           9/29/2022   $611.00                 ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1598.   US FINANCIAL LIFE INSURANCE COMPANY           8/30/2022   $38,063.00              ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1599.   US FINANCIAL LIFE INSURANCE COMPANY           8/30/2022   $7,125.00               ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1600.   US FINANCIAL LIFE INSURANCE COMPANY           8/30/2022   $611.00                 ¨ Secured debt
          100 MADISON STREET
          SYRACUSE NY 13202                                                                 ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1601.   USAA LIFE INSURANCE COMPAMY                   10/28/2022 $1,445.00                ¨ Secured debt
          9800 FREDERICKSBURG ROAD
          SAN ANTONIO TX 78288-0336                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1602.   USAA LIFE INSURANCE COMPAMY                   9/29/2022   $1,445.00               ¨ Secured debt
          9800 FREDERICKSBURG ROAD
          SAN ANTONIO TX 78288-0336                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1603.   USAA LIFE INSURANCE COMPAMY                   8/30/2022   $1,443.00               ¨ Secured debt
          9800 FREDERICKSBURG ROAD
          SAN ANTONIO TX 78288-0336                                                         ¨ Unsecured loan repayments
                                                                                            ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1604.   WEST COAST LIFE                               10/28/2022 $74,170.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1605.   WEST COAST LIFE                               10/28/2022 $34,178.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1606.   WEST COAST LIFE                               10/28/2022 $20,163.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1607.   WEST COAST LIFE                               10/28/2022 $19,367.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1608.   WEST COAST LIFE                               10/28/2022 $13,061.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1609.   WEST COAST LIFE                               10/28/2022 $10,086.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1610.   WEST COAST LIFE                               10/28/2022 $5,836.00                ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1611.   WEST COAST LIFE                               10/28/2022 $4,479.00                ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1612.   WEST COAST LIFE                               10/28/2022 $3,738.00                ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1613.   WEST COAST LIFE                               10/28/2022 $2,758.00                ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1614.   WEST COAST LIFE                               10/28/2022 $1,294.00                ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1615.   WEST COAST LIFE                               9/29/2022   $74,170.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1616.   WEST COAST LIFE                               9/29/2022   $45,247.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1617.   WEST COAST LIFE                               9/29/2022   $20,163.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1618.   WEST COAST LIFE                               9/29/2022   $19,367.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1619.   WEST COAST LIFE                               9/29/2022   $13,061.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1620.   WEST COAST LIFE                               9/29/2022   $10,086.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1621.   WEST COAST LIFE                               9/29/2022   $5,836.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1622.   WEST COAST LIFE                               9/29/2022   $4,479.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1623.   WEST COAST LIFE                               9/29/2022   $2,758.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1624.   WEST COAST LIFE                               9/29/2022   $1,985.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1625.   WEST COAST LIFE                               9/29/2022   $1,294.00               ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1626.   WEST COAST LIFE                               8/30/2022   $74,170.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1627.   WEST COAST LIFE                               8/30/2022   $28,826.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1628.   WEST COAST LIFE                               8/30/2022   $20,163.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1629.   WEST COAST LIFE                               8/30/2022   $19,367.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1630.   WEST COAST LIFE                               8/30/2022   $13,061.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1631.   WEST COAST LIFE                               8/30/2022   $10,086.00              ¨ Secured debt
          ATTN: POLICY HOLDER SERVICES
          2801 HWY 280 SOUTH                                                                ¨ Unsecured loan repayments
          BIRMINGHAM AL 35223                                                               ¨ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            þ Other: PREMIUM


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Debtor    GWG DLP Funding IV, LLC                                                                                      Case number (if known) 22-90336

           Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1632.    WEST COAST LIFE                                           8/30/2022     $8,446.00                   ¨ Secured debt
           ATTN: POLICY HOLDER SERVICES
           2801 HWY 280 SOUTH                                                                                  ¨ Unsecured loan repayments
           BIRMINGHAM AL 35223                                                                                 ¨ Suppliers or vendors
                                                                                                               ¨ Services
                                                                                                               þ Other: PREMIUM
           Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1633.    WEST COAST LIFE                                           8/30/2022     $4,479.00                   ¨ Secured debt
           ATTN: POLICY HOLDER SERVICES
           2801 HWY 280 SOUTH                                                                                  ¨ Unsecured loan repayments
           BIRMINGHAM AL 35223                                                                                 ¨ Suppliers or vendors
                                                                                                               ¨ Services
                                                                                                               þ Other: PREMIUM
           Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1634.    WEST COAST LIFE                                           8/30/2022     $2,758.00                   ¨ Secured debt
           ATTN: POLICY HOLDER SERVICES
           2801 HWY 280 SOUTH                                                                                  ¨ Unsecured loan repayments
           BIRMINGHAM AL 35223                                                                                 ¨ Suppliers or vendors
                                                                                                               ¨ Services
                                                                                                               þ Other: PREMIUM
           Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1635.    WEST COAST LIFE                                           8/30/2022     $1,985.00                   ¨ Secured debt
           ATTN: POLICY HOLDER SERVICES
           2801 HWY 280 SOUTH                                                                                  ¨ Unsecured loan repayments
           BIRMINGHAM AL 35223                                                                                 ¨ Suppliers or vendors
                                                                                                               ¨ Services
                                                                                                               þ Other: PREMIUM
           Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                               Check all that apply

3.1636.    WEST COAST LIFE                                           8/30/2022     $1,294.00                   ¨ Secured debt
           ATTN: POLICY HOLDER SERVICES
           2801 HWY 280 SOUTH                                                                                  ¨ Unsecured loan repayments
           BIRMINGHAM AL 35223                                                                                 ¨ Suppliers or vendors
                                                                                                               ¨ Services
                                                                                                               þ Other: PREMIUM


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 04/01/2025 and every 3 years after that with respect to cases filed on or after the date of
    adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
    and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
    managing agent of the debtor. 11 U.S.C. § 101(31).

    ¨ None
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Debtor    GWG DLP Funding IV, LLC                                                                     Case number (if known) 22-90336

       Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.1.   GWG LIFE LLC CHAPTER 11 DIP OPERATING              9/7/2022    $170,626.95             INTERCOMPANY MANAGEMENT FEE
       325 N ST. PAUL STREET
       SUITE 2650
       DALLAS TX 75201
       Relationship to debtor
       AFFILIATE

       Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.2.   GWG LIFE LLC CHAPTER 11 DIP OPERATING              8/3/2022    $176,168.68             INTERCOMPANY MANAGEMENT FEE
       325 N ST. PAUL STREET
       SUITE 2650
       DALLAS TX 75201
       Relationship to debtor
       AFFILIATE

       Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.3.   GWG LIFE, LLC                                      10/20/2022 $169,168.60              FUNDS TRANSFER
       325 N ST. PAUL STREET
       SUITE 2650
       DALLAS TX 75201
       Relationship to debtor
       AFFILIATE

       Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.4.   GWG LIFE, LLC                                      7/7/2022    $539,006.16             FUNDS TRANSFER
       325 N ST. PAUL STREET
       SUITE 2650
       DALLAS TX 75201
       Relationship to debtor
       AFFILIATE

       Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.5.   GWG LIFE, LLC                                      4/1/2022    $350,000.00             FUNDS TRANSFER
       325 N ST. PAUL STREET
       SUITE 2650
       DALLAS TX 75201
       Relationship to debtor
       AFFILIATE

       Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.6.   GWG LIFE, LLC                                      1/14/2022   $109,375.00             SERVICER FEES & REMAINDER OF
       325 N ST. PAUL STREET                                                                  BALANCE
       SUITE 2650
       DALLAS TX 75201
       Relationship to debtor
       AFFILIATE

       Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.7.   GWG LIFE, LLC                                      12/14/2021 $20,000,000.00           FUNDS TRANSFER
       325 N ST. PAUL STREET
       SUITE 2650
       DALLAS TX 75201
       Relationship to debtor
       AFFILIATE

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Debtor     GWG DLP Funding IV, LLC                                                                      Case number (if known) 22-90336

        Insider’s name and address                         Dates        Total amount or value   Reasons for payment or transfer

4.8.    GWG LIFE, LLC                                      11/15/2021 $16,958,377.45            SERVICER FEES & REMAINDER OF
        325 N ST. PAUL STREET                                                                   BALANCE
        SUITE 2650
        DALLAS TX 75201
        Relationship to debtor
        AFFILIATE

        Insider’s name and address                         Dates        Total amount or value   Reasons for payment or transfer

4.9.    GWG LIFE, LLC                                      1/15/2021    $120,400.00             SERVICER FEES & REMAINDER OF
        325 N ST. PAUL STREET                                                                   BALANCE
        SUITE 2650
        DALLAS TX 75201
        Relationship to debtor
        AFFILIATE

         Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.10.    LORD SECURITIES CORPORATION                        10/27/2022 $5,000.00                DIRECTOR FEES
         48 WALL STREET
         27TH FLOOR
         NEW YORK NY 10005
         Relationship to debtor
         DIRECTOR

         Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.11.    LORD SECURITIES CORPORATION                        5/31/2022   $3,000.00               DIRECTOR FEES
         48 WALL STREET
         27TH FLOOR
         NEW YORK NY 10005
         Relationship to debtor
         DIRECTOR

         Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.12.    SEAN CLEMENTS                                      10/27/2022 $25,000.00               DIRECTOR FEES
         Address Intentionally Omitted
         Relationship to debtor
         DIRECTOR

         Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.13.    SEAN CLEMENTS                                      10/20/2022 $5,000.00                DIRECTOR FEES
         Address Intentionally Omitted
         Relationship to debtor
         DIRECTOR

         Insider’s name and address                         Dates       Total amount or value   Reasons for payment or transfer

4.14.    SEAN CLEMENTS                                      9/7/2022    $10,000.00              DIRECTOR FEES
         Address Intentionally Omitted
         Relationship to debtor
         DIRECTOR




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Debtor       GWG DLP Funding IV, LLC                                                                                      Case number (if known) 22-90336

           Insider’s name and address                                 Dates         Total amount or value        Reasons for payment or transfer

4.15.      SEAN CLEMENTS                                              7/21/2022     $35,000.00                   DIRECTOR FEES
           Address Intentionally Omitted
           Relationship to debtor
           DIRECTOR




5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed
       by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property
       listed in line 6.

       þ None
         Creditor’s name and address                          Description of the property                         Date                   Value of property

5.1.     _____________________________________                _____________________________________               ________________ $______________
         _____________________________________
         _____________________________________
         _____________________________________




6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
       account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
       debtor owed a debt.

       þ None
         Creditor’s name and address                  Description of the action creditor took                     Date action was        Amount
                                                                                                                  taken

6.1.     ________________________________             __________________________________________                  ________________ $______________
         ________________________________
         ________________________________
         ________________________________             Last 4 digits of account number: XXXX–__________




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Debtor      GWG DLP Funding IV, LLC                                                                                    Case number (if known) 22-90336



 Part 3:       Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity—within 1 year before filing this case.

       þ None
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.1.     _____________________________           _____________________________           ________________________________            ¨ Pending
                                                                                         ________________________________
         Case number                                                                     ________________________________            ¨ On appeal
         _____________________________
                                                                                         ________________________________            ¨ Concluded


8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
       hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       þ None
         Custodian's name and address                     Description of the property                     Value

8.1.     ___________________________________              ___________________________________             $_________________________________
         ___________________________________
         ___________________________________              Case title                                      Court name and address
         ___________________________________
                                                          ___________________________________             ___________________________________
                                                                                                          ___________________________________
                                                          Case number                                     ___________________________________
                                                                                                          ___________________________________
                                                          ___________________________________
                                                          Date of order or assignment
                                                          ___________________________________




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Debtor     GWG DLP Funding IV, LLC                                                                    Case number (if known) 22-90336



 Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
   aggregate value of the gifts to that recipient is less than $1,000.
       þ None
        Recipient’s name and address                Description of the gifts or contributions   Dates given       Value

9.1.    _____________________________________       _____________________________________       ________________ $______________
        _____________________________________
        _____________________________________
        _____________________________________
        Recipient’s relationship to debtor
        _____________________________________




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Debtor     GWG DLP Funding IV, LLC                                                                          Case number (if known) 22-90336



 Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    þ None
         Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
         the loss occurred                                                                                              lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance, government
                                                    compensation, or tort liability, list the total
                                                    received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.1.    _____________________________________      $___________________________________              _______________ $_____________




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Debtor     GWG DLP Funding IV, LLC                                                                                  Case number (if known) 22-90336



 Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
    the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
    seeking bankruptcy relief, or filing a bankruptcy case.

    ¨ None
         Who was paid or who received the                 If not money, describe any property               Dates                 Total amount or
         transfer?                                        transferred                                                             value

11.1.    MINTZ & GOLD LLP                                 _____________________________________             10/31/2022            $12,250.00
         Address
         600 THIRD AVENUE
         NEW YORK NY 10016
         Email or website address
         WWW.MINTZANDGOLD.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the                 If not money, describe any property               Dates                 Total amount or
         transfer?                                        transferred                                                             value

11.2.    MINTZ & GOLD LLP                                 _____________________________________             10/20/2022            $580.00
         Address
         600 THIRD AVENUE
         NEW YORK NY 10016
         Email or website address
         WWW.MINTZANDGOLD.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the                 If not money, describe any property               Dates                 Total amount or
         transfer?                                        transferred                                                             value

11.3.    MINTZ & GOLD LLP                                 _____________________________________             10/20/2022            $5,945.00
         Address
         600 THIRD AVENUE
         NEW YORK NY 10016
         Email or website address
         WWW.MINTZANDGOLD.COM
         Who made the payment, if not debtor?
         _____________________________________




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Debtor    GWG DLP Funding IV, LLC                                                                    Case number (if known) 22-90336

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.4.    MINTZ & GOLD LLP                          _____________________________________     10/20/2022          $6,785.00
         Address
         600 THIRD AVENUE
         NEW YORK NY 10016
         Email or website address
         WWW.MINTZANDGOLD.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.5.    MINTZ & GOLD LLP                          _____________________________________     10/20/2022          $8,626.25
         Address
         600 THIRD AVENUE
         NEW YORK NY 10016
         Email or website address
         WWW.MINTZANDGOLD.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.6.    MINTZ & GOLD LLP                          _____________________________________     10/20/2022          $14,572.50
         Address
         600 THIRD AVENUE
         NEW YORK NY 10016
         Email or website address
         WWW.MINTZANDGOLD.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.7.    MINTZ & GOLD LLP                          _____________________________________     10/20/2022          $20,000.00
         Address
         600 THIRD AVENUE
         NEW YORK NY 10016
         Email or website address
         WWW.MINTZANDGOLD.COM
         Who made the payment, if not debtor?
         _____________________________________




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Debtor    GWG DLP Funding IV, LLC                                                                                    Case number (if known) 22-90336

         Who was paid or who received the                 If not money, describe any property                Dates                Total amount or
         transfer?                                        transferred                                                             value

11.8.    PAUL HASTINGS LLP                                _____________________________________              10/28/2022           $169,211.95
         Address
         200 PARK AVENUE
         NEW YORK NY 10166
         Email or website address
         WWW.PAULHASTINGS.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the                 If not money, describe any property                Dates                Total amount or
         transfer?                                        transferred                                                             value

11.9.    PAUL HASTINGS LLP                                _____________________________________              10/13/2022           $275,000.00
         Address
         200 PARK AVENUE
         NEW YORK NY 10166
         Email or website address
         WWW.PAULHASTINGS.COM
         Who made the payment, if not debtor?
         _____________________________________




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
    this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

    þ None
         Name of trust or device                          Describe any property transferred                  Dates transfers      Total amount or
                                                                                                             were made            value

12.1.    _____________________________________            _____________________________________              _______________ $_____________
         Trustee
         _____________________________________
         _____________________________________
         _____________________________________
         _____________________________________




13. Transfers not already listed on this statement
    List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

    ¨ None



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Debtor    GWG DLP Funding IV, LLC                                                                  Case number (if known) 22-90336

         Who received transfer?                    Description of property transferred or    Date transfer     Total amount or
                                                   payments received or debts paid in        was made          value
                                                   exchange

13.1.    CLMG CORP AS ADMINISTRATIVE AGENT         RETAINED DEATH BENEFITS                   11/15/2021        $16,958,377.45
         Address
         7195 DALLAS PARKWAY
         PLANO TX 75024
         Relationship to debtor
         LENDER




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Debtor     GWG DLP Funding IV, LLC                                                                               Case number (if known) 22-90336



 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    þ Does not apply
         Address                                                                                   Dates of occupancy

14.1.    ____________________________________________________________________                      From ______________ To ______________
         ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________




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Debtor     GWG DLP Funding IV, LLC                                                                                 Case number (if known) 22-90336



 Part 8:     Healthcare Bankruptcies

15. Healthcare bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    — diagnosing or treating injury, deformity, or disease, or
    — providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
         Facility name and address                 Nature of the business operation, including type of             If debtor provides meals and
                                                   services the debtor provides                                    housing, number of patients
                                                                                                                   in debtor’s care

15.1.    _______________________________           _______________________________________________                 __________________________
         _______________________________
         _______________________________           Location where patient records are maintained (if               How are records kept?
         _______________________________           different from facility address). If electronic, identify any
                                                   service provider                                                Check all that apply:

                                                   _______________________________________________                 ¨ Electronically
                                                   _______________________________________________
                                                   _______________________________________________
                                                                                                                   ¨ Paper
                                                   _______________________________________________




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Debtor        GWG DLP Funding IV, LLC                                                                    Case number (if known) 22-90336



    Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
      ¨ No
      þ Yes. State the nature of the information collected and retained. COLLECTS AND RETAINS INFORMATION ABOUT THE INDIVIDUAL
      INSUREDS UNDER THE LIFE INSURANCE POLICIES. SUCH INFORMATION INCLUDES NAMES, ADDRESSES, DATES OF BIRTH,
      MEDICAL HISTORY, SOCIAL SECURITY NUMBERS, TAX IDENTIFICATION NUMBERS, AND OTHER INFORMATION.1
                Does the debtor have a privacy policy about that information?

                ¨ No
                þ Yes
1
POLICY PURCHASE CONTRACTS INCLUDE PRIVACY POLICY AS REQUIRED BY STATE REGULATIONS; COMPANY ALSO RELIES ON
CYBERSECURITY CONTROLS OF THIRD PARTY SERVICE PROVIDERS (CLEARLIFE)




17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b)
    or other pension or profit-sharing plan made available by the debtor as an employee benefit?
      þ None. Go to Part 10.
      ¨ Yes. Fill in the information below.
      17.1. Does the debtor serve as plan administrator?

          ¨ No
          ¨ Yes. Fill in below.
              Name of plan                                                              Employer identification number of the plan

              ________________________________________________________________ EIN: __ __-__ __ __ __ __ __ __

          Has the plan been terminated?

          ¨ No
          ¨ No




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Debtor    GWG DLP Funding IV, LLC                                                                                      Case number (if known) 22-90336



 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

    þ None
         Financial institution name and             Last 4 digits of account      Type of account                Date account          Last balance
         address                                    number                                                       was closed, sold,     before closing
                                                                                                                 moved, or             or transfer
                                                                                                                 transferred

18.1.    _______________________________            XXX-__________                ¨ Checking                     _______________ $____________
         _______________________________
         _______________________________                                          ¨ Savings
         _______________________________                                          ¨ Money market
                                                                                  ¨ Brokerage
                                                                                  ¨ Other ____________


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

    þ None
         Depository institution name and           Name and address of anyone with            Description of the contents              Does debtor
         address                                   access to it                                                                        still have it?

19.1.    ______________________________            ______________________________             _____________________________            ¨ No
         ______________________________            ______________________________
         ______________________________            ______________________________                                                      ¨ Yes
         ______________________________            ______________________________




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

    þ None
         Depository institution name and           Name and address of anyone with            Description of the contents              Does debtor
         address                                   access to it                                                                        still have it?

20.1.    ______________________________            ______________________________             _____________________________            ¨ No
         ______________________________            ______________________________
         ______________________________            ______________________________                                                      ¨ Yes
         ______________________________            ______________________________




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Debtor    GWG DLP Funding IV, LLC                                                                                  Case number (if known) 22-90336



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
    trust. Do not list leased or rented property.

    þ None
         Owner’s name and address                         Location of the property            Description of the property         Value

21.1.    _____________________________________            __________________________ __________________________ $_____________
         _____________________________________
         _____________________________________
         _____________________________________




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Debtor      GWG DLP Funding IV, LLC                                                                                     Case number (if known) 22-90336



    Part 12: Details About Environmental Information

For the purpose of Part 12, the following definitions apply:
■     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
      regardless of the medium affected (air, land, water, or any other medium).
■     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
      formerly owned, operated, or utilized.
■     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or
      a similarly harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include
    settlements and orders.
      þ No
      ¨ Yes. Provide details below.
          Case title                                  Court or agency name and address            Nature of the case                   Status of case

22.1.     _______________________________             _______________________________             __________________________           ¨ Pending
                                                      _______________________________
          Case number                                 _______________________________                                                  ¨ On appeal
          _______________________________
                                                      _______________________________                                                  ¨ Concluded


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?
      þ No
      ¨ Yes. Provide details below.
          Site name and address                       Governmental unit name and                  Environmental law, if known          Date of notice
                                                      address

23.1.     _______________________________             _______________________________             __________________________ _______________
          _______________________________             _______________________________
          _______________________________             _______________________________
          _______________________________             _______________________________




24. Has the debtor notified any governmental unit of any release of hazardous material?
      þ No
      ¨ Yes. Provide details below.
          Site name and address                       Governmental unit name and                  Environmental law, if known          Date of notice
                                                      address

24.1.     _______________________________             _______________________________             __________________________ _______________
          _______________________________             _______________________________
          _______________________________             _______________________________
          _______________________________             _______________________________




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Debtor    GWG DLP Funding IV, LLC                                                                                 Case number (if known) 22-90336



 Part 13: Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

    þ None
         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.1.    __________________________________           __________________________________            EIN: __ __-__ __ __ __ __ __ __
         __________________________________
         __________________________________                                                         Dates business existed
         __________________________________
                                                                                                    From _____________ To _____________




26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

    ¨ None
         Name and address                                                                           Dates of service

26a.1.   ANDREI ZOLOTUKHIN-RIDGWAY                                                                  From 3/2010 To Present
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

         Name and address                                                                           Dates of service

26a.2.   CHARLES ROSCOPF                                                                            From 10/7/2019 To Present
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

         Name and address                                                                           Dates of service

26a.3.   TIMOTHY EVANS                                                                              From 5/6/2019 To 11/16/2022
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
within 2 years before filing this case.

    ¨ None
         Name and address                                                                           Dates of service

26b.1.   GRANT THORNTON LLP                                                                         From 9/17/2020 To 1/6/2022
         1717 MAIN STREET
         SUITE 1800
         DALLAS TX 75201

         Name and address                                                                           Dates of service

26b.2.   WHITLEY PENN LLP                                                                           From 8/6/2019 To 9/17/2020
         8343 DOUGLAS AVENUE
         SUITE 400
         DALLAS TX 75225




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Debtor    GWG DLP Funding IV, LLC                                                                                     Case number (if known) 22-90336




26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

    ¨ None
         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.1.   ANDREI ZOLOTUKHIN-RIDGWAY                                                                      ____________________________________
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.2.   CHARLES ROSCOPF                                                                                ____________________________________
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.3.   GWG HOLDINGS, INC.                                                                             ____________________________________
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.4.   TIMOTHY EVANS                                                                                  ____________________________________
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201




26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

    ¨ None
         Name and address

26d.1.   CHAPFORD SMA PARTNERSHIP, L.P.
         C/O CHAPFORD SMA LLC
         201 BROAD STREET
         SUITE 500
         STAMFORD CT 06901

         Name and address

26d.2.   LNV
         CORPORATION
         7195 DALLAS PARKWAY
         PLANO TX 75204

         Name and address

26d.3.   SEE, GLOBAL NOTES




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Debtor    GWG DLP Funding IV, LLC                                                                                 Case number (if known) 22-90336




27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

    þ No
    ¨ Yes. Give the details about the two most recent inventories.
         Name of the person who supervised the taking of the inventory                Date of inventory   The dollar amount and basis (cost,
                                                                                                          market, or other basis) of each
                                                                                                          inventory

27.1.    __________________________________________________________                   _______________ $_____________________________
         Name and address of the person who has possession of inventory
         records
         __________________________________________________________
         __________________________________________________________
         __________________________________________________________
         __________________________________________________________




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling
    shareholders, or other people in control of the debtor at the time of the filing of this case.
         Name and address                         Position                               Nature of any interest            % of interest, if any

28.1.    ALBERT J. FIORAVANTI                     INDEPENDENT DIRECTOR                   N/A                               N/A
         LORD SECURITIES CORPORATION
         48 WALL STREET
         27TH FLOOR
         NEW YORK NY 10005

         Name and address                         Position                               Nature of any interest            % of interest, if any

28.2.    BRIAN BAILEY                             DIRECTOR                               N/A                               N/A
         325 NORTH ST PAUL ST
         SUITE 2650
         DALLAS TX 75201

         Name and address                         Position                               Nature of any interest            % of interest, if any

28.3.    GWG LIFE, LLC                            MANAGING MEMBER                        COMMON STOCK                      100.00%
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

         Name and address                         Position                               Nature of any interest            % of interest, if any

28.4.    MURRAY HOLLAND                           PRESIDENT, DIRECTOR                    N/A                               N/A
         325 N ST. PAUL STREET
         SUITE 2650
         DALLAS TX 75201

         Name and address                         Position                               Nature of any interest            % of interest, if any

28.5.    SEAN CLEMENTS                            INDEPENDENT DIRECTOR                   N/A                               N/A
         Address Intentionally Omitted

         Name and address                         Position                               Nature of any interest            % of interest, if any

28.6.    TIMOTHY EVANS                            CFO, TREASURER,                        N/A                               N/A
         325 N ST. PAUL STREET                    SECRETARY, AND DIRECTOR
         SUITE 2650
         DALLAS TX 75201


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Debtor    GWG DLP Funding IV, LLC                                                                                   Case number (if known) 22-90336




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general
    partners, members in control of the debtor, or shareholders in control of the debtor who no longer hold these
    positions?
    þ No
    ¨ Yes. Identify below.
         Name and address                   Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.1.    __________________________ __________________________ __________________________ From _________ To _________
         __________________________
         __________________________
         __________________________




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

    ¨ No
    þ Yes. Identify below
         Name and address of recipient             Amount of             Description of property Dates                    Reason for providing
                                                   money or value                                                         the value
                                                   of property

30.1.    SEE, RESPONSE AT NO.2, PART 4             $_____________        ____________________ _______________ ____________________
         Relationship to debtor
         _______________________________




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
    ¨ No
    þ Yes. Identify below
         Name of the parent corporation                                                Employer Identification number of the parent
                                                                                       corporation

31.1.    GWG HOLDINGS, INC                                                             EIN: XX-XXXXXXX




32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension
    fund?
    þ No
    ¨ Yes. Identify below
         Name of the pension fund                                                      Employer Identification number of the pension fund

32.1.    __________________________________________________________                    EIN: __ __-__ __ __ __ __ __ __
         __________________________________________________________
         __________________________________________________________
         __________________________________________________________


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Debtor     GWG DLP Funding IV, LLC                                                                                         Case number (if known) 22-90336



 Part 14: Signature and Declaration

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
    is true and correct.

    I declare under penalty of perjury that the foregoing is true and correct.




         Executed on    12/14/2022
                        MM/DD/YYYY                              û      /s/ Michael Tucker
                                                                     ______________________________________________________________
                                                                     Signature of individual signing on behalf of debtor


                                                                     Michael Tucker
                                                                     Printed name


                                                                     Authorized Signatory
                                                                     Position or relationship to debtor




Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    þ No
    ¨ Yes




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